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                                                                       N.D. OF ALABAMA




        Exhibit 3
         Part 1
          Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 2 of 401


Block           DistrictID:1
011150402102028 3
011150402102025 3
011150402102015 3
011150402102014 3
011150402102011 3
011150402102006 3
011150402102022 3
011150402102023 3
011150402102016 3
011150402102017 3
011150402102008 3
011150402102009 3
011150402102026 3
011150402102021 3
011150402102018 3
011150402102045 3
011150402103005 3
011150402103012 3
011150402103000 3
011150402103003 3
011150402102043 3
011150402103006 3
011150402102042 3
011150402102020 3
011150402102019 3
011150402102005 3
011150402112021 3
011150402102007 3
011150402112020 3
011150402112025 3
011150402112023 3
011150402112002 3
011070502001011 7
011070502001014 7
011070502001013 7
011070502001005 7
010750302003066 4
010750302003062 4
011070502001004 7
010750302003067 4
011070503004002 7
011070503004005 7
011070502002054 7
011070502002042 7
011070503004001 7
011070503004003 7
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011070503004000 7
011070503004004 7
011070502002053 7
011070502002039 7
011070502002038 7
011070502002037 7
011070502002033 7
011070502002026 7
011070502002027 7
011070502002023 7
011070502002024 7
011070502002025 7
011070502002036 7
011070502002020 7
011070502002043 7
011070502002044 7
011070502002045 7
011070502002046 7
011070501003015 7
011070502002012 7
011070502002015 7
011070502002014 7
011070501003005 7
011070501003006 7
011070501003007 7
011070502002011 7
011070501004037 7
011070501003004 7
011070502001046 7
011070502001041 7
011070502001042 7
011070502001024 7
011070502001023 7
011070502001025 7
011070502001027 7
011070502001028 7
011070502002002 7
011070502001033 7
011070502001034 7
011070502001035 7
011070502001036 7
011070502001037 7
011070502001029 7
011070502001030 7
011070502001003 7
010750302003060 4
011070502001032 7
         Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 4 of 401


011070502001031 7
011070502001007 7
010750302003068 4
011070502001002 7
010750302003055 4
011070502002003 7
011070502002009 7
011070502002001 7
011070502002010 7
011070501004013 7
011070501004014 7
011070501004012 7
011070502002000 7
011070501004011 7
011070501004010 7
011070501004009 7
011070502001008 7
011070502001001 7
010750302003069 4
010750302003054 4
010750302003003 4
010750302003004 4
011070502001009 7
011070502001010 7
011070501004008 7
010750302003070 4
010750302003010 4
011070502001000 7
010750302003071 4
010750302003034 4
010750302003030 4
010750302003032 4
010750302003073 4
010750302003036 4
010750302003031 4
010750302003039 4
010750302003040 4
010750302003038 4
010970072032071 1
010970072032072 1
010970072032061 1
010970072032060 1
010970072032042 1
010970072032064 1
010979900000014 1
010979900000015 1
010979900000006 1
         Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 5 of 401


010970072032049 1
010970072031007 1
010970072031006 1
010039900000017 1
010030114194057 1
010030114194024 1
010030114194021 1
010039900000012 1
010030114194055 1
010030114194043 1
010030114194041 1
010030114194035 1
010030114194016 1
010030114194031 1
010030114194044 1
010030114194014 1
010030114194025 1
010030114194045 1
010030114194039 1
010030114194019 1
011210101023036 3
011210101023037 3
011210101023038 3
011210101023018 3
011210101023019 3
011210101023020 3
011210101023016 3
011210101023029 3
011210101023022 3
011210101023027 3
011210101023028 3
011210101023021 3
011210101023013 3
011210101023015 3
011210101024009 3
011210101024003 3
011210101024004 3
011210101023023 3
011210101023026 3
011210101023014 3
011210101023025 3
010279589001076 3
010279589001060 3
010279589001077 3
010279589001079 3
010279589001075 3
010279589001080 3
         Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 6 of 401


010279589001071 3
010279589001073 3
010279589001163 3
010279589001072 3
011210101024048 3
011210101024049 3
011210101024050 3
011210101024041 3
010279589001074 3
010279589001050 3
010279589001051 3
010299597002095 3
010279589001067 3
010279589001038 3
010279589001035 3
010279589001036 3
010279589001068 3
010279589001053 3
010299597002094 3
010279589001049 3
010299597002093 3
011210101024042 3
010279589001054 3
010279589001052 3
011210101012094 3
011210101024012 3
011210101024006 3
011210101024002 3
011210101024000 3
011210101023024 3
011210101012095 3
011210101024001 3
011210101012092 3
011210101012093 3
010279589001055 3
011210101012096 3
010279589001057 3
010279589001056 3
011210101012021 3
011210101012022 3
011210101012029 3
011210101012031 3
011210101012023 3
010279590002029 3
010279590002028 3
010279590002030 3
010279590001024 3
         Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 7 of 401


010279590001023 3
010279590001010 3
010279590001011 3
010279590001012 3
010279590001013 3
010279590001001 3
010279590001002 3
010279590001004 3
010279590001003 3
010279590001026 3
010279590001032 3
010279590001033 3
010279590001031 3
010279590001025 3
010279590001019 3
010279590001009 3
010279590001020 3
010279590001018 3
010279590001028 3
010279590001027 3
010279590001021 3
010279589004036 3
010299597002078 3
010299597002077 3
010299597002083 3
010299597002079 3
010299597002088 3
011210101012097 3
010299597002087 3
011210101012025 3
011210101012016 3
011210101012099 3
011210101012017 3
011210101012034 3
011210101012035 3
011210101012028 3
011210101012032 3
010299597002073 3
011210101012002 3
010299597002075 3
010279589001100 3
010279589001031 3
010279589001177 3
010279589001098 3
010279589001099 3
010279589001097 3
010279589001030 3
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010279589001029 3
010279589001020 3
010279589001019 3
010279589001018 3
010279589001028 3
010279589001106 3
010279589001109 3
010279589001023 3
010279589001108 3
010279589001021 3
010279589001017 3
010279589001022 3
010279589001010 3
010299597002072 3
010299597002076 3
010299597002080 3
010279589001009 3
010299597002071 3
010299597002082 3
010299597002049 3
010299597002081 3
010299597002040 3
010299597002038 3
010299597002037 3
011239619001081 3
010299597002048 3
010299597002041 3
010299597002053 3
010299597002042 3
010299597002044 3
010279589001001 3
010279589001007 3
010279589001006 3
010279589001002 3
010279589001005 3
010299597002084 3
010279589001003 3
010279589001004 3
010299597002127 3
010299597002122 3
010299597002062 3
010299597002061 3
010299597002054 3
010299597002056 3
010299597002063 3
010299597002064 3
010299597002043 3
         Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 9 of 401


010299597002057 3
010299597002045 3
010279589001130 3
010279589001120 3
011110001003038 3
010279589001127 3
011110001003039 3
010279589001128 3
010279589001014 3
011110001002046 3
010279589001012 3
011110001002045 3
011110001003040 3
011110001002047 3
011110001002044 3
011110001002043 3
011110001002042 3
011110001003014 3
011110001002041 3
011110001002035 3
011110001002036 3
011110001002006 3
011110001002007 3
011110001002003 3
011110001002002 3
010299597002126 3
010299597002119 3
010299597002118 3
010299597002115 3
010299597002125 3
010299597002124 3
010299597002123 3
010299597002117 3
010299597002116 3
010299597002121 3
010299597002112 3
010299597002113 3
010299597002066 3
010299597002065 3
010299597002059 3
010299597002060 3
010299597002058 3
010299597002114 3
010299597002067 3
010299597002068 3
010299597002070 3
010299597002069 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 10 of 401


010299597002008 3
011110001002008 3
010299597002110 3
010299597002128 3
010299597002129 3
010299597002109 3
010299597002111 3
010299597002120 3
010299597002104 3
011110001002005 3
011110001002004 3
010299597002130 3
010299597002131 3
010299597002132 3
010299597002101 3
010299597002100 3
010299597002005 3
010299597002006 3
010299597002007 3
010299597002010 3
010299597002102 3
010299597002103 3
010299597002004 3
010299597002009 3
010299597002003 3
010299597002002 3
011110003003052 3
011110001002012 3
011110001002011 3
011110001002010 3
011110001002024 3
011110001002014 3
011110001002015 3
011110001002013 3
011110001002009 3
011110001002001 3
011110001002038 3
011110001002027 3
011110001002021 3
011110001002026 3
011110001002020 3
011110001002022 3
011110001002000 3
011110001002016 3
011110001002017 3
010299597002108 3
010299597002133 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 11 of 401


010299597002099 3
010299597002106 3
010299597002015 3
010299597002011 3
010299597002012 3
010299597002014 3
010299597002013 3
010299597002107 3
010299597002135 3
010299597002105 3
010299597002097 3
011110001001018 3
011110001001017 3
010299597002096 3
010299597002098 3
010299597002092 3
010299597002089 3
010299597001134 3
010299597002016 3
010299597001135 3
010299597001132 3
010299597001133 3
011110001002054 3
011110001002055 3
011110001002025 3
011110001002053 3
011110001002019 3
011110001002056 3
011110001002057 3
011110001003000 3
011110001001096 3
011110001001095 3
011110001001037 3
011110001001038 3
011110001001029 3
011110001001040 3
011110001001039 3
011110001002018 3
011110001001021 3
011110001001028 3
011110001001022 3
011110001001016 3
011110001001020 3
011110001001025 3
010299598003078 3
010299598003044 3
010299598003077 3
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010299598003081 3
010299598003076 3
010299598003099 3
010299598003043 3
010299598003045 3
010299598003047 3
011110001001009 3
010299598003082 3
011110001001008 3
010299598003083 3
010299598003049 3
010299598003075 3
011110001001006 3
010299598003073 3
010299598003072 3
011110001001005 3
010299598003084 3
010299598003074 3
010299598003088 3
010299598003053 3
010299598003100 3
010299598003050 3
010299598003051 3
010299598003046 3
010299598003029 3
010299598003027 3
010299598003052 3
010299598003028 3
010299598003035 3
010299598003024 3
010299598003023 3
011110002003001 3
011110002003000 3
011110001001085 3
011110002001021 3
011110002003009 3
011110002003007 3
011110002003008 3
011110002001022 3
011110002001007 3
011110002001020 3
011110002001006 3
011110001001055 3
011110001001053 3
011110001001054 3
011110001001048 3
011110001001049 3
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011110001001050 3
011110001001051 3
011110001001052 3
011110001001003 3
011110002001023 3
011110002001024 3
011110002001008 3
011110002001019 3
011110002001009 3
011110002001003 3
011110002001002 3
011110001001104 3
011110001001000 3
011110002001010 3
011110001001004 3
010299598003085 3
010299598003087 3
010299598003086 3
010299598003061 3
010299598003060 3
010299598003098 3
010299598003097 3
011110001001002 3
010299598003090 3
010299598003092 3
010299598003089 3
010299598003093 3
010299598003091 3
010299598003062 3
010299598003054 3
010299598003025 3
010299598003021 3
010299598003020 3
010299598003063 3
010299598003064 3
010299598003065 3
010299598003066 3
010299598003059 3
010299598003056 3
010299598003055 3
010299598003057 3
010299598003019 3
011110001001001 3
010299598003095 3
011110002001001 3
010299598003094 3
010299598002025 3
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010299598002027 3
010299598002024 3
010299598002028 3
010299598002041 3
010299598002042 3
010299598002030 3
010299598002029 3
010299598002040 3
010299598002039 3
010299598003067 3
010299598003068 3
010299598002015 3
010299598002023 3
010299598002026 3
010299598003096 3
010299598003070 3
010299598002016 3
010299598003058 3
010299598003016 3
010299598003018 3
010299598003017 3
010299598003071 3
010299598002017 3
010299598002021 3
010299598002022 3
010299598002018 3
010299598002019 3
010299598002020 3
010299598002014 3
010299598002031 3
010299598002012 3
010299598003069 3
010299598002010 3
010299598003014 3
010299598002008 3
011110002002038 3
011110002001069 3
011110002002022 3
011110002001070 3
011110002001050 3
011110002001051 3
011110002001068 3
011110002001073 3
011110002001067 3
011110002001066 3
011110002001049 3
011110002001052 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 15 of 401


011110002001053 3
011110002001054 3
011110002001045 3
011110002001071 3
011110002001039 3
011110002001038 3
011110002001031 3
011110002001040 3
011110002001047 3
011110002001032 3
011110002001033 3
011110002001030 3
011110002001048 3
011110002001043 3
011110002001041 3
011110002001034 3
010299598002036 3
010299598002034 3
010299598002035 3
010299598002011 3
010299598002009 3
011130309051020 2
011130309052034 2
011130309052026 2
011130309052029 2
011130309052032 2
011130309052028 2
011130309052030 2
011130309052031 2
011130309052003 2
011130309052007 2
010750302004085 4
010750302004086 4
010750302004059 4
010750302004036 4
010750302004084 4
010750302004035 4
010750302004034 4
010750302004032 4
010750302003061 4
010750302004061 4
010750302004037 4
010750302004060 4
010750302004040 4
010750302004069 4
010750302004066 4
010750302004030 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 16 of 401


010750302004026 4
010750302004014 4
010750302004013 4
010750302004057 4
010750302004058 4
010750302004025 4
010750302004048 4
010750302004047 4
010750302004041 4
010750302004042 4
010750302004046 4
010750302004043 4
010750302004011 4
010750302004012 4
010750302004024 4
010750302004010 4
010750302004009 4
010750302004071 4
010750302004072 4
010750302003001 4
010750302003011 4
010750302003012 4
010750302003005 4
010750302004075 4
010750302004089 4
010750302004070 4
010750302004063 4
010750302003035 4
010750302003006 4
010750302003000 4
010750302004088 4
010750302004076 4
010750302003019 4
010750302003033 4
010750302003020 4
010750302003007 4
010750302003029 4
010750302003021 4
010750302003028 4
010750302003027 4
010750302003022 4
010750302003018 4
010750302003023 4
010750302003049 4
010750302003048 4
010750302003024 4
010750302003016 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 17 of 401


010750302003015 4
010750302003047 4
010750302003025 4
010750302003026 4
010750302002104 4
010750302002048 4
010750302003017 4
010750302003009 4
010750302003008 4
010750302003014 4
010750302003013 4
010750302002049 4
010750302002043 4
010770113001049 4
010770113001031 4
010770113001032 4
010770113001037 4
010770113001038 4
010770113001024 4
010770113001040 4
010770113001041 4
010770113001039 4
010770113001022 4
010770113001028 4
010770113001029 4
010770113001018 4
010770113001025 4
010770113001017 4
010770113001023 4
010770113001016 4
010750302003053 4
010750302003052 4
010750302003050 4
010750302003046 4
010750302002103 4
010750302002047 4
010750302003045 4
010750302002045 4
010750302002046 4
010750302003051 4
010750302003042 4
010750302003044 4
010750302003043 4
010750302002044 4
010750302002040 4
010750302002098 4
010750302002042 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 18 of 401


010750302002041 4
010750302002034 4
010750302002039 4
010750302002031 4
010750302002038 4
010750302002037 4
010750302001066 4
010750302002093 4
010750302002094 4
010750302002036 4
010750302002050 4
010750302002051 4
010750302002035 4
010750302002032 4
010750302002030 4
010750302001059 4
010750302001065 4
010750302001061 4
010750302001063 4
010750302001064 4
010750302001060 4
010750302002053 4
010750302002054 4
010750302002056 4
010750302002055 4
010750302002089 4
010750302002059 4
010750302002028 4
010750302002029 4
010750302001087 4
010750302001029 4
010750302001088 4
010750302001031 4
010750302001025 4
010750302001028 4
010750302001034 4
010750302001033 4
010750302001022 4
010750302001018 4
010750301022070 4
010750301022064 4
010750302001008 4
010750302001023 4
010750302001017 4
010750302001016 4
010750302002062 4
010750302002063 4
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010750302002061 4
010750302002065 4
010750302002064 4
010750302002026 4
010750302002025 4
010750302002027 4
010750302002021 4
010750302002016 4
010750302002015 4
010750302002067 4
010750302002017 4
010750302002018 4
010750302002014 4
010750302002022 4
010750302002102 4
010750302002023 4
010750302002019 4
010750302002020 4
010750302002024 4
010750302001067 4
010750302001069 4
010750302002013 4
010750302002012 4
010750302002002 4
010750302001071 4
010750302001068 4
010750302001084 4
010750302001082 4
010750302002079 4
010750302002069 4
010750302002068 4
010750302002070 4
010750302002010 4
010750302002074 4
010750302002071 4
010750302002009 4
010750302002080 4
010750302002081 4
010750302002076 4
010750302002072 4
010750302002073 4
010750302002075 4
010750302002011 4
010750302002006 4
010750302002003 4
010750302002007 4
010750302002001 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 20 of 401


011070501004024 7
011070501004007 7
011070501004018 7
011070501004019 7
011070501004001 7
011070501004025 7
011070501001043 7
011070501001029 7
011070501001028 7
011070501004020 7
011070501001030 7
011070501004021 7
011070501004022 7
011070501001015 7
011070501004005 7
011070501004003 7
011070501004004 7
011070501004006 7
010750302003072 4
010750302003082 4
010750302003081 4
010750302003037 4
010750302003041 4
010750302003074 4
010750302003075 4
010750302003077 4
010750302003076 4
010750302003080 4
011070501004002 7
010750302003079 4
010750302003078 4
011070501001007 7
010750302002096 4
010750302002095 4
010750302002090 4
010750302002092 4
010750302002091 4
011070501004000 7
011070501001013 7
011070501001014 7
011070501001005 7
010750302002099 4
011070501001006 7
010750302002100 4
010750302002097 4
010750302002052 4
010750302002087 4
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010750302002088 4
010750302002101 4
010750302002058 4
010750302002057 4
011070501001044 7
011070501001040 7
011070501001027 7
011070501001026 7
011070501001025 7
011070501001031 7
011070501001024 7
011070501001023 7
011070501001019 7
011070501001020 7
011070501001032 7
011070501001035 7
011070501001033 7
011070501001018 7
011070501001022 7
011070501001008 7
011070501001011 7
011070501001010 7
011070501001021 7
011070501001017 7
011070501001034 7
011070501001016 7
011070501001009 7
011070501001004 7
011070501001003 7
010750302002077 4
010750302002060 4
011070501001001 7
010750302002078 4
010750302002066 4
011070501001002 7
011070501001000 7
011070501001012 7
010750302002086 4
010750302002085 4
011070500001014 7
010750302002083 4
010750302002084 4
010750302002082 4
011070500003050 7
011070500003049 7
011070500003047 7
011070500003048 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 22 of 401


011070500003065 7
011070500003056 7
011070500001013 7
011070500001015 7
010570203004044 4
010570203004045 4
010570203004035 4
011070500001006 7
010570203004042 4
010570203004043 4
011070500001004 7
011070500001002 7
011070500001005 7
010570203004041 4
010570203004039 4
010570203004032 4
010570203004033 4
011070500001030 7
011070500001029 7
011070500001003 7
011070500001001 7
011250101053020 4
011250101053019 4
011250101053015 4
011250101053014 4
011070500001050 7
011070500001000 7
010570203004040 4
010570203004022 4
010570203004049 4
010570203004028 4
011250101053013 4
011250101053012 4
011250101053006 4
011250101053005 4
010570203004047 4
010570203004046 4
010570203004029 4
010570203004030 4
010570203004038 4
011250103033022 7
011250103033030 7
011250103033012 7
011250103033031 7
011250103033032 7
011250103033033 7
011250103033014 7
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011250103033015 7
011250103033034 7
011250103033035 7
011250103032033 7
011250103033036 7
011250103033008 7
011250103033037 7
011250103033011 7
011250103033009 7
011250103033010 7
011250103031030 7
011250103021030 7
011250103021018 7
011250103021029 7
011250103021028 7
011250103021032 7
011250103021019 7
011250103031028 7
011250103031029 7
011250101053004 4
010570203004048 4
010570203004037 4
010570203004031 4
010570203003054 4
010570203003053 4
010570203003055 4
010570203003056 4
011250101052008 4
011250101052010 4
010570203003052 4
010570203003059 4
010570203003058 4
010570203003051 4
011250101052029 4
011250101052027 4
011250101052047 4
011250101052021 4
011250101052048 4
011250101052037 4
011250101052015 4
011250101052038 4
011250101052014 4
011250101052039 4
011250101052013 4
011250101052025 4
011250101052016 4
011250101052018 4
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011250101052011 4
011250101052009 4
011250101052007 4
011250101052006 4
010570203003057 4
010570203003050 4
010570204004054 4
010570204004053 4
011250101052012 4
011250101052005 4
011250101052004 4
011250101052003 4
011250101052002 4
011250101052001 4
011250101052000 4
010570204004060 4
010570204004059 4
011250103051015 4
011250103051016 4
011250103052002 4
011250103052003 4
011250103051013 4
011250103052001 4
011250103051018 4
011250102011003 4
011250102011005 4
011250103051020 4
011250103052010 4
011250103052009 4
011250103052004 4
011250103052000 4
011250102011038 4
011250102011037 4
011250102011006 4
011250102011036 4
011250103052005 4
010570204004061 4
010570204004062 4
010570204004063 4
010570204004057 4
010570204004064 4
010570204004058 4
010570204004050 4
011250101041035 4
011250101041034 4
011250101041036 4
011250101041017 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 25 of 401


011250101041033 4
010570204004056 4
011250101041016 4
011250101041051 4
011250101041050 4
011250101041052 4
011250101041030 4
011250101041074 4
011250101041029 4
011250101041049 4
011250101041047 4
011250101041048 4
011250101041032 4
011250101041031 4
011250101041018 4
011250101041014 4
011250101041028 4
011250101041019 4
011250101041021 4
011250101042020 4
011250101042017 4
011250101021066 4
011250101041046 4
011250101041037 4
011250101041020 4
011250101041043 4
011250101041045 4
011250101041038 4
011250101041044 4
011250101041082 4
011250101041022 4
011250101041023 4
011250101041039 4
011250101041073 4
011250101041041 4
011250101021042 4
011250101041042 4
011250101041040 4
011250101021020 4
011250101021008 4
011250101021012 4
010650405001039 7
010650405001029 7
010650405001018 7
010650405001026 7
010650405001027 7
011250101023098 4
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011250101023085 4
011250101023097 4
011250101023107 4
011250101023086 4
011250101023099 4
011250101021034 4
011250101021033 4
011250101021022 4
011250101021024 4
011250101023096 4
011250101021021 4
011250101021019 4
011250101021017 4
011250101021015 4
011250101021016 4
011250101021011 4
011250101021018 4
011250101023013 4
011250101023080 4
011250101023081 4
011250101023058 4
011250101023014 4
011250101023012 4
011250101023011 4
011250101021013 4
011250101021014 4
011250101023010 4
011250101023009 4
011250101021006 4
011250101023008 4
011250101023064 4
011250106011092 7
011250106011090 7
011250106011089 7
011250106011016 7
011250106011082 7
011250101023057 4
011250101023056 4
011250101023192 4
011250101023063 4
011250101023050 4
011250101023060 4
011250101023061 4
011250101023051 4
011250101023059 4
011250101023048 4
011250101023055 4
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011250101023049 4
011250101023053 4
011250101023052 4
011250101023054 4
011250101023047 4
011250101023046 4
011250101023043 4
011250101023044 4
011250101023188 4
011250101023037 4
011250101023038 4
011250101023015 4
011250101023007 4
011250101023017 4
011250101023045 4
011250101023016 4
011250101023032 4
011250101023033 4
011250101023019 4
011250101023023 4
011250101023022 4
011250101023018 4
011250101023004 4
011250106011002 7
011250106011001 7
011250106011003 7
011250106011004 7
011250106011005 7
011250101023066 4
011250106011015 7
011250106011021 7
011250101023067 4
011250101023042 4
011250101023068 4
011250101023040 4
011250101023041 4
011250101023069 4
011250101023039 4
011250106011000 7
010730141071040 7
011250101023079 4
011250101023070 4
010730141071039 7
010730141071041 7
010730141071052 7
010730141071042 7
010730141071037 7
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010730141071035 7
010730141071036 7
011250101023071 4
011250101023072 4
011250101023020 4
011250101023073 4
011250101023024 4
011250101023021 4
010730141071038 7
011250101023036 4
011250101023035 4
011250101023031 4
011250101023034 4
011250101023030 4
011250101023029 4
011270213003100 4
011270213003099 4
010070100111002 6
010070100111004 6
011270213003098 4
011270213003091 4
011270213003093 4
011270213003092 4
011270213003090 4
010730141071029 7
010730141071024 7
010730141071025 7
010730141071017 7
010730141071020 7
010730141071023 7
010730141071022 7
010730141071016 7
010730141071015 7
011270213003096 4
011270213003077 4
011270213003076 4
011270213003097 4
010730141071014 7
010730141071010 7
010730141071001 7
010730141071002 7
010730141071013 7
010730141071012 7
010730141071003 7
010730141071000 7
010730141071004 7
010730141071006 7
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010730141071008 7
010730141071011 7
010730141071009 7
010730141071005 7
010730141071007 7
011270213003068 4
011270213003064 4
010730141071032 7
010730141072009 7
010730141072004 7
010730141071056 7
010730141072020 7
010730141072019 7
010730141072010 7
010730141072011 7
010730141072021 7
010730141072005 7
010730141071031 7
010730141072013 7
010730141072002 7
010730141072001 7
010730141072014 7
010730141072003 7
010730122002042 7
010730141072000 7
010730122002043 7
010730122002044 7
010730122002035 7
011270213003066 4
010730122002038 7
010730122002036 7
011270213003061 4
010730122002027 7
010730122002037 7
010730122002026 7
010730122002041 7
010730122002040 7
010730122002025 7
011270213003075 4
010730122002024 7
010730122002039 7
010730122002023 7
010730122002034 7
010730122002045 7
010730122002019 7
010730122002013 7
010730122002033 7
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010730122002032 7
010730122002031 7
010730122002017 7
010730122002015 7
010730122002016 7
010730122002014 7
010730122002030 7
011250106044010 7
010730141061099 7
010730141061100 7
010730122002012 7
010730122002006 7
010730122002011 7
010730122001192 6
010730123022086 7
010730122002021 7
010730122002007 7
010730123022087 7
010730123022084 7
010730123022077 7
010730123022090 7
010730123022091 7
010730123022076 7
010730123022092 7
010730123022085 7
010730123022070 7
010730123022078 7
010730123022079 7
010730123022081 7
010730123022080 7
010730123022072 7
010730123022064 7
010730123022065 7
010730123022058 7
010730123022056 7
010730123022069 7
010730123022068 7
010730123022063 7
010730123022062 7
010730123022060 7
010730141061012 7
010730140011010 7
010730140011005 7
010730123023049 7
010730123023048 7
010730123023047 7
010730140011006 7
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010730140011003 7
010730140011017 7
010730140011004 7
010730123023040 7
010730123022071 7
010730123023041 7
010730123022075 7
010730123022073 7
010730123022074 7
010730123023042 7
010730123021067 7
010730123023037 7
010730123023039 7
010730123023045 7
010730123021063 7
010730123023038 7
010730123023061 7
010730123023043 7
010730123021059 7
010730123021062 7
010730123023044 7
010730123022047 7
010730123022048 7
010730123021051 7
010730123021032 7
010730123021064 7
010730123021050 7
010730123021066 7
010730123021031 7
010359605001011 7
010359605001010 7
010359605001026 7
010359605001007 7
010359605001008 7
010359602001031 7
010359602001030 7
010359602002092 7
010359605001009 7
010359602001032 7
010359602002091 7
010359602002102 7
010359605001030 7
010359605001029 7
010359605001006 7
010359605001005 7
010359605001031 7
010359605001032 7
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010359605001025 7
010359605001024 7
010359605001059 7
010359605001034 7
010359605001033 7
010359602002103 7
010359605001004 7
010359602002069 7
010359602002073 7
010359602002072 7
010359602002071 7
010730123021065 7
010730123021054 7
010730123021060 7
010730123023035 7
010730123023057 7
010730123023036 7
010730123023056 7
010730123071005 7
010730123071007 7
010730123023055 7
010730123071014 7
010730123023027 7
010730123023028 7
010730123023023 7
010730123023063 7
010730123023026 7
010730123023024 7
010730123023025 7
010730123023021 7
010730123023020 7
010730123023022 7
010730123023014 7
010730123021072 7
010730123021049 7
010730123021027 7
010730123021029 7
010730123021052 7
010730123021028 7
010730123021026 7
010730123021058 7
010730123021057 7
010730123023019 7
010730123021088 7
010730123021042 7
010730123021041 7
010730123021039 7
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010730123021037 7
010730123021038 7
010730123021076 7
010730123021077 7
010730123021046 7
010730123021045 7
010730123071003 7
010730123071002 7
010730123071006 7
010730123071010 7
010730123071013 7
010730123071008 7
010730123071001 7
010730123071000 7
010730123023062 7
010730123023058 7
010730123073009 7
010730123071004 7
010730123023060 7
010730123071009 7
010730123023012 7
010730123023013 7
010730123023009 7
010730123023007 7
010730123073022 7
010730123073007 7
010730123073008 7
010730123073005 7
010730123042022 7
010730123042023 7
010730123042024 7
010730123042021 7
010730123042020 7
010730123042018 7
010730123042010 7
010730123042007 7
010730123042005 7
010730123042006 7
010730123023002 7
010730123021075 7
010730123023006 7
010730123023005 7
010730123023004 7
010730123023003 7
010730123023001 7
010730123021069 7
010730123021047 7
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010730125004065 7
010730123021048 7
010730125004066 7
010730125004073 7
010730125004070 7
010730125004053 7
010730125004054 7
010730123021068 7
010730125002089 7
010730125002088 7
010730125004069 7
010730125004075 7
010730125002010 7
010730125002013 7
010730125002005 7
010730125002006 7
010730125002007 7
010730125002001 7
010730125004018 7
010730125004028 7
010730125002003 7
010730125004029 7
010730125004019 7
010730125004049 7
010730125004030 7
010730125004031 7
010730125002002 7
010730125004050 7
010730125004032 7
010730125002015 7
010730125002014 7
010730125002012 7
010730125002000 7
010730125003025 7
010730125003026 7
010730125004033 7
010730125003024 7
010730125003023 7
010730125003022 7
010730125004045 7
010730125004046 7
010730138012018 7
010730138012019 7
010730138012040 7
010730138012020 7
010730125002030 7
010730125003072 7
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010730125003033 7
010730125003031 7
010730125003032 7
010730125003034 7
010730125003018 7
010730125003027 7
010730125003218 7
010730125003019 7
010730125003020 7
010730125003021 7
010730125003016 7
010730125003015 7
010730125003028 7
010730124031097 7
010730124031090 7
010730124031091 7
010730124031094 7
010730124031096 7
010730125003017 7
010730125003014 7
010730124031092 7
010730124031108 7
010730124031110 7
010730124031093 7
010730125002072 7
010730125002034 7
010730125002033 7
010730125002071 7
010730125002070 7
010730125002031 7
010730124031115 7
010730124031116 7
010730124031143 7
010730124031140 7
010730125003051 7
010730125003052 7
010730124023059 7
010730124023060 7
010730124031145 7
010730124023058 7
010730125003177 7
010730125003142 7
010730125003172 7
010730125003143 7
010730125003166 7
010730125003147 7
010730125003146 7
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010730125003168 7
010730125003167 7
010730125003159 7
010730125003148 7
010730125003149 7
010730125003144 7
010730125003150 7
010730125003153 7
010730125003157 7
010730125003158 7
010730125003151 7
010730125003154 7
010730125003145 7
010730125003155 7
010730011005030 7
010730011005026 7
010730011005027 7
010730011005028 7
010730011005029 7
010730124023077 7
010730124023061 7
010730124023057 7
010730124023050 7
010730124023064 7
010730124023081 7
010730124023065 7
010730124023080 7
010730011005016 7
010730124023062 7
010730124023075 7
010730011005015 7
010730124023078 7
010730124021046 7
010730124021047 7
010730124023079 7
010730124023063 7
010730124023066 7
010730124022044 7
010730124023067 7
010730124023068 7
010730124023076 7
010730124023070 7
010730124021045 7
010730124021044 7
010730124021043 7
010730124021040 7
010730124021041 7
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010730124021042 7
010730124023071 7
010730124023072 7
010730124023069 7
010730124021039 7
010730124021038 7
010730124023074 7
010730124023073 7
010730124021037 7
010730124022036 7
011170303512041 6
011170303502002 6
011170303512040 6
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011170303512024 6
011170303512036 6
011170303512039 6
011170303512042 6
011170303512021 6
011170303512022 6
011170303512014 6
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011170303512037 6
011170303512026 6
011170303512030 6
011170303512023 6
011170303512015 6
011170303512006 6
010730142052005 7
011170303512017 6
011170303512018 6
011170303512016 6
010730011002012 7
010730124021026 7
010730124021028 7
010730124021027 7
010730124021013 7
010730124021006 7
010730124021029 7
010730011005005 7
010730011005006 7
010730011005004 7
010730011005008 7
010730011005001 7
010730011002008 7
010730011005000 7
010730011005007 7
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010730011002023 7
010730011002011 7
010730124021016 7
010730124021014 7
010730124021018 7
010730124021015 7
010730124021017 7
010730124021025 7
010730124021024 7
010730124012022 7
010730012003019 7
010730012003018 7
010730012003020 7
010730012003021 7
010730012004063 7
010730012004067 7
010730012004061 7
010730012002019 7
010730012002031 7
010730012001059 7
010730012001060 7
010730012001062 7
010730012001064 7
010730012001070 7
010730012001069 7
010730012001071 7
010730012001054 7
010730012001055 7
010730012001063 7
010730011001028 7
010730011003006 7
010730011003005 7
010730011003010 7
010730011003004 7
010730011003011 7
010730011003007 7
010730008002038 7
010730012001068 7
010730014003023 7
010730014003030 7
010730014003022 7
010730014002041 7
010730014002039 7
010730014002040 7
010730012001067 7
010730012001061 7
010730012001058 7
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010730012001053 7
010730012001057 7
010730014001024 7
010730012001072 7
010730012001025 7
010730012001031 7
010730012001008 7
010730012001075 7
010730012001078 7
010730012001032 7
010730012001076 7
010730012001003 7
010730008002064 7
010730008002039 7
010730008002048 7
010730008002045 7
010730008002041 7
010730008002031 7
010730008002043 7
010730008002014 7
010730008002015 7
010730008002009 7
010730008002059 7
010730008002025 7
010730008002018 7
010730008002013 7
010730008002007 7
010730144051005 6
010730144051002 6
010730144041047 6
010730144051001 6
010730144041056 6
010730144041045 6
010730144051000 6
010730008005038 7
010730008005039 7
010730008005011 7
010730008005037 7
010730008002032 7
010730008002063 7
010730008002034 7
010730008002035 7
010730008002022 7
010730008002036 7
010730008002037 7
010730008002030 7
010730008005010 7
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010730008002033 7
010730008005012 7
010730008005009 7
010730008002027 7
010730008002029 7
010730008002024 7
010730008002026 7
010730008002023 7
010730008002028 7
010730008005034 7
010730008005044 7
010730008005043 7
010730008005035 7
010730008005036 7
010730008005013 7
010730008005014 7
010730008005045 7
010730008005016 7
010730008005015 7
010730008005005 7
010730008005018 7
010730008005027 7
010730008005026 7
010730008005004 7
010730008003057 7
010730008005008 7
010730008005007 7
010730008005006 7
010730008002020 7
010730008002021 7
010730008003012 7
010730008003013 7
010730008003005 7
010730008003056 7
010730008003055 7
010730008003048 7
010730008003047 7
010730008003046 7
010730008003011 7
010730008003043 7
010730008003044 7
010730008003018 7
010730008003019 7
010730008004130 7
010730008004131 7
010730008004057 7
010730008004058 7
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010730008004056 7
010730008004054 7
010730008004059 7
010730008004129 7
010730008004140 7
010730008004080 7
010730008004072 7
010730008004065 7
010730008004081 7
010730008004071 7
010730008004022 7
010730008005017 7
010730008005025 7
010730008005003 7
010730008005033 7
010730008005028 7
010730008004012 7
010730008005032 7
010730008005024 7
010730008005029 7
010730008005030 7
010730008003053 7
010730008003058 7
010730008003054 7
010730008003059 7
010730008003049 7
010730008003040 7
010730008003029 7
010730008003022 7
010730008003041 7
010730008003042 7
010730008005002 7
010730008005023 7
010730008005001 7
010730008003051 7
010730008003050 7
010730008003039 7
010730008003036 7
010730008003030 7
010730008003033 7
010730008003034 7
010730008003035 7
010730008004015 7
010730008004011 7
010730008005031 7
010730008005049 7
010730008005019 7
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010730008005020 7
010730008004016 7
010730008004003 7
010730008001087 7
010730008005000 7
010730008003052 7
010730008005021 7
010730008005022 7
010730008003038 7
010730008003045 7
010730008003037 7
010730008001067 7
010730008001068 7
010730008001052 7
010730008001053 7
010730008001082 7
010730008001081 7
010730008001078 7
010730008001079 7
010730008001080 7
010730008001077 7
010730008001054 7
010730008001066 7
010730008001065 7
010730008001055 7
010730027024035 7
010730027024028 7
010730027024034 7
010730015002032 7
010730027024027 7
010730027024032 7
010730027024026 7
010730015001029 7
010730015001021 7
010730015001020 7
010730015001022 7
010730015001028 7
010730015001023 7
010730015001024 7
010730027024025 7
010730027024024 7
010730027025017 7
010730027025016 7
010730027024023 7
010730027025015 7
010730027024006 7
010730027024029 7
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010730015001027 7
010730015001026 7
010730015001025 7
010730016001028 7
010730027024004 7
010730027024005 7
010730016003011 7
010730008004125 7
010730008004122 7
010730008004100 7
010730016003008 7
010730008004087 7
010730008004089 7
010730008004004 7
010730008004005 7
010730008004091 7
010730008004090 7
010730008004101 7
010730008004123 7
010730008004017 7
010730008004021 7
010730008004010 7
010730008004019 7
010730008004009 7
010730008004018 7
010730008001086 7
010730008004002 7
010730008004006 7
010730008004007 7
010730008004001 7
010730008001088 7
010730008004008 7
010730008001083 7
010730008001076 7
010730008001084 7
010730008001075 7
010730008001057 7
010730008001056 7
010730008001063 7
010730008001064 7
010730008001085 7
010730008001071 7
010730008001073 7
010730008001074 7
010730008001062 7
010730008001058 7
010730008001059 7
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010730008001042 7
010730008004000 7
010730008001070 7
010730008001072 7
010730008001069 7
010730008001061 7
010730008001060 7
010730007002011 7
010730016003016 7
010730016003021 7
010730016003013 7
010730016003018 7
010730016003014 7
010730016003017 7
010730016003003 7
010730016003012 7
010730016003006 7
010730016003007 7
010730008004124 7
010730016003001 7
010730016003005 7
010730016003000 7
010730016003004 7
010730007001015 7
010730007001016 7
010730007002008 7
010730007003026 7
010730007001030 7
010730007001020 7
010730007001021 7
010730007001017 7
010730007003027 7
010730007003025 7
010730007003028 7
010730049022037 7
010730049022027 7
010730049022026 7
010730049021015 7
010730049023000 7
010730049021013 7
010730049021012 7
010730049021011 7
010730049022015 7
010730049022012 7
010730049022014 7
010730049022013 7
010730049021014 7
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010730049021009 7
010730049021010 7
010730049021008 7
010730049021005 7
010730049021006 7
010730049021004 7
010730049021007 7
010730049021003 7
010730016004031 7
010730016004027 7
010730016004028 7
010730016004002 7
010730007001041 7
010730016004003 7
010730007001034 7
010730007001035 7
010730007001033 7
010730007001036 7
010730007001032 7
010730007001023 7
010730007001022 7
010730007003024 7
010730007001024 7
010730007001027 7
010730007001025 7
010730007001018 7
010730007001019 7
010730007001026 7
010730007001007 7
010730007001031 7
010730007001009 7
010730007001010 7
010730007001039 7
010730007001004 7
010730007001008 7
010730007001006 7
010730007001013 7
010730007001001 7
010730016004032 7
010730016004006 7
010730016004033 7
010730016004034 7
010730024022015 7
010730016004029 7
010730016004001 7
010730005004034 7
010730024022014 7
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010730016004000 7
010730016004030 7
010730005004016 7
010730005004017 7
010730005004010 7
010730007001040 7
010730005004009 7
010730005004008 7
010730024022112 7
010730024022111 7
010730024011002 6
010730024022117 7
010730024022109 7
010730024022101 7
010730024022045 7
010730024022114 7
010730024022108 7
010730024022102 7
010730024022044 7
010730024022043 7
010730024011001 6
010730024011016 6
010730024011003 6
010730024022103 7
010730024022110 7
010730005004014 7
010730005004019 7
010730005004033 7
010730005004021 7
010730005004012 7
010730024022005 7
010730005004038 7
010730005004035 7
010730005004036 7
010730024022004 7
010730005004041 7
010730005004032 7
010730005004031 7
010730005004044 7
010730005004043 7
010730005004030 7
010730005004042 7
010730005001037 7
010730005001036 7
010730005004029 7
010730005004028 7
010730005004027 7
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010730005004024 7
010730005004022 7
010730005004025 7
010730005004026 7
010730005004023 7
010730005004006 7
010730005004007 7
010730005004004 7
010730004005039 7
010730004005040 7
010730004005041 7
010730005004011 7
010730005004005 7
010730005004040 7
010730005004003 7
010730004005042 7
010730004006005 7
010730005004002 7
010730005001035 7
010730005001027 7
010730005001028 7
010730005001029 7
010730005001030 7
010730005001031 7
010730005003006 7
010730005003005 7
010730005003018 7
010730005001011 7
010730005003061 7
010730005003062 7
010730005003024 7
010730005003003 7
010730005003001 7
010730005003000 7
010730005003013 7
010730005003021 7
010730005001032 7
010730005001012 7
010730005001013 7
010730005001014 7
010730005001010 7
010730005001009 7
010730022001068 7
010730022001077 7
010730019022021 7
010730019022009 7
010730019022010 7
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010730019022016 7
010730019022015 7
010730019022011 7
010730019022012 7
010730019022002 7
010730019022013 7
010730022001070 7
010730022001069 7
010730022001065 7
010730022001066 7
010730019022014 7
010730019022005 7
010730019022008 7
010730108061029 6
010730108034007 6
010730108034006 6
010730056003019 6
010730108034003 6
010730108061032 6
010730108061005 6
010730108061006 6
010730108061033 6
010730108061007 6
010730108061046 6
010730108061034 6
010730108061035 6
010730108061022 6
010730019021052 7
010730019021051 7
010730022001084 7
010730022001075 7
010730022001076 7
010730022001082 7
010730022001058 7
010730019021053 7
010730022001083 7
010730022001067 7
010730022001060 7
010730022001059 7
010730022001062 7
010730022001061 7
010730022001064 7
010730022001063 7
010730022001043 7
010730022001044 7
010730022001055 7
010730022001046 7
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010730022001045 7
010730022001047 7
010730022001039 7
010730023031007 7
010730023031008 7
010730022001054 7
010730022001073 7
010730022001048 7
010730022001057 7
010730022001056 7
010730022001053 7
010730022001038 7
010730022001049 7
010730022001050 7
010730022001051 7
010730022001052 7
010730022001033 7
010730022001034 7
010730022001035 7
010730023033001 7
010730023033003 7
010730023031025 7
010730023031013 7
010730023031014 7
010730023031001 7
010730023031015 7
010730023031016 7
010730023031004 7
010730023031017 7
010730023033006 7
010730023031021 7
010730023031026 7
010730023031031 7
010730023031030 7
010730023031022 7
010730023031023 7
010730023031024 7
010730023031005 7
010730023031018 7
010730023031002 7
010730023031027 7
010730023031028 7
010730023031019 7
010730023031020 7
010730022001074 7
010730022002039 7
010730022002043 7
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010730022002032 7
010730022002040 7
010730022001072 7
010730022001037 7
010730022001036 7
010730022001017 7
010730022001016 7
010730022002026 7
010730022001015 7
010730022001014 7
010730022001013 7
010730022001012 7
010730022002042 7
010730022002041 7
010730022002031 7
010730023031000 7
010730022002028 7
010730022002029 7
010730022002025 7
010730022002030 7
010730022002024 7
010730022002023 7
010730022002027 7
010730022002022 7
010730022002014 7
010730022002015 7
010730022002016 7
010730056002014 6
010730056002015 6
010750301021065 4
010750301021066 4
010750301021063 4
010750301021062 4
010570203004036 4
010570203004019 4
010570203004018 4
010570203004034 4
010570203004017 4
010570203004016 4
010570202004053 4
010570203004020 4
010570203004015 4
010570203004014 4
010570203004021 4
010570203004013 4
010570203004012 4
010570202004055 4
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010570203004010 4
010570203004023 4
010570203004011 4
010570203004009 4
010570202004052 4
010570202004051 4
010570202004056 4
010570202004050 4
010570202004049 4
010570202004048 4
010750302001085 4
010570202004037 4
010570202004036 4
010570202004035 4
010570202004043 4
010570202004044 4
010570202004057 4
010570202004019 4
010570202004020 4
010570202004021 4
010570202004022 4
010570202004062 4
010570202005015 4
010570202004017 4
010570202004018 4
010570202004013 4
010570202004011 4
010570202004016 4
010570203004024 4
010570203004025 4
010570203004008 4
010570203004007 4
010570203004004 4
010570203004026 4
010570203004005 4
010570203004003 4
010570203004006 4
010570203005026 4
010570203005025 4
010570203005024 4
010570203005030 4
010570202004015 4
010570203005011 4
010570202004007 4
010570203005010 4
010570202004006 4
010730126022043 6
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010730126022035 6
010730126022022 6
010730126022044 6
010730126022045 6
010730023033008 7
010730023033000 7
010730126021031 6
010730020001014 6
010730020001007 7
010730020001011 7
010730020001006 7
010730020001013 7
010730020001009 7
010730022002021 7
010730022002020 7
010730020001016 7
010730020001004 7
010730022002019 7
010730022002017 7
010730022002018 7
010730022002038 7
010730022002033 7
010730022002008 7
010730022002007 7
010730022002006 7
010730020001003 7
010730020001000 7
010730022002034 7
010730022002035 7
010730022002036 7
010730022002005 7
010730126021019 6
010730126021008 6
010730126021009 6
010730126021007 6
010730126021005 6
010730126021006 6
010730126021010 6
010730126021003 6
010730020001008 7
010730020001015 7
010730126021004 6
010730020001005 7
011170303471018 6
011170303471015 6
011170303473001 6
011170303473000 6
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011170302123017 6
011170302123004 6
011170302123018 6
011170302123003 6
011170302123002 6
011170302123001 6
011170302123016 6
011170302123000 6
011170302122010 6
010730127031012 6
011170302122002 6
011170302213010 6
011170302123015 6
011170302121001 6
011170302123023 6
011170302121002 6
010730126022012 6
010730126022013 6
010730126021011 6
010730126021012 6
010730126021014 6
010730126021015 6
010730126022014 6
010730126021025 6
010730126021016 6
010730126022011 6
010730126021002 6
010730126023064 6
010730126023066 7
010730126023065 7
010730126021001 6
010730126021000 6
010730126023085 6
010730126023086 6
010730127011023 6
010730127011028 6
010730126022000 6
010730127011022 6
010730126023052 6
010730126023053 6
010730126023054 6
010730126023055 6
010730126023049 6
010730108062000 6
010730108032001 6
010730108063005 6
010730108063006 6
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010730108063004 6
010730108032000 6
010730127011031 6
010730108063002 6
010730108063003 6
010730108063000 6
010730108063001 6
010730127011034 6
010730127011024 6
010730127011021 6
010730127011027 6
010730126023056 6
010730126023090 6
010730126023057 6
010730127011032 6
010730127011029 6
010730127011025 6
010730127011026 6
010730127011020 6
010730126023059 6
010730126023063 6
010730127011019 6
010730127011016 6
010730127011015 6
010730126023060 6
010730127034021 6
010730127033017 6
010730127033018 6
010730127033021 6
010730127034014 6
010730108071055 6
010730127034032 6
010730127033022 6
010730127014040 6
010730127014010 6
010730127013013 6
010730127013008 6
010730127013010 6
010730127014005 6
010730127014006 6
010730127014007 6
010730127014008 6
010730127013014 6
010730127014029 6
010730127014019 6
010730127014030 6
010730127014011 6
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010730127014012 6
010730127014021 6
010730127014014 6
010730127014022 6
010730127014038 6
010730127014004 6
010730127014003 6
010730127014001 6
010730127013007 6
011170302182032 6
011170302182029 6
011170302182027 6
011170302182034 6
011170302182040 6
011170302182038 6
011170302182039 6
011170302182036 6
011170302182015 6
010730127042029 6
010730127042023 6
010730127012083 6
010730127012055 6
010730127014025 6
010730127012057 6
010730127014026 6
010730127014027 6
010730127042020 6
010730127012049 6
010730127014023 6
010730127014002 6
010730127014000 6
010730127013006 6
010730127014024 6
010730127012084 6
010730127042018 6
010730127012058 6
010730127012050 6
010730127012059 6
010730127012060 6
010730127012061 6
010730127012051 6
010730127012044 6
010730127012080 6
010730127012079 6
010730127012064 6
010730127012062 6
010730127012063 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 56 of 401


010730127012043 6
010730127012042 6
010730127012041 6
010730127013025 6
010730127012045 6
010730127012040 6
010730127012046 6
010730127012039 6
010730127012038 6
010730127013005 6
010730127042016 6
010730127012047 6
010730127012048 6
010730127012081 6
010730127012065 6
010730127042021 6
010730127012069 6
010730127012066 6
010730127042019 6
010730127042012 6
010730127042013 6
010730127012067 6
010730127012037 6
010730127013021 6
010730127013022 6
010730127012036 6
010730127013024 6
010730127013023 6
010730127012035 6
010730127013004 6
010730127012027 6
010730127012026 6
010730127012068 6
010730127042011 6
010730127012034 6
010730127012032 6
010730127042014 6
010730127042009 6
010730127042010 6
010730127042015 6
010730127012033 6
010730127042002 6
010730127042004 6
010730127042001 6
010730127042003 6
010730127012030 6
010730127041035 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 57 of 401


010730127041033 6
010730127041037 6
010730127042046 6
010730127041039 6
010730127041036 6
010730127041015 6
010730127041014 6
010730127041016 6
010730127042045 6
010730127042027 6
010730127042041 6
010730127042028 6
010730127042044 6
010730127042042 6
010730127041013 6
010730127042043 6
010730127042033 6
011170302204000 6
010730127041045 6
010730127041024 6
010730127041008 6
010730127041007 6
011170309003051 6
010730127041025 6
010730127041012 6
010730127041011 6
010730127041009 6
010730127041010 6
010730127042037 6
010730127042035 6
010730127041003 6
010730127042030 6
010730127042040 6
010730127042034 6
010730127042032 6
010730127042008 6
010730127042007 6
010730127042031 6
010730127042005 6
010730110043010 6
010730127042000 6
010730127042102 6
010730127042036 6
010730127042038 6
010730127042039 6
010730127042101 6
010730110043011 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 58 of 401


010730127042103 6
010730127041004 6
010730127041046 6
010730110043021 6
010730110043022 6
010730110043005 6
010730110043012 6
010730110043013 6
010730110043001 6
010730110043003 6
010730110043000 6
010730110043004 6
010730110043009 6
010730110043002 6
010730127042006 6
010730110043007 6
010730110043008 6
010730110043019 6
010730110043018 6
010730110043017 6
010730110022027 6
010730110021006 6
010730110021007 6
011170302151001 6
011170302112001 6
011170302112002 6
011170302151000 6
011170302112000 6
011170309002074 6
011170309002066 6
011170309002067 6
011170309002065 6
011170309002064 6
011170309002031 6
011170309002034 6
011170309002035 6
011170302111001 6
010730110041041 6
011170309003034 6
011170309003035 6
010730110041040 6
010730110041033 6
010730110041036 6
010730110043015 6
010730110043006 6
010730110043014 6
010730110043020 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 59 of 401


010730110041035 6
010730110042008 6
010730110042009 6
010730110042003 6
010730110042004 6
010730110043016 6
010730110042005 6
010730110042001 6
010730110042002 6
010730110022021 6
010730110021031 6
010730110042007 6
010730110042006 6
010730110042000 6
010730110032033 6
010730110032082 6
010730110022023 6
010730110022025 6
010730110022022 6
010730110022024 6
010730110021032 6
010730110021037 6
010730110021078 6
010730110021079 6
010730110021071 6
010730110021070 6
010730110021067 6
010730110021066 6
010730110021085 6
010730110021069 6
010730110021020 6
010730110021068 6
010730110021065 6
010730110041032 6
010730110041037 6
010730110032028 6
010730110041026 6
010730110041027 6
010730110041025 6
010730110041028 6
010730110041030 6
010730110032080 6
010730110032034 6
010730110032031 6
010730110032081 6
010730110032036 6
010730110032027 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 60 of 401


010730110032086 6
010730110032079 6
010730110022026 6
010730110022028 6
010730110022029 6
010730110022032 6
010730110032083 6
010730110022039 6
010730110022004 6
010730110021054 6
010730110032000 6
010730110022002 6
010730110031028 6
010730110031029 6
010730110031030 6
010730110031027 6
010730110031023 6
010730110031026 6
010730110031025 6
010730110031022 6
010730110031021 6
010730110022003 6
010730110021055 6
010730110022001 6
011170309003028 6
011170309003015 6
011170309003018 6
011170309003016 6
011170309003019 6
011170309003012 6
011170309003013 6
011170309003020 6
011170309003070 6
011170309003014 6
011170309003017 6
010730110041024 6
010730110041029 6
010730110032085 6
010730110041031 6
010730110031018 6
010730110022000 6
010730110031016 6
010730110031015 6
010730110031017 6
010730110031037 6
010730110031004 6
010730110031009 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 61 of 401


010730110031014 6
010730110031013 6
010730110041021 6
010730110031006 6
010730110041042 6
010730110041020 6
010730110041022 6
010730110031007 6
010730110031003 6
011150401053024 3
010730110041023 6
010730110031012 6
010730110041018 6
011170309003021 6
010730110041019 6
010730110041011 6
010730110041012 6
010730110041015 6
010730110041038 6
011170309003024 6
010730110041017 6
010730110041016 6
011170309003026 6
011150401051020 3
010730110041006 6
010730110041009 6
011150401053016 3
010730110041005 6
010730110041002 6
010730110031001 6
010730110041013 6
010730110041010 6
010730110041007 6
010730110041014 6
010730110041008 6
010730110041039 6
010730110041003 6
010730110041001 6
010730110031000 6
010730110041004 6
010730110041000 6
010730110031002 6
011170309003022 6
011150401051018 3
011170309003023 6
011170309003025 6
011170309003010 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 62 of 401


011150401051019 3
011150401053031 3
011150401051017 3
011150401051015 3
011150401053019 3
011150401051016 3
011150401051014 3
011150401053026 3
011150401053013 3
011150401053025 3
010010208031006 6
010010208031005 6
010010208031019 6
010010208031023 6
010010208031022 6
010010208031021 6
010010208031020 6
010010208033021 6
010010208033020 6
010010208033011 6
010010208033012 6
010010208033024 6
010010208033023 6
010010208033022 6
010010208041003 6
010010208033006 6
010010208033013 6
010010208033014 6
010010208033015 6
010010208041005 6
010010208041002 6
010010208041014 6
010010208041000 6
010010208041015 6
010010208041001 6
010010208042005 6
010010208042004 6
010010208042003 6
010010208042000 6
010010208042002 6
010010208042001 6
010939646001117 4
010939645002073 4
010939646001118 4
010939645002079 4
010939645002080 4
010939645002072 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 63 of 401


010939645002071 4
010939646001007 4
010939645002074 4
010939645002022 4
010939645002070 4
010939645002018 4
010939647022000 4
010939645002017 4
010939645002076 4
010939645002020 4
010939645002021 4
010939645002019 4
010939644011055 4
010939644011056 4
010570203004027 4
010570203003048 4
010570203003049 4
010570203003039 4
010570203003034 4
010570203003032 4
010570203003029 4
010570203003033 4
010570203003030 4
010570203003031 4
010570203003038 4
010570203003037 4
010570203002038 4
010570203002037 4
010570203003045 4
010570203003046 4
010570204004052 4
010570203003040 4
010570203003042 4
010570203003044 4
010570204004065 4
010570204004016 4
010570204004018 4
010570204004051 4
010570204004046 4
010570204004019 4
010570204004020 4
010570204004043 4
010570204004035 4
010570204004015 4
010570204004017 4
010570204004014 4
010570203002044 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 64 of 401


010570204004013 4
010570203002047 4
010570203002045 4
010570203002046 4
010570203002034 4
010570203002032 4
010570203002033 4
010570203002036 4
010570203002024 4
010570203002026 4
010570203002035 4
010570200001061 4
010570200002054 4
010570200002048 4
010570200002036 4
010570200002055 4
010570200002047 4
010570200002050 4
010570200002052 4
010570200002051 4
010570200002035 4
010570200002041 4
010570204004045 4
010570204004055 4
010570204004042 4
010570204004039 4
010570204004044 4
011250101041015 4
011250101041011 4
011250101041013 4
011250101041010 4
011250101041009 4
011250101041008 4
010570204004047 4
010570204004040 4
010570204004036 4
010570204004041 4
010570204004030 4
010570204004038 4
010570204004037 4
011250101041012 4
011250101041007 4
010570204004048 4
011250101041083 4
011250101041006 4
010570204004049 4
011250101041005 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 65 of 401


010570204004029 4
010570204004031 4
011250101041004 4
010570204002056 4
010570204004033 4
010570204004025 4
010570204004010 4
010570204004032 4
010570204004028 4
010570204004026 4
010570204004027 4
010570204004009 4
010570204004003 4
010570204004001 4
010570204004002 4
010570204004004 4
010570204001062 4
010570204004006 4
010570204001061 4
010570204001044 4
010570204001043 4
010570204001039 4
010570204001040 4
010570204002055 4
010570204002054 4
010570204004008 4
010570204002053 4
010570204002052 4
010570204002062 4
010570204002050 4
010570204002058 4
010570204002051 4
010570204002009 4
010570204002012 4
010570204004007 4
010570204001053 4
010570204001054 4
010570204001055 4
010570204002010 4
010570204001042 4
010570204001041 4
010570204001029 4
010570204001030 4
010570204001056 4
010570204002006 4
010570204002007 4
010570204002011 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 66 of 401


010570204002005 4
010570204002003 4
010570204002004 4
010570204001021 4
011250101041024 4
011250101041025 4
011250101041026 4
011250101041003 4
010570204002057 4
010570204003084 4
011250101041002 4
010570204003070 4
011250101021009 4
011170309003007 6
011170309003009 6
011170309003008 6
011170309003003 6
011170309003000 6
011170309003002 6
011150401051013 3
011150401051008 3
011170309003004 6
011170309003001 6
011170309003075 6
011150401051036 3
011170309003076 6
011170309003078 6
011170309001012 6
011170309003077 6
011150401052038 3
011170309001011 6
011170309003079 6
011150401051035 3
011150401051037 3
011150401051028 3
011150401051021 3
011150401051031 3
011150401051029 3
011150401051030 3
011150401051023 3
011150401051022 3
011150401051004 3
011150401051024 3
011150401051032 3
011170301021008 6
011170301021010 6
011170301021032 6
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011170301021005 6
011170301021004 6
011170301021091 6
011170301021027 6
011170301021006 6
011170309001068 6
011170301021002 6
011170301021001 6
011170309001008 6
011170309001009 6
011170301021014 6
011170301021003 6
011170301021011 6
011150402131013 3
011170309001018 6
011170309001017 6
011170309001013 6
011170301021000 6
011170309001006 6
011170309001014 6
011170309001002 6
011170309001015 6
011170309001016 6
011170309001005 6
011170309001004 6
011170309001003 6
011170309001010 6
011170309001070 6
011150401052039 3
011170309001069 6
011150401052054 3
011150401051034 3
011150401052036 3
011170309001001 6
011170309001007 6
011150401052040 3
011150401052037 3
011150401051033 3
011150401052032 3
011150401052031 3
011170309001000 6
011150401052041 3
011150402092050 3
011150402092049 3
011150402092048 3
011150401052047 3
011170301031151 6
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011170301031149 6
011170301031150 6
011210112001085 3
011170301023107 6
011170301023110 6
011210112001088 3
011210112001089 3
011210113011024 3
011210113011025 3
011210113011027 3
011210113011026 3
011210113011015 3
011170301023112 6
011210113011017 3
011210113011016 3
011210112001096 3
011210112001129 3
011210113011014 3
011210113011009 3
011210113011011 3
011210113011010 3
011210112001131 3
011210112001128 3
011210112001119 3
011210112001097 3
011210112001130 3
011170301023038 6
011170301023109 6
011210112001087 3
011150402092067 3
011150402092063 3
011150402092061 3
011150402092051 3
011150402091055 3
011150402092057 3
011150402092054 3
011150402092045 3
011150402092046 3
011150402092047 3
011150402092043 3
011150402092052 3
011150402092056 3
011150402092053 3
011150402092055 3
011150402092044 3
011150402091054 3
011150402091056 3
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011150402091053 3
011150402091057 3
011150402091052 3
011150402131000 3
011150402132001 3
011150402091059 3
011150402091058 3
011150402091051 3
011150402091050 3
011150402092039 3
011150402091042 3
011150402091033 3
011210112001026 3
011210112001014 3
011210112001028 3
011210112001027 3
011210112001015 3
011210112001016 3
011210112001010 3
011210112001009 3
011210112001008 3
011210112001030 3
011210112001123 3
011210112001031 3
011210112001017 3
011210112001021 3
011210112001019 3
011210112001132 3
011210112001020 3
011210112001018 3
011210112001007 3
011210103023025 3
011210103023028 3
011210103023027 3
010599729001002 4
010330208021026 4
010330208021017 4
010330208021027 4
010330208021016 4
010330208021013 4
010330208021014 4
010330208021028 4
010330208021015 4
010330208022032 4
010330208022029 4
010570204003068 4
011250101021007 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 70 of 401


010570204003066 4
011250101021010 4
010570204003065 4
010570204003064 4
010570204003079 4
010570204003059 4
010570204003041 4
010570204003067 4
010570204003060 4
010570204003015 4
010570204003024 4
010570204003014 4
010570204003013 4
010570204003061 4
011150402122019 3
011150402122012 3
011150402091044 3
011150402091046 3
011150402091047 3
011150402091048 3
011150402091040 3
011150402091034 3
011150402122022 3
011150402122025 3
011150402122023 3
011150402091043 3
011150402091041 3
011150402122018 3
011150402091038 3
011150402122021 3
011150402091037 3
011150402122026 3
011150402122024 3
011150402091039 3
011210103023066 3
011210103023061 3
011210103023063 3
011210103023065 3
011150402122013 3
011150402121018 3
011210103023003 3
011150402122020 3
011150402122028 3
011150402122014 3
011150402122015 3
011150402121020 3
010570204003073 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 71 of 401


010570204003072 4
010570204003023 4
010570204003022 4
010570204003003 4
010570204003021 4
010570204003063 4
010570204003001 4
010570204003005 4
010570204003004 4
011250101021005 4
010570204003076 4
011250101021003 4
011250101021004 4
010570204003075 4
011250101021002 4
010570204003085 4
010570204003078 4
010570204003077 4
011250101021001 4
010570204003062 4
010570204003020 4
010570204003000 4
010570204003074 4
010570204003011 4
010570204003017 4
011270212001039 4
011270213001014 4
011270212001050 4
011270212001041 4
011270212001051 4
011270212001052 4
011270212001042 4
011270212001053 4
011250101023005 4
011250101023006 4
011250101021000 4
011270213001090 4
011250101023003 4
011270213003055 4
011270213003056 4
011270213001087 4
011270213001086 4
010570204003012 4
011270213001079 4
011270213001084 4
011270213001085 4
011270213001080 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 72 of 401


011270213001078 4
011270213001081 4
011270213001077 4
011270213001088 4
011270213001091 4
011270213003018 4
011270213001082 4
011270213003013 4
011270213003011 4
011270213001083 4
011270213003016 4
011270213003012 4
011250101023002 4
011250101023025 4
011250101023026 4
011250101023001 4
011250101023000 4
011270213003089 4
011270213003088 4
011270213003053 4
011250101023027 4
011250101023028 4
011270213003094 4
011270213003080 4
011270213003095 4
011270213003081 4
011270213003086 4
011270213003020 4
011270213003051 4
011270213003087 4
011270213003083 4
011270213003085 4
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011270213003084 4
011270213003046 4
011270213003060 4
011270213003057 4
011270213003062 4
011270213003059 4
011270213003072 4
011270213003063 4
011270213003065 4
011270213003050 4
011270213003040 4
011270213003044 4
011270213003045 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 73 of 401


011270213003043 4
011270213003041 4
011270213003033 4
011270213003037 4
011270213003038 4
011270213003042 4
011270213003058 4
011270213003101 4
011270213003039 4
011270214002024 4
011270213003034 4
011270213003026 4
011270214002054 4
011150402121019 3
011150402121035 3
011150402121033 3
011150402121034 3
011150402121021 3
011150402121032 3
011150402121022 3
011150402121030 3
011150402121023 3
011150402121024 3
011150402121027 3
011150402121026 3
011150402121031 3
011150402121025 3
011150402121009 3
011150402121008 3
011150402122017 3
011150402121004 3
011150402121005 3
011150402121007 3
011150402121006 3
011150402121011 3
011150402122016 3
011150402122009 3
011150402122003 3
011150402122027 3
011150402122002 3
011150402122004 3
011150402122008 3
011150402113026 3
011150402122007 3
011150402122000 3
011270213003067 4
011270213003073 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 74 of 401


011270216002065 4
011270216002051 4
011270216002064 4
010730122001172 6
010730122001178 6
010730122001177 6
011270213003074 4
010730122002020 7
010730122001188 6
010730122001189 6
010730122001167 6
010730122001166 6
010730122001170 6
010730122001180 6
010730122001174 6
010730122001163 6
010730122002018 7
010730122001194 6
010730122001193 6
010730122001186 6
010730122001185 6
010730122001187 6
010730122001190 6
010730122001181 6
010730122001176 6
010730122001175 6
010730122001182 6
010730122001173 6
010730122001169 6
010730122001171 6
011270215001018 4
011270215001042 4
011270215001043 4
011270215001019 4
011270215001004 4
011270215001005 4
011270215001017 4
011270215001007 4
011270215001006 4
011270215001001 4
011270215002020 4
011270215002015 4
011270215002011 4
011270215002012 4
011270215001020 4
011270215001000 4
011270217004004 4
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 75 of 401


011270215002029 4
011270217004005 4
011270215002013 4
011270215002006 4
011270215002005 4
011270215002024 4
011270215002004 4
011270206002020 4
011270206002013 4
011270206002007 4
011270206002021 4
011270206002006 4
011270206002005 4
010730122001191 6
010730122001184 6
011150402103013 3
011150402101022 3
011150402101016 3
011150402101017 3
011150402101006 3
011150402101004 3
011210103021094 3
011150402101018 3
011150402101019 3
011150402101020 3
011150402101001 3
011150402101000 3
011150402103014 3
011150402103022 3
011150402103024 3
011150402101021 3
011150402103023 3
011150402103015 3
011150402103016 3
011210103021054 3
011210103022007 3
011210103022004 3
011210103021064 3
011210103021063 3
011210103021034 3
011210103021106 3
011210103021023 3
011210103021024 3
011210103021107 3
011210103021026 3
011210103021022 3
011150402103027 3
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011210103021025 3
011210103021031 3
011210103021056 3
011210103021036 3
011210103021027 3
011150402103025 3
011150402103026 3
011150402103004 3
011150402103001 3
011150402103009 3
011150402103008 3
011150402103007 3
011150402103028 3
011150402103002 3
011210103021055 3
011210103021065 3
011210103021057 3
011210103021061 3
011210103021062 3
011210103021060 3
011210103021059 3
011210103021103 3
011210103021052 3
011210103021053 3
011210103021029 3
011210103021033 3
011210103021028 3
011210103021051 3
011210103021030 3
011210103021058 3
011210103021047 3
011210103021045 3
011210103021050 3
011210103021049 3
011210103021092 3
011210103021048 3
011210103021032 3
011210103021046 3
011210103021040 3
011210103021021 3
011210103021038 3
011210103021093 3
011210103021035 3
011210103021037 3
011210103012040 3
011210103012027 3
011210103012053 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 77 of 401


011210103012054 3
011210103012042 3
011210103012041 3
011210103012055 3
011210107001036 3
011210103012030 3
011210103012026 3
011210103022013 3
011210103012018 3
011210103012024 3
011210103012017 3
011210107001035 3
011210107001017 3
011210103012048 3
011210103012043 3
011210107001016 3
011210103012028 3
011210103022002 3
011210103022001 3
011210103021086 3
011210103021043 3
011210103021044 3
011210103021039 3
011210103021085 3
011210103021017 3
011210103021084 3
011210103021097 3
011210103021088 3
011210103021087 3
011210103021041 3
011210103012009 3
011210103012001 3
011210103012010 3
011210103012006 3
011210103012007 3
011210103012004 3
011210103012008 3
011210103011024 3
011210103011025 3
011210103012003 3
011210103012002 3
011210103012005 3
011210103012000 3
011210103011022 3
011210103021089 3
011210103021083 3
011210103021066 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 78 of 401


011210103021067 3
011210103021068 3
011210103021070 3
011210103021091 3
011210103021090 3
011210103021081 3
011210103021080 3
011210103021077 3
011210103021079 3
011210103021082 3
011210103021069 3
011210103021078 3
011210103021100 3
011210103021101 3
011210103021071 3
011210103011020 3
011210111001094 3
011210111001092 3
011210111001031 3
011210111001093 3
011210104002064 3
011210104002036 3
011210104002035 3
011210111001030 3
011210105001008 3
011210105001009 3
011210105001005 3
011210105001004 3
011210105001001 3
011210105001007 3
011210105001006 3
011210105001003 3
011210105001002 3
011210103011047 3
011210105001000 3
011210103011058 3
011210103011027 3
011210103011044 3
011210103011040 3
011210103011023 3
011210103011028 3
011210103011029 3
011210103011021 3
011210103011049 3
011210103011006 3
011210102022112 3
011210103011019 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 79 of 401


011210103011018 3
011210103011005 3
011210102022111 3
011210102022110 3
011210103011016 3
011210103011095 3
011210103011091 3
011210103011017 3
011210103011004 3
010730122001154 6
010730122001159 6
010730122001158 6
010730122001155 6
011270216002060 4
010730122001153 6
011270216002059 4
010730122001104 6
011270216002066 4
010730122001106 6
010730122001105 6
010730122001135 6
010730122001103 6
010730122001102 6
010730122001099 6
010730122001101 6
010730122001100 6
010730122001108 6
010730122001109 6
010730122001098 6
010730122001097 6
010730122001096 6
010730123022082 7
010730123022033 7
010730123022034 7
010730123022035 7
010730122001144 6
010730123022038 7
010730122001143 6
010730123022066 7
010730123022036 7
010730123022052 7
011210102022114 3
011210102022113 3
011210102022109 3
011210102022108 3
011210102022089 3
011210102022107 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 80 of 401


011210103011003 3
011210102022072 3
011210103011035 3
011210103011045 3
011210103011032 3
011210103011015 3
011210103011030 3
011210103011001 3
011210102022106 3
011210103011031 3
011210103011014 3
011210103011034 3
011210103011002 3
011210102022068 3
011210101022011 3
011210101022012 3
011210101022019 3
011210104001001 3
011210104001000 3
011210104003044 3
011210104003003 3
011210104003002 3
011210101024053 3
011210104003004 3
011210101022046 3
011210101022041 3
011210101022024 3
011210104003042 3
011210101022038 3
011210104003017 3
011210104003001 3
011210101022040 3
011210101022039 3
011210101022035 3
011210101022034 3
011210101022010 3
011210101022007 3
011210101022016 3
011210101021060 3
011210101021061 3
011210101022025 3
011210101022026 3
011210101022027 3
011210101022028 3
011210101022006 3
010610501002168 2
010299598001084 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 81 of 401


010299598001024 3
010299598001027 3
010299598001022 3
010299598001018 3
010299598003022 3
010299598003007 3
010299598003005 3
010299598001089 3
010299598003004 3
010299598001062 3
010299598001070 3
010299598001072 3
010299598001045 3
010299598001065 3
010299598003015 3
010299598003011 3
010299598003002 3
010299598003003 3
010299598001071 3
010299598003013 3
010299598003012 3
010299598003001 3
010299598002005 3
010299598002007 3
010299598002004 3
010299598003000 3
010299598001082 3
010299598002001 3
010299598002000 3
010299598001073 3
010299598001076 3
010299596001063 3
010299596001100 3
010299596001101 3
010299596001102 3
010299596001066 3
010299596001059 3
010299597001089 3
010299597001123 3
010299597001122 3
010299597001090 3
010299597001091 3
010299597001087 3
010299597001088 3
010299597001034 3
010299598003040 3
010299598003036 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 82 of 401


010299598001081 3
010299598003037 3
010299597001032 3
010299598001080 3
010299597001147 3
010299597001145 3
010299597001024 3
010299597001036 3
010299597001017 3
010299596002000 3
010299596002002 3
010299597001027 3
010299596002003 3
010299596001144 3
010299596001105 3
010299597001033 3
010730123022053 7
010730123022032 7
010730122001145 6
010730123022025 7
010730123022054 7
010730123022055 7
010730122001142 6
010730122001136 6
010730122001138 6
010730122001139 6
010730122001140 6
010730123022010 7
010730122001133 6
010730123022057 7
010730123022051 7
010730123022061 7
010730123022026 7
010730123022067 7
010730123022027 7
010730123022024 7
010730122001141 6
010730123022028 7
010730123022023 7
010730123022022 7
010730123022020 7
010730123022050 7
010730123022019 7
010730123022018 7
010730123022021 7
010730123022011 7
010730123022009 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 83 of 401


010730123022014 7
011270216001037 4
011270216001036 4
011270215004032 4
011270216002006 4
010730122001090 6
011270216002026 4
011270216002004 4
010730122001089 6
011270216002018 4
011270216002003 4
011270216001040 4
011270216002002 4
011270217004038 4
011270216002001 4
011270216002000 4
011270217004040 4
011270216001039 4
010730123022059 7
010730123022049 7
010730123022046 7
010730123022045 7
010730123022017 7
010730123022016 7
010730123022012 7
010730123022008 7
010730122001201 6
010730123022015 7
010730123022003 7
010730123022007 7
010730123022006 7
010730123022004 7
010730123022005 7
010730123022002 7
010730122001198 6
010730122001112 6
010730122001115 6
010730122001114 6
010730122001118 6
010730122001130 6
010730122001119 6
010730122001120 6
010730122001113 6
010730122001122 6
010730123022001 7
010730123022000 7
010730122001121 6
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 84 of 401


010730123021015 6
010730123021014 6
010730122001203 6
010730122001123 6
010730122001126 6
010730123021006 6
010730122001125 6
010730123021007 6
010730122001124 6
010730123021008 6
010730123021005 6
010730123021004 6
010730123022029 7
010730123021023 6
010730123021017 6
010730122001202 6
010730123021016 6
010730123021018 6
010830203001098 5
010830203001070 5
010830203001069 5
010830203001007 5
010830203001099 5
010830203001106 5
010830202021019 5
010830203001100 5
010830203001008 5
010830203001009 5
010830203001004 5
010830203001101 5
010830203001006 5
010830203001005 5
010830203001003 5
010830203001001 5
010830203001002 5
010830203001018 5
010730123021030 7
010730123022030 7
010730123021019 6
010730123022031 7
010730123021020 6
010730123021021 7
010730124032039 7
010730124032038 6
010730124032037 6
010730123021022 7
010730123021011 7
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010730123021024 7
010730123021043 7
010730123021044 7
010299597001053 3
010299597001046 3
010299597001044 3
010299597001049 3
010299597002000 3
010299597001137 3
010299597001136 3
010299597001119 3
010299597001125 3
010299597001118 3
010299597001124 3
010299597001120 3
010299597001121 3
010299597001085 3
010299597001086 3
010299597001035 3
010299597001065 3
010299596003063 3
010299596003050 3
010299596002064 3
010299596002063 3
010299597001064 3
010299596003064 3
010299597001056 3
010299596002067 3
010299596002066 3
010299596002056 3
010299596002055 3
010299596003053 3
010299596003058 3
010299596003057 3
010150020012038 3
010150020012029 3
010150020012027 3
010150020012024 3
010150020012018 3
010150020012020 3
010150020012021 3
010150020012010 3
010299596001002 3
010299596001000 3
010150020012023 3
010150020012022 3
010150020012028 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 86 of 401


010299597001130 3
010299597001129 3
010299597001116 3
010299597002001 3
010299597001126 3
010299597001127 3
010299597001117 3
010299597001092 3
010299597001084 3
010299597001063 3
010299597001062 3
010299597001061 3
010299597001054 3
010299597001148 3
010299597001045 3
010299597001128 3
010299597001114 3
010299597001115 3
010299597001096 3
010299597001081 3
010299597001099 3
010299597001095 3
010299597001082 3
010299597001100 3
010299597001094 3
010299597001093 3
010299597001068 3
010299597001069 3
010299597001067 3
010299597001059 3
010299597001083 3
010299597001066 3
010299596003028 3
010299596003027 3
010150020011001 3
010299596003026 3
010299596003033 3
010299596003032 3
010299596003022 3
010299596003029 3
010299596003021 3
010150020011000 3
010150020012059 3
010299596001145 3
010299596001133 3
010299596001081 3
010299596003034 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 87 of 401


010150020011002 3
010150020011009 3
010150020011011 3
010150020023000 3
010150020011005 3
010150020021009 3
010150020021006 3
010150020012071 3
010150020011007 3
010150020011006 3
010150020011008 3
010150020011003 3
010150020011004 3
010150020012051 3
010299597002019 3
010299597002018 3
010299597001131 3
010299597001105 3
010299597001103 3
010299597002017 3
010299597001138 3
010299597001102 3
010299597001078 3
010299597001097 3
010299597001080 3
010299597001070 3
010299597001071 3
010299597001111 3
010299597001101 3
010299597001113 3
010299597001098 3
010299597001112 3
010299597002023 3
010299597002034 3
010299597002024 3
010299597002022 3
010299597002046 3
010299597002020 3
010299597002021 3
010299597001107 3
010299597001108 3
010299597001106 3
010299597001104 3
010299597001077 3
010299597001076 3
010299597001074 3
010299597001079 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 88 of 401


010299597001075 3
010150020011034 3
010150020011031 3
010150020011032 3
010150020011030 3
010150020011025 3
010150020023026 3
010150020011024 3
010150020021012 3
010150020023014 3
010150020021011 3
010150020023011 3
010150020023013 3
010150020023012 3
010150020023010 3
010150020011026 3
010150020011023 3
010199559002044 3
010199559002048 3
010199559002039 3
010199559002042 3
010199559002045 3
010199559002040 3
010199559001040 3
010199559001032 3
010299597002036 3
010299597002027 3
010299597002035 3
010299597002028 3
010299597002030 3
010150020011033 3
010150020011036 3
010150020011037 3
010299597002031 3
010150020011029 3
010299597001073 3
010150020011076 3
010299597001072 3
010299597002047 3
010299597002026 3
010299597002025 3
010299597002033 3
010299597001110 3
010299597001109 3
010150012012010 3
010150011022005 3
010150011022004 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 89 of 401


010150010004043 3
010150010004029 3
010150011022007 3
010150011022008 3
010150011022030 3
010150011022029 3
010150011022009 3
010150011022003 3
010150010004027 3
011210101012008 3
011210101012006 3
011210101011040 3
011210101012103 3
011210101011042 3
011210101012007 3
011210101012011 3
011210101012005 3
011210101012004 3
011210101011044 3
011210101011041 3
011210101011045 3
011210101011046 3
011210101012003 3
011210101011031 3
011210101011032 3
011210101011036 3
011210101011013 3
011210101011017 3
010150011031005 3
011210101013004 3
011210101013033 3
011210101013051 3
011210101013044 3
011210101013047 3
011210101013056 3
011210101013032 3
011210101013039 3
011210101013040 3
011210101013041 3
011210101013042 3
011210101013043 3
010150011033040 3
011210101013034 3
011210101013008 3
011210101013030 3
011210101013031 3
010150011031022 3
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 90 of 401


010150011031020 3
010150011031021 3
011210101012033 3
011210101012019 3
011210101013090 3
011210101012020 3
011210101012014 3
011210101013067 3
011210101013066 3
011210101012012 3
011210101012013 3
011210101012015 3
011210101012102 3
011210101012101 3
010150025033033 3
010150025033018 3
010150025033003 3
010150025033032 3
010150025031003 3
010150025033020 3
010150025033019 3
011210101013073 3
011210101013076 3
011210101012036 3
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011210101012044 3
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011210101013069 3
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011210101012030 3
011210101012018 3
011210101013068 3
011210101013070 3
011210101012043 3
011210101013036 3
011210101013035 3
011210101013014 3
011210101013037 3
011210101013046 3
011210101013060 3
011210101013045 3
011210101013015 3
011210101012090 3
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011210101012075 3
011210101012084 3
011210101012073 3
011210101012089 3
011210101012082 3
011210101012076 3
011210101012077 3
011210101012083 3
011210101012098 3
011210101012078 3
011210101012055 3
011210101012068 3
011210101012070 3
011210101012057 3
011210101021003 3
011210101013054 3
011210101021001 3
010150012022032 3
011210101021029 3
010150012022031 3
011210101021031 3
010150012022030 3
011210101012052 3
011210101013053 3
011210101013055 3
011210101021005 3
010150011033058 3
011210101012027 3
011210101012079 3
011210101012081 3
011210101012080 3
010150012023017 3
010150012023016 3
010150012023015 3
010150012021052 3
010150012021024 3
010150012021013 3
010150012023014 3
010150012023011 3
010150012023013 3
010150012023012 3
010150012021051 3
010150012021038 3
010150012023010 3
010150012021039 3
010150012021029 3
010150012021016 3
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010150015013017 3
011210101012024 3
011210101012065 3
011210101012087 3
011210101012064 3
011210101012086 3
011210101012066 3
011210101012091 3
011210101012058 3
011210101012067 3
011210101012056 3
011210101012071 3
011210101012088 3
011210101012085 3
011210101012074 3
011210101012072 3
010159819011004 3
010150014002004 3
011210101023008 3
011210101023007 3
011210101023003 3
011210101023009 3
011210101021013 3
010150012023028 3
011210101021015 3
011210101021072 3
011210101021014 3
010150012023025 3
010150012023027 3
011210101021012 3
011210101021043 3
011210101021046 3
011210101023000 3
011210101021045 3
011210101021044 3
011210101021011 3
010150012023022 3
011210101012063 3
011210101012061 3
011210101012062 3
011210101012060 3
011210101012059 3
011210101023004 3
011210101023005 3
011210101023006 3
011210101021008 3
010150012023029 3
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011210101021007 3
011210101021025 3
011210101021074 3
011210101021024 3
011210101021073 3
011210101021065 3
011210101021064 3
011210101021037 3
011210101021020 3
011210101021023 3
011210101021019 3
011210101023010 3
011210101023001 3
011210101023002 3
011210101021047 3
011210101021041 3
011210101021042 3
011210101021018 3
011210101021038 3
011210101021017 3
011210101021040 3
011210101021039 3
011210101021016 3
010150012023026 3
010150015021008 3
010150015011018 3
010150015021009 3
010150015011019 3
010150015021006 3
010150015021004 3
010150015021003 3
010150015021005 3
010150015011020 3
010150015021036 3
010150015021010 3
010150015011011 3
010150015012011 3
010150015012014 3
010150015012013 3
010150015012012 3
010150015012009 3
010150015012001 3
010159819011062 3
010150015012000 3
010150015011010 3
010150015011016 3
010150015011017 3
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010150015011006 3
010150015011007 3
010150015011008 3
010150015011009 3
011210101022003 3
011210101022000 3
011210101021066 3
011210101022005 3
011210101021048 3
011210101022004 3
011210101023012 3
011210101023011 3
011210101021067 3
011210101021068 3
011210101021021 3
011210101021026 3
011210101021027 3
011210101021022 3
011210101022002 3
011210101021051 3
011210101021052 3
011210101021053 3
010150015021013 3
011210101021035 3
010150015021037 3
010150015021025 3
010150015021018 3
010150015021019 3
010150015021014 3
010150015021017 3
010150015012015 3
010150015021015 3
010150015021016 3
010150015012006 3
010150015012004 3
010150015012005 3
010159819011044 3
010159819011043 3
010150015012010 3
010150015012007 3
010150015012008 3
010150015012003 3
010159819011072 3
010150015012002 3
010150015021011 3
010150015012020 3
010150015012021 3
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010150015012018 3
010150015021012 3
010150015012019 3
010719503012029 5
010719503012032 5
010719503012040 5
010719503012041 5
010719503011047 5
010719503011046 5
010719503011026 5
010719503011041 5
010719503011044 5
011210101021057 3
011210101021056 3
011210101021032 3
011210101021054 3
011210101022001 3
011210101021049 3
011210101021050 3
011210102012065 3
011210102012066 3
010150015021034 3
011210102012040 3
011210101021059 3
011210101021058 3
011210101021063 3
011210101021033 3
011210101021062 3
011210101021055 3
011210101021034 3
011210101021036 3
011210102022019 3
011210102022020 3
011210102022004 3
011210102022005 3
010150015021032 3
011210102022002 3
011210102022003 3
011210102022001 3
010150015021031 3
010150015021033 3
010150015022013 3
010150015021035 3
010150015021028 3
011210101021071 3
011210102022000 3
010150015021030 3
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010150015021020 3
011210102022071 3
011210102022064 3
011210102022070 3
011210102022054 3
011210102022057 3
011210101022015 3
011210102022065 3
011210101022014 3
011210102022066 3
011210102022067 3
011210102022056 3
011210102022055 3
011210102022021 3
011210102022063 3
011210102022018 3
011210102022062 3
011210102022061 3
011210102022059 3
011210102022060 3
011210102022013 3
011210102022014 3
011210102022010 3
011210102022011 3
011210102012042 3
011210102012041 3
011210102022008 3
011210102022009 3
011210102022007 3
010150015021039 3
010150015021038 3
011210102022006 3
011210102012064 3
011210102012053 3
011210102012051 3
011210102012049 3
011210102012050 3
011210102012063 3
011210102022087 3
011210102022073 3
011210102022075 3
011210102022074 3
011210102022049 3
011210102022069 3
011210102022051 3
011210102022086 3
011210102022052 3
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011210102022053 3
011210102022022 3
011210102022023 3
011210102022025 3
011210102022015 3
011210102022027 3
011210102022028 3
011210102012061 3
011210102012048 3
011210102012035 3
011210102012030 3
011210102022017 3
011210102022012 3
011210102022104 3
011210102022093 3
011210102022115 3
011210102022096 3
011210102022048 3
011210102022095 3
011210102022080 3
011210102022092 3
011210102022079 3
011210102022090 3
011210102022091 3
011210102022088 3
011210102022081 3
011210102022076 3
011210102022078 3
011210102022077 3
011210102022082 3
011210102022083 3
011210102022085 3
011210102022050 3
011210102022084 3
011210102022046 3
011210102022045 3
011210102022044 3
011210102022037 3
011210102022035 3
011210102022034 3
011210102022047 3
011210102022038 3
011210102022032 3
011210102022040 3
011210102022031 3
011210103021006 3
011210103021072 3
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011210102023073 3
011210102023053 3
011210102023061 3
011210102023062 3
011210102023055 3
011210102023056 3
011210102023057 3
011210103021098 3
011210103021099 3
011210102023072 3
011210103021102 3
011210102023070 3
011210102023071 3
011210102023067 3
011210102023069 3
011210103011008 3
011210103011007 3
011210102022105 3
011210102023068 3
011210102023066 3
011210102023064 3
011210102023065 3
011210102022102 3
011210102022103 3
011210102022100 3
011210102023063 3
011210102022101 3
011210102022099 3
011210102022094 3
011210102022098 3
011210102023012 3
011210102023033 3
011210102023027 3
011210102023006 3
011210102023005 3
011210102023048 3
011210102023031 3
011210102023032 3
011210102023047 3
011210102023030 3
011210102011028 3
011210102011042 3
011210102011027 3
011210102011026 3
011210102011044 3
011210102011043 3
011210102011040 3
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011210102011041 3
011210102011030 3
011210103021009 3
011210103021076 3
011210103021010 3
011210103021074 3
011210103021005 3
011210103021002 3
011210103021001 3
011210103021073 3
011210103021075 3
011210103021104 3
011210103021008 3
011210103021000 3
011210103021007 3
011150402061005 3
011150402061006 3
011150403012054 3
011210102011000 3
011210102021037 3
011210102021049 3
011210102021038 3
011210102021048 3
011210102021050 3
011210103021016 3
011210103021042 3
011210103021020 3
011210103021018 3
011210102021051 3
011210103021019 3
011210103021014 3
011210103021003 3
011210103021015 3
011210102021017 3
011210102021019 3
011210102021013 3
011210102021014 3
011210102023077 3
011210102021015 3
011210102023060 3
011210103021013 3
011210103021012 3
011210103021105 3
011210103021011 3
011210103021004 3
011210102023074 3
011210102023075 3
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011070502001040 7
011070502001039 7
011070502001019 7
011070502001016 7
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011070502001056 7
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011070502001054 7
011070502001081 7
011070502001038 7
011070502001020 7
011070502001018 7
011070502001017 7
011070502001022 7
011070502001015 7
011070502001021 7
011070502001049 7
011070502001055 7
011070502001050 7
011070502001080 7
011070502001051 7
011070502001043 7
011070502001045 7
011070502001047 7
011070502001048 7
011070502001012 7
011070502001026 7
011070502001006 7
010750302003065 4
010750302003064 4
010550111002025 4
010550111002024 4
010550111003043 4
010550111003046 4
010550111003045 4
010550111003102 4
010550111003044 4
010550111003042 4
010550111003037 4
010550111003026 4
010550111003035 4
010550111003019 4
010550111003018 4
010550111003041 4
010550111003038 4
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010550111003040 4
010550111002019 4
010550111003039 4
010550111003036 4
010550111002018 4
010550111001036 4
010550111001035 4
010550111003020 4
011150402103018 3
011150402102037 3
011150402102039 3
011150402102038 3
011150402103011 3
011150402102040 3
011150402102041 3
011150402102024 3
011150402102027 3
011150402113007 3
011150402113006 3
011150402113003 3
011150402113017 3
011150402113018 3
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011150402113012 3
011150402103020 3
011150402102036 3
011150402103019 3
011150402103017 3
011150402102035 3
011150402102034 3
011150402102033 3
011150402113009 3
011150402113010 3
011150402102032 3
011150402102031 3
011150402102030 3
011150402102012 3
011150402102029 3
011150402102013 3
011150402102010 3
011150402111037 3
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011150402111042 3
011150402111021 3
011150402111020 3
011150402111029 3
011150402111022 3
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011150402111026 3
011150402111025 3
011150402082000 3
011150402072044 3
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011150402072047 3
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011150402071049 3
011150402072039 3
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011150402091030 3
011150402113025 3
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011150402091023 3
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011150402113027 3
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011150402102044 3
011150402113020 3
011150402113021 3
011150402113023 3
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011150402091028 3
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011150402091029 3
011150402113014 3
011150402113015 3
011150402113016 3
011150402091014 3
011150402113004 3
011150402113013 3
011150402091036 3
011150402092042 3
011150402092041 3
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011150402092031 3
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011150402092018 3
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011150402081030 3
011150402081034 3
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011150402081031 3
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011150402081033 3
011150402081028 3
011150402081024 3
011150402091021 3
011150402091022 3
011150402092014 3
011150402092016 3
011150402092015 3
011150402092034 3
011150402081027 3
011150402081035 3
011150402092013 3
011150402092036 3
011150402092035 3
011150402092006 3
011150402081026 3
011150402092005 3
011150402092004 3
011150402092009 3
011150401052003 3
011150401091014 3
011150401091010 3
011150401091019 3
011150401091007 3
011150401052010 3
011150401052011 3
011150402092038 3
011150402092037 3
011150402092028 3
011150402092027 3
011150402092026 3
011150402092040 3
011150402092029 3
011150402091035 3
011150402092019 3
011150402092025 3
011150402092024 3
011150402092020 3
011150402092021 3
011150402092022 3
011150402092023 3
011150401052002 3
011150401091012 3
011150401052019 3
011150401091011 3
011150402081006 3
011150405071004 3
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011150405032060 3
011150405032013 3
011150405032015 3
011150405032014 3
011150405032017 3
011150405032008 3
011150405032009 3
011150405032012 3
011150405032002 3
011150405032001 3
011150405032056 3
011150405032011 3
011150405032010 3
011150401052035 3
011150401052018 3
011150401052008 3
011150401052004 3
011150401091015 3
011150401091013 3
011150405061019 3
011150405062076 3
011150401051000 3
011150401052053 3
011150401052046 3
011150401052045 3
011150401052026 3
011150401052025 3
011150401052023 3
011150401052022 3
011150401052042 3
011150401052043 3
011150401092010 3
011150401092003 3
011150401092025 3
011150401092007 3
011150401052044 3
011150401052021 3
011150401052030 3
011150401052024 3
011150401052020 3
011150401052027 3
011150401052029 3
011150401052033 3
011150401052034 3
011150401051025 3
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011150401051026 3
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011150401051002 3
011150401051001 3
011150401052055 3
011150401052050 3
011150401052051 3
011150401052052 3
011150401092024 3
011150401092014 3
011150401052049 3
011150401052048 3
011150401102000 3
011150401092019 3
011150401072032 3
011150401072031 3
011150401072030 3
011150401092018 3
011150401092017 3
011150401092015 3
011150401092016 3
011150401092012 3
011150401092011 3
011150401092026 3
011150401092013 3
011150401103048 3
011150401103049 3
011150401103044 3
011150401103045 3
011150401103014 3
011150401073031 3
011150401071001 3
011150401073043 3
011150401073044 3
011150401073038 3
011150401071000 3
011150401102001 3
011150401071003 3
011150401071004 3
011150401071006 3
011150401071005 3
011150401071012 3
011150401071002 3
011150401071007 3
011150401072034 3
011150401072033 3
011150401071008 3
011150401051003 3
011150401051009 3
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011150401053004 3
011150401053030 3
011150401053003 3
011150401053001 3
011150401092023 3
011150401102003 3
011150401092022 3
011150401053002 3
011150401053000 3
011150401092021 3
011150401092020 3
011150401051006 3
011150401051005 3
011150401101010 3
011150401101006 3
011150401101022 3
011150401101002 3
011150401101005 3
011150401101003 3
011150401101004 3
011150401101001 3
011150401051012 3
011150401053007 3
011150401051007 3
011150401101016 3
011150401101015 3
011150401101000 3
011150401102002 3
011150401041006 3
011150401041010 3
011150401041005 3
011150401041002 3
011150401041001 3
011150401041004 3
011150401041008 3
011150401041003 3
011150401071011 3
011150401071010 3
011150401071009 3
010890113021014 5
010890113021027 5
010890113021087 5
010890113021015 5
010890029222009 5
010890029222001 5
010890113021013 5
010890113021012 5
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010890113021011 5
010890113021033 5
010890113021009 5
010890113021029 5
010890113021028 5
010890113021030 5
011150401053027 3
011150401053028 3
011150401053010 3
011150401053029 3
011150401051041 3
011150401053011 3
011150401101020 3
011150401051038 3
011150401051010 3
011150401051040 3
011150401051039 3
011150401051011 3
011150401053009 3
011150401053008 3
011150401053006 3
011150401053005 3
011150401101011 3
011150401101008 3
011150401044008 3
011150401044017 3
011150401044010 3
011150401044007 3
011150401044012 3
011150401044005 3
011150401044006 3
011150401042014 3
011150401042013 3
011150401044004 3
011150401042009 3
011150401042012 3
011150401042008 3
011150401041015 3
011150401053018 3
011150401044025 3
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011150401044024 3
011150401044019 3
011150401044020 3
011150401101021 3
011150401053020 3
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011150401053017 3
011150401053015 3
011150401053012 3
011150401053032 3
011150401053021 3
011150401053014 3
011150401101014 3
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011150401042007 3
011150401043004 3
011150401043011 3
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011150401044023 3
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011150401044001 3
011150401044003 3
011150401044021 3
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011150401043006 3
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011150401043001 3
011150401044026 3
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011150401044015 3
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011150401044034 3
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011150401044035 3
011150401044009 3
011150401044013 3
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011150401044031 3
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011150401044036 3
010730110021003 6
010730110021001 6
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010730110021021 6
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010730110021029 6
010730110021019 6
010730110021015 6
010730110021017 6
010730110021026 6
010730110021009 6
010730111143084 6
010730111143083 6
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011150401044027 3
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011150401043007 3
011150401043005 3
010730110021011 6
011150401043008 3
011150401044028 3
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010730111154117 6
010730111143078 6
010730111154124 6
010730111143080 6
010730111143077 6
010730111143069 6
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010730111154024 6
010730111154019 6
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010730111143068 6
010730111154020 6
010730111143090 6
010730111143079 6
010730111143070 6
010730111143075 6
010730111143067 6
010730110021004 6
010730110021005 6
010730127012031 6
010730111143082 6
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010730111143065 6
010730111143037 6
010730111143064 6
010730111154022 6
010730111154016 6
010730111154015 6
010730111152021 6
010730111152025 6
010730111152014 6
010730111143038 6
010730111143033 6
010730111083020 6
010730111085001 6
010730111142010 6
010730111092024 6
010730111092021 6
010730127012001 6
010730127012016 6
010730127012017 6
010730127012006 6
010730127012015 6
010730127012005 6
010730127012004 6
010730111143092 6
010730111143088 6
010730127012002 6
010730127012003 6
010730111143093 6
010730111143091 6
010730111143089 6
010730111143081 6
010730127012000 6
010730111154034 6
010730111154114 6
010730111154125 6
010730111154119 6
010730111154116 6
010730111154115 6
010730111154118 6
010730111143086 6
010730111154123 6
010730111143087 6
010730111143085 6
010730111154063 6
010730111154060 6
010730111154065 6
010730111154062 6
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010730127012020 6
010730111154058 6
010730111154059 6
010730127012008 6
010730127012086 6
010730127012087 6
010730127012009 6
010730127012007 6
010730127012010 6
010730127012011 6
010730127012012 6
010730127012025 6
010730127012024 6
010730127012022 6
010730127012023 6
010730127012013 6
010730127012021 6
010730127012014 6
010730111154038 6
010730111154050 6
010730111154044 6
010730111151078 6
010730111154030 6
010730111154031 6
010730111154041 6
010730111154055 6
010730111154056 6
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010730111154087 6
010730111154075 6
010730111154077 6
010730111154074 6
010730111153040 6
010730111153042 6
010730111154070 6
010730111153033 6
010730111154071 6
010730111154068 6
010730111154069 6
010730111154045 6
010730111154049 6
010730111154073 6
010730111154043 6
010730111154072 6
010730111154048 6
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010730111154042 6
010730111151082 6
010730127013003 6
010730127013001 6
010730127013002 6
010730127013000 6
010730127012085 6
010730127012019 6
010730127012028 6
010730127012029 6
010730127012018 6
010730127013026 6
010730111154061 6
010730059082027 7
010730059082034 7
010730059082028 7
010730059071018 7
010730059082030 7
010730059082029 7
010730059082031 7
010730127011003 6
010730127011004 6
010730126023025 6
010730126023027 6
010730127011005 6
010730127013017 6
010730127011002 6
010730127013016 6
010730126023028 6
010730127013011 6
010730126023081 6
010730127011001 6
010730126023051 6
010730126023030 6
010730126024085 6
010730126024015 6
010730126024013 7
010730126024006 7
010730126024009 7
010730126024086 6
010730126023029 6
010730126023035 6
010730126023007 6
010730126024004 7
010730126023033 6
010730126023050 6
010730126023058 6
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010730126023047 6
010730053021010 7
010730053021009 7
010730053021012 7
010730053021011 7
010730053021002 7
010730053021013 7
010730059032029 7
010730059032020 7
010730059032019 7
010730053021025 7
010730053021026 7
010730053021027 7
010730053021001 7
010730059031020 7
010730053021000 7
010730059031019 7
010730126023044 6
010730126023037 6
010730126023026 6
010730126023038 7
010730059031025 7
010730059031018 7
010730059031017 7
010730059031002 7
010730059031016 7
010730126023039 6
010730001001019 7
010730059051024 7
010730001001001 7
010730123021025 7
010730124032031 6
010730124032032 6
010730124032034 6
010730124032033 6
010730124032015 6
010730124032023 6
010730124032024 6
010730124032017 6
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010730124032013 6
010730123021009 6
010730123021010 6
010730123021013 6
010730124032014 6
010730124032019 6
010730124032022 6
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010730124032021 6
010730124032020 6
010730121041226 6
010730121041232 6
010730121041183 6
010730121041181 6
010730121041187 6
010730121041186 6
010730124032016 6
010730121041178 6
010730121041185 6
010730123021012 6
010730125004058 7
010730125004056 7
010730125004061 7
010730125004062 7
010730125004063 7
010730125004057 7
010730125004060 7
010730125004059 7
010730125004064 6
010730125004001 6
010730125004003 7
010730125004055 7
010730125004067 6
010730124031079 6
010730124031075 6
010730124031047 6
010730124031045 6
010730124031016 6
010730124031015 6
010730124032025 6
010730124032026 6
010730124032036 6
010730124032027 6
010730124032028 6
010730124032029 6
010730125004002 6
010730125004012 6
010730124031076 6
010730125004013 6
010730124031080 6
010730125004000 6
010730124032030 6
010730124031010 6
010730125004020 7
010730125004022 7
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010730125004007 7
010730125004024 7
010730125004021 7
010730125004010 7
010730124031073 6
010730124031074 6
010730124031049 6
010730124031046 6
010730124031071 6
010730125004005 7
010730124031069 6
010730124031070 6
010730124031072 6
010730125004026 7
010730125004068 7
010730125004034 7
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010730125004076 7
010730125004051 7
010730125004027 7
010730125004052 7
010730125004035 7
010730125004044 7
010730124031100 7
010730125004036 7
010730125004040 7
010730125004041 7
010730125004015 7
010730125004037 7
010730125004038 7
010730125004047 7
010730125004043 7
010730053021024 7
010730053021023 7
010730053022020 7
010730053022018 7
010730053021014 7
010730053021021 7
010730053021019 7
010730053021015 7
010730053021016 7
010730053021018 7
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010730053021022 7
010730053021007 7
010730059032026 7
010730059032027 7
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010730053021005 7
010730053021006 7
010730053021008 7
010730053021020 7
010730053021004 7
010730053021028 7
010730053021003 7
010730059032028 7
010730059032021 7
010730126023048 6
010730126023040 6
010730126023043 6
010730126023046 6
010730126023084 6
010730126023041 6
010730126023036 6
010730126023042 6
010730053022025 7
010730053022014 7
010730053022016 7
010730053022013 7
010730126023045 6
010730053022017 7
010730053022012 7
010730053022004 7
010730053022006 7
010730053022015 7
010730053022010 7
010730053022011 7
010730053022005 7
010730053022009 7
010730053022008 7
010730053022024 7
010730053022001 7
010730053023008 7
010730053023003 7
010730053023007 7
010730053023000 7
010730001001018 7
010730053023005 7
010730001001020 7
010730053022007 7
010730053022019 7
010730053022021 7
010730053022023 7
010730053022022 7
010730053022000 7
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010730053022002 7
010730053022003 7
010730020003015 7
010730020003006 7
010730020003007 7
010730020003004 7
010730020003005 7
010730020003003 7
010730021001055 7
010730020001018 7
010730020001017 7
010730020001002 7
010730020001022 7
010730020001021 7
010730020003042 7
010730020003027 7
010730020001010 7
010730020001001 7
010730020003002 7
010730020003001 7
010730020003016 7
010730021001052 7
010730020003000 7
010730021001060 7
010730020003028 7
010730020003017 7
010730020003018 7
010730021001056 7
010730021001050 7
010730021001049 7
010730021001057 7
010730021001048 7
010730021001047 7
010730021003015 7
010730124031084 7
010730125004048 7
010730125004042 7
010730125004023 7
010730125004008 7
010730125004006 7
010730125004011 7
010730125004014 7
010730124031083 7
010730124031068 6
010730124031048 6
010730124031067 6
010730125004009 7
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010730125004039 7
010730124031088 7
010730124031066 6
010730124031065 6
010730124031009 6
010730124031044 6
010730124032008 6
010730121041191 6
010730124032012 6
010730124032009 6
010730124032011 6
010730124032007 6
010730124032006 6
010730121041182 6
010730124032005 6
010730121041175 6
010730121041190 6
010730121041184 6
010730124032035 6
010730116002056 6
010730116002041 6
010730116002037 6
010730116002039 6
010730116002038 6
010730116002023 6
010730124031087 7
010730124031085 7
010730124031099 7
010730124031086 7
010730124031060 6
010730124031089 7
010730124031061 6
010730124031050 6
010730124031043 6
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010730124031063 6
010730124031051 6
010730124031064 6
010730124031052 6
010730124031055 6
010730124031057 6
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010730124031041 6
010730124031005 6
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010730124031035 6
010730124031000 6
010730124031006 6
010730124031036 6
010730124031120 7
010730124023014 7
010730124031141 7
010730124023056 7
010730124023042 7
010730124023031 7
010730124023055 7
010730124023037 7
010730124023038 7
010730124023043 7
010730124023044 7
010730124023015 7
010730124023009 7
010730124033026 7
010730124033017 7
010730124033025 7
010730124033018 7
010730121032067 7
010730121032080 7
010730121032078 7
010730124033019 7
010730124033020 7
010730121031032 7
010730124023008 7
010730124023005 7
010730124023082 7
010730124023003 7
010730124033024 7
010730124033021 7
010730124033022 7
010730121031033 7
010730121031031 7
010730001002013 7
010730022002010 7
010730020003036 7
010730022002009 7
010730020003041 7
010730020003037 7
010730020003035 7
010730020003029 7
010730020003034 7
010730020003031 7
010730020003040 7
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010730020003038 7
010730020003039 7
010730020001019 7
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010730020003025 7
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010730020001020 7
010730020003026 7
010730020003021 7
010730020003019 7
010730020003024 7
010730020003020 7
010730020003010 7
010730020002012 7
010730020003009 7
010730020002013 7
010730020003008 7
010730020003012 7
010730020003011 7
010730020003013 7
010730020003014 7
010730022001010 7
010730022001011 7
010730020002046 7
010730020002045 7
010730020002048 7
010730020002047 7
010730020002038 7
010730020002039 7
010730020002040 7
010730020002034 7
010730020002025 7
010730020002026 7
010730020002027 7
010730019023005 7
010730020002023 7
010730020002022 7
010730020002037 7
010730020002021 7
010730020002028 7
010730020002050 7
010730020002044 7
010730020002051 7
010730022002013 7
010730020002041 7
010730020002042 7
010730020002043 7
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010730022002012 7
010730022002011 7
010730020003030 7
010730020003023 7
010730020002029 7
010730020002030 7
010730121031024 7
010730121031017 7
010730121031018 7
010730121035056 7
010730121035050 7
010730124023054 7
010730124023053 7
010730124023048 7
010730124023045 7
010730124023049 7
010730124022015 7
010730124022014 7
010730124023051 7
010730124022013 7
010730124022025 7
010730124023052 7
010730124022024 7
010730124022034 7
010730124022035 7
010730124022033 7
010730124022028 7
010730124022023 7
010730124022016 7
010730124022026 7
010730124022017 7
010730124023046 7
010730124023041 7
010730124023047 7
010730124023033 7
010730124023034 7
010730124023030 7
010730124023035 7
010730114021006 6
010730114021003 6
010730124022032 7
010730124022031 7
010730124022030 7
010730124022040 7
010730124022039 7
010730124022038 7
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010730124021004 7
010730124022027 7
010730124021005 7
010730124021001 7
010730124021008 7
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010730124022021 7
010730124022020 7
010730124021000 7
010730124011015 7
010730124011013 7
010730124021009 7
010730124021002 7
010730124011031 7
010730124011030 7
010730124011012 7
010730124011011 7
010730124021003 7
010730124021010 7
010730124021019 7
010730124021012 7
010730124021020 7
010730124021022 7
010730124021021 7
010730124021011 7
010730124021007 7
010730124021023 7
010730124012021 7
010730124012014 7
010730124012015 7
010730124011027 7
010730124011028 7
010730124011029 7
010730124011014 7
010730124011022 7
010730124011019 7
010730124011034 7
010730124011033 7
010730124011026 7
010730124011023 7
010730124011021 7
010730124011020 7
010730124011018 7
010730124011016 7
010730124022019 7
010730124011009 7
010730124011010 7
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010730124011008 7
010730120011027 7
010730120011028 7
010730120011010 7
010730120011006 7
010730120011013 7
010730120011009 7
010730120011004 7
010730001003025 7
010730001003029 7
010730001003033 7
010730001003026 7
010730001003027 7
010730001003028 7
010730001003013 7
010730001003006 7
010730001003005 7
010730001003012 7
010730001003007 7
010730001004021 7
010730001003011 7
010730019023004 7
010730019023000 7
010730001003010 7
010730001003032 7
010730001003008 7
010730001003009 7
010730001004020 7
010730001004022 7
010730001004023 7
010730022001019 7
010730022001018 7
010730022001006 7
010730022001007 7
010730022001008 7
010730022001005 7
010730020002035 7
010730020002049 7
010730020002036 7
010730022001009 7
010730120011007 7
010730120011012 7
010730124011000 7
010730124011001 7
010730124011006 7
010730124011007 7
010730124011005 7
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010730120011026 7
010730120011025 7
010730120011017 7
010730120011033 7
010730124011003 7
010730124011002 7
010730120011029 7
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010730120011011 7
010730120011005 7
010730120011014 7
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010730120011015 7
010730124012016 7
010730124012020 7
010730124012017 7
010730124012018 7
010730124012019 7
010730124011025 7
010730124012008 7
010730124012007 7
010730124011017 7
010730124011024 7
010730124011004 7
010730124012002 7
010730124012001 7
010730124012006 7
010730124012010 7
010730124012011 7
010730124012005 7
010730124012000 7
010730124012003 7
010730124012024 7
010730124012009 7
010730124012012 7
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010730124012004 7
010730120014002 7
010730120011032 7
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010730120014003 7
010730120014001 7
010730120014008 7
010730120011002 7
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010730120014006 7
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010730120011021 7
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010730120011000 7
010730120014004 7
010730120013045 7
010730120013037 7
010730120014013 7
010730120012030 7
010730120012028 7
010730120012031 7
010730120012053 7
010730120012050 7
010730120012035 7
010730120012026 7
010730120012025 7
010730120012034 7
010730120012027 7
010730011003001 7
010730011003000 7
010730120014000 7
010730008002046 7
010730008002044 7
010730008002049 7
010730008002053 7
010730008002052 7
010730008002047 7
010730008002004 7
010730120014011 7
010730120014012 7
010730008002042 7
010730008002051 7
010730008002040 7
010730008002050 7
010730008002058 7
010730008002060 7
010730008002057 7
010730008002061 7
010730008002062 7
010730008002054 7
010730008002055 7
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010730008002003 7
010730008002016 7
010730008002006 7
010730008002056 7
010730008002008 7
010730008002017 7
010730008002002 7
010730120043009 7
010730120043008 7
010730120013047 7
010730120013049 7
010730120012036 7
010730120012058 7
010730120012038 7
010730120013048 7
010730120013051 7
010730120013046 7
010730120041023 7
010730120043010 7
010730120041024 7
010730120041017 7
010730120041016 7
010730120012057 7
010730120013050 7
010730120041015 7
010730120012029 7
010730120012037 7
010730022001030 7
010730022001029 7
010730022001031 7
010730022001026 7
010730022001025 7
010730022001024 7
010730022001000 7
010730022001032 7
010730022001023 7
010730022001022 7
010730022001020 7
010730022001021 7
010730022001001 7
010730022001002 7
010730022001003 7
010730022001004 7
010730019023022 7
010730019023023 7
010730019023008 7
010730019023007 7
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010730019023010 7
010730019023009 7
010730019023002 7
010730019023001 7
010730020002032 7
010730020002031 7
010730020002033 7
010730019023003 7
010730019023006 7
010730020002024 7
010730001003031 7
010730001003030 7
010730059091021 7
010730059091022 7
010730119013066 7
010730119013009 7
010730059091019 7
010730119013065 7
010730119013004 7
010730019022025 7
010730019022027 7
010730019022026 7
010730019022028 7
010730019023017 7
010730019023028 7
010730019023027 7
010730022001042 7
010730022001041 7
010730022001040 7
010730022001027 7
010730022001028 7
010730019023026 7
010730019023029 7
010730019023025 7
010730019023024 7
010730019023013 7
010730019023014 7
010730019023018 7
010730019023019 7
010730019023020 7
010730019023011 7
010730019023021 7
010730019023012 7
010730019021012 7
010730109001022 7
010730109001021 7
010730109001009 7
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010730109001030 7
010730109001007 7
010730109001008 7
010730109001031 7
010730109001010 7
010730109001029 7
010730109001011 7
010730019021015 7
010730019021008 7
010730019021010 7
010730019021016 7
010730019021017 7
010730019021007 7
010730019021006 7
010730019021011 7
010730019021005 7
010730019021009 7
010730019021001 7
010730019021003 7
010730019022001 7
010730019022004 7
010730019022000 7
010730019022003 7
010730019022007 7
010730019021004 7
010730019021002 7
010730019021000 7
010730019023015 7
010730019023016 7
010730004001005 7
010730004001009 7
010730004001004 7
010730004001001 7
010730004001010 7
010730109003029 7
010730004006003 7
010730004006004 7
010730109003026 7
010730004006001 7
010730004006002 7
010730109004029 7
010730109004030 7
010730109004032 7
010730109004033 7
010730109004018 7
010730109004015 7
010730109004017 7
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010730109004016 7
010730109004006 7
010730109004005 7
010730109004004 7
010730109004002 7
010730109004000 7
010730109004001 7
010730109005034 7
010730109003018 7
010730109003028 7
010730109003016 7
010730109004031 7
010730109003017 7
010730109003027 7
010730055002023 7
010730055002055 7
010730055002028 7
010730055002053 7
010730055002042 7
010730055002026 7
010730055002025 7
010730055002029 7
010730119011083 7
010730109002022 7
010730055002066 7
010730004005038 7
010730004005036 7
010730004005037 7
010730004005032 7
010730004005030 7
010730004005029 7
010730055002065 7
010730055002067 7
010730004005025 7
010730004005026 7
010730004005020 7
010730004005019 7
010730004005014 7
010730004005013 7
010730004005009 7
010730004005005 7
010730004005043 7
010730004005035 7
010730004005033 7
010730004005028 7
010730004005034 7
010730117081045 6
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010730117081010 6
010730117081011 6
010730117043025 6
010730117043022 6
010730117081009 6
010730117081008 6
010730117081007 6
010730117043024 6
010730117043009 6
010730117043032 6
010730117043033 6
010730117043010 6
010730117043031 6
010730117043015 6
010730117043008 6
010730008002011 7
010730008002005 7
010730008002010 7
010730008002012 7
010730008003010 7
010730008003008 7
010730008003016 7
010730008003020 7
010730008003021 7
010730008003007 7
010730008003014 7
010730008002019 7
010730008002000 7
010730120043014 7
010730120043011 7
010730120043015 7
010730120043012 7
010730120043021 7
010730120043013 7
010730120043016 7
010730120043019 7
010730120043020 7
010730008002001 7
010730120043041 7
010730120043035 7
010730120043025 7
010730120043034 7
010730120043022 7
010730120043037 7
010730120043024 7
010730008003024 7
010730008003023 7
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010730008003017 7
010730008003032 7
010730008003009 7
010730008003025 7
010730008003004 7
010730008003031 7
010730008003015 7
010730008003027 7
010730008003028 7
010730008003026 7
010730008003006 7
010730008003003 7
010730008001040 7
010730008001041 7
010730008001035 7
010730008001051 7
010730008001036 7
010730008001017 7
010730008001016 7
010730008001034 7
010730008001019 7
010730008001018 7
010730008001049 7
010730008001050 7
010730008001032 7
010730008001033 7
010730008001031 7
010730008001024 7
010730008001009 7
010730008001014 7
010730008001013 7
010730008001015 7
010730008001010 7
010730008001012 7
010730008001011 7
010730055001067 7
010730008001007 7
010730008001005 7
010730008001006 7
010730008001003 7
010730120043033 7
010730120043032 7
010730008003002 7
010730120043036 7
010730120043023 7
010730055001066 7
010730055001068 7
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010730008003001 7
010730007003002 7
010730007003013 7
010730055002060 7
010730055002057 7
010730007001003 7
010730007001011 7
010730007001002 7
010730007001000 7
010730007001005 7
010730007001012 7
010730055002058 7
010730055002031 7
010730055002054 7
010730055002046 7
010730055002061 7
010730055002059 7
010730055002043 7
010730055002049 7
010730055002045 7
010730055002047 7
010730055002048 7
010730055002051 7
010730055002052 7
010730055002044 7
010730055002041 7
010730055002050 7
010730055002022 7
010730055002027 7
010730055002021 7
010730055002064 7
010730055002003 7
010730055002001 7
010730120032038 7
010730120032042 7
010730120032067 7
010730120032068 7
010730120032069 7
010730120032070 7
010730120032046 7
010730120032044 7
010730120032047 7
010730120032071 7
010730120032072 7
010730120032073 7
010730120032030 7
010730120032043 7
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010730120032027 7
010730120032025 7
010730120032026 7
010730117071038 7
010730117071026 7
010730117071025 7
010730120032024 7
010730120032019 7
010730117071028 7
010730120032018 7
010730007003017 7
010730007003021 7
010730007003012 7
010730007003016 7
010730007003015 7
010730007003022 7
010730007003023 7
010730007003014 7
010730055001069 7
010730055001033 7
010730055001019 7
010730055001020 7
010730055001047 7
010730055001048 7
010730055001041 7
010730055001042 7
010730055001036 7
010730055001049 7
010730055001050 7
010730055001051 7
010730055001070 7
010730055001043 7
010730055001044 7
010730055001039 7
010730055001052 7
010730055001021 7
010730055001035 7
010730055001034 7
010730055001045 7
010730055001022 7
010730007002001 7
010730007002006 7
010730007002005 7
010730007002007 7
010730007002016 7
010730055002063 7
010730007002000 7
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010730007003031 7
010730007003006 7
010730007003007 7
010730008001039 7
010730008001008 7
010730008001023 7
010730008001030 7
010730008001022 7
010730008001045 7
010730008001027 7
010730008001044 7
010730008001043 7
010730008001026 7
010730008001021 7
010730008001028 7
010730008001029 7
010730008001020 7
010730008001004 7
010730008001001 7
010730008001000 7
010730008001002 7
010730055001060 7
010730055001059 7
010730055001058 7
010730055001057 7
010730008001025 7
010730007002002 7
010730055001063 7
010730055001055 7
010730055001054 7
010730055001056 7
010730055001032 7
010730055001040 7
010730055001030 7
010730055001046 7
010730055001029 7
010730055001028 7
010730055001065 7
010730055001064 7
010730055001031 7
010730008003000 7
010730120043026 7
010730120043001 7
010730120043000 7
010730120043006 7
010730120043003 7
010730120043005 7
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010730120043007 7
010730120043004 7
010730120041049 7
010730120043002 7
010730120041027 7
010730120043031 7
010730120043028 7
010730120043027 7
010730120041031 7
010730120043029 7
010730120041033 7
010730120041048 7
010730120043030 7
010730120041030 7
010730120041032 7
010730008001047 7
010730008001048 7
010730008001037 7
010730008001046 7
010730008001038 7
010970010012014 1
010970010012005 1
010970009011037 1
010970009011029 1
010970009011038 1
010970009011028 1
010970009011030 1
010970009011026 1
010970009011027 1
010970009011025 1
010970009011021 1
010970009011020 1
010970025021002 1
010970009011012 1
010970009011011 1
010970009011031 1
010970009011032 1
010970009011024 1
010970009011018 1
010970009012006 1
010970009011033 1
010970009011034 1
010970009012005 1
010970009011019 1
010970009011009 1
010970009011008 1
010970009011017 1
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010970009011007 1
010970025021001 1
010970009011001 1
010970009011003 1
010970009011010 1
010970009011002 1
010970007013006 1
010970009011000 1
010970006001012 1
010970009011004 1
010970009011006 1
010970009011005 1
010970005001014 1
010970005001012 1
010970005001011 1
010970006001013 1
010970005001013 1
010970009012007 1
010970009012004 1
010970009012012 1
010970009012009 1
010970009012003 1
010970009012008 1
010970009012002 1
010970009011014 1
010970009011015 1
010970009011022 1
010970009011016 1
010970009011023 1
010970009012011 1
010970009012001 1
010970009012010 1
010970010011013 1
010970009012000 1
010970010011004 1
010970009011040 1
010970009011039 1
010970002002002 1
010970002002005 1
010970004021023 1
010970004021018 1
010970004021024 1
010970002002001 1
010970002002011 1
010970004021025 1
010970004021019 1
010970004021014 1
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010970004021013 1
010970004021010 1
010970004021009 1
010970004021020 1
010970004021021 1
010970004021008 1
010970004021007 1
010970006001009 1
010970006001008 1
010970006001010 1
010970006001005 1
010970006001003 1
010970006001002 1
010970006001006 1
010970006001007 1
010970006001011 1
010970006002002 1
010970006002008 1
010970006002014 1
010970006002004 1
010970006002015 1
010970006002007 1
010970009022025 1
010970009031015 1
010970009031017 1
010970009031024 1
010970009031014 1
010970009031013 1
010970014001015 1
010970014001004 1
010970014001016 1
010970014001024 1
010970014001017 1
010970009031022 1
010970009031023 1
010970009031021 1
010970009031033 1
010970009031032 1
010970009031012 1
010970009031005 1
010970009022024 1
010970009022022 1
010970009022023 1
010970009022017 1
010970009022016 1
010970009022015 1
010970009022012 1
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010970009022008 1
010970009022004 1
010970009022003 1
010970009022009 1
010970009022002 1
010970009022001 1
010970009022014 1
010030107083039 1
010030107083010 1
010030107083023 1
010030107083019 1
010030107083040 1
010030107083022 1
010030107083016 1
010030107083021 1
010030107083041 1
010030107083003 1
010030107084040 1
010030107083011 1
010030107083002 1
010030107084043 1
010030107084020 1
010030107084041 1
010030107084042 1
010030107084019 1
010970014001029 1
010970014001013 1
010970014001007 1
010970014001006 1
010970014001012 1
010970014001009 1
010970014001014 1
010970014001011 1
010970014001010 1
010970014001005 1
010970009031035 1
010970009031018 1
010970009031034 1
010970009031016 1
010970006002006 1
010970006002003 1
010970006002005 1
010970006002001 1
010970006002009 1
010970006002000 1
010970005001006 1
010970005001007 1
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010970005001021 1
010970005001008 1
010970005001022 1
010970005001023 1
010970005001024 1
010970005001004 1
010970005001032 1
010970005001026 1
010970005001025 1
010970005001005 1
010970005001002 1
010970012001202 1
010970012001192 1
010970005001000 1
010970012001077 1
010970012001084 1
010970012001198 1
010970077001052 1
010970012001197 1
010970012001195 1
010970012001191 1
010970012001196 1
010970077001028 1
010970077001032 1
010970077001033 1
010970012001190 1
010970077001003 1
010970077001008 1
010970077001001 1
010970012001193 1
010970012001188 1
010970012001189 1
010970077001004 1
010970012001187 1
010970012001074 1
010970012001073 1
010970077001009 1
010970077002009 1
010970076001020 1
010970077001034 1
010970077001002 1
010970077001006 1
010970077001000 1
010970077001007 1
010970075001043 1
010970075001035 1
010970075001030 1
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010970075001031 1
010970075001032 1
010970075001033 1
010970076001016 1
010970076001018 1
010970076001011 1
010970077001005 1
010970076001021 1
010970076001019 1
010970012001039 1
010970012001025 1
010970012001030 1
010970012001024 1
010970012001004 1
010970012001200 1
010970038001156 1
010970012001027 1
010970038001104 1
010970012001006 1
010970012001002 1
010970075001026 1
010970075001029 1
010970075001025 1
010970075001010 1
010970076001005 1
010970076002042 1
010970075001009 1
010970075001006 1
010970075001007 1
010970075001005 1
010970075001008 1
010970075001004 1
010970075001003 1
010970075002028 1
010970076002041 1
010970076002034 1
010970076002033 1
010970076002035 1
010970076002024 1
010970076002026 1
010970076002038 1
010970076002028 1
010970076002025 1
010970076002014 1
010970075002025 1
010970075002010 1
010970075002027 1
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010970075002026 1
010970075002024 1
010970075002013 1
010970075002014 1
010970075002007 1
010970075002005 1
010970048002016 1
010970075002011 1
010970075002000 1
010970048002015 1
010970048002012 1
010970048002011 1
010970076002013 1
010970076002009 1
010970076002010 1
010970075002012 1
010970076002007 1
010970076002006 1
010970076002003 1
010970076002036 1
010970076002037 1
010970076002032 1
010970076002039 1
010970076002031 1
010970076002027 1
010970076002023 1
010970076002021 1
010970076002022 1
010970076002030 1
010970076002020 1
010970076002029 1
010970076002015 1
010970076001004 1
010970076002018 1
010970076002040 1
010970076002019 1
010970038001172 1
010970076002017 1
010970038001128 1
010970038001117 1
010970076002012 1
010970076002011 1
010970076002008 1
010970076002005 1
010970076002000 1
010970076002016 1
010970048002014 1
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010970048002013 1
010970048002002 1
010970048002000 1
010970048002004 1
010970048002003 1
010970052002021 1
010970052001039 1
010970052001038 1
010970024001009 1
010970024001008 1
010970025012032 1
010970025011027 1
010970025011026 1
010970025011024 1
010970025011025 1
010970024001003 1
010970025011023 1
010970025011018 1
010970024001017 1
010970024001011 1
010970024001016 1
010970024001012 1
010970024001004 1
010970024001032 1
010970024001007 1
010970024001006 1
010970024001005 1
010970024001015 1
010970024001014 1
010970024001013 1
010970014001027 1
010970014001026 1
010970014001008 1
010970024001002 1
010970024001001 1
010970025011022 1
010970025011017 1
010970025011016 1
010970024001000 1
010970009031020 1
010970009031019 1
010970025011020 1
010970025011021 1
010970025011019 1
010970025011008 1
010970025011006 1
010970025011005 1
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010970025022009 1
010970025011004 1
010970025011007 1
010970025011003 1
010970025011012 1
010970025011015 1
010970025011014 1
010970025011013 1
010970025011009 1
010970025011010 1
010970009022020 1
010970009022021 1
010970025011011 1
010970009022019 1
010970009022018 1
010970025011002 1
010970025011001 1
010970025022008 1
010970025011000 1
010970009022006 1
010970009022007 1
010970009022005 1
010970025023022 1
010970025023023 1
010970025023012 1
010970052001040 1
010970052001037 1
010970052001027 1
010970076002002 1
010970076002004 1
010970052002026 1
010970052001024 1
010970052001041 1
010970052001023 1
010970052001022 1
010970052002022 1
010970052002025 1
010970052002024 1
010970052002010 1
010970052002007 1
010970052002008 1
010970052001032 1
010970052001044 1
010970052002018 1
010970052002014 1
010970052001026 1
010970052001025 1
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010970052002009 1
010970052001031 1
010970052001029 1
010970052001030 1
010970052001009 1
010970052001028 1
010970052001015 1
010970052001011 1
010970052001010 1
010970052001013 1
010970008012026 1
010970008012021 1
010970008012020 1
010970008021010 1
010970025022005 1
010970025022006 1
010970025022004 1
010970025022003 1
010970025022002 1
010970025021009 1
010970025021015 1
010970025021005 1
010970025022007 1
010970025022001 1
010970009011035 1
010970009011036 1
010970025022000 1
010970025021016 1
010970025021006 1
010970025021004 1
010970025021003 1
010970008011004 1
010970008011005 1
010970008011006 1
010970008021011 1
010970008021007 1
010970008011002 1
010970008021005 1
010970025021000 1
010970008011000 1
010970008011001 1
010970008011003 1
010970038001138 1
010970038001143 1
010970038001131 1
010970038001130 1
010970038001132 1
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010970038001145 1
010970038001139 1
010970038001146 1
010970038001140 1
010970038001135 1
010970038001116 1
010970038001115 1
010970038001114 1
010970038001129 1
010970038001106 1
010970038001154 1
010970038001155 1
010970038001105 1
010970038001125 1
010970038001108 1
010970038001109 1
010970038001126 1
010970038001127 1
010970038001110 1
010970038001112 1
010970038001107 1
010970038001096 1
010970038001097 1
010970038001113 1
010970038001085 1
010970052001006 1
010970053001030 1
010970053001031 1
010970052001007 1
010970052001008 1
010970052001004 1
010970052001003 1
010970053001032 1
010970053001033 1
010970053001004 1
010970053001042 1
010970052001002 1
010970052001001 1
010970052001000 1
010970053001043 1
010970053001044 1
010970053001001 1
010970053001038 1
010970053001049 1
010970054003038 1
010970053001046 1
010970054003040 1
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010970054003039 1
010970038001124 1
010970038001123 1
010970038001166 1
010970038001098 1
010970038001099 1
010970053001045 1
010970054003041 1
010970038001101 1
010970038001102 1
010970053001000 1
010970054003020 1
010970053001050 1
010970054003034 1
010970054003027 1
010970054003026 1
010970054003029 1
010970054003028 1
010970054003031 1
010970054003032 1
010970054003030 1
010970054001022 1
010970054003035 1
010970038001100 1
010970054003036 1
010970054001020 1
010970054001014 1
010970038001111 1
010970038001066 1
010970038001103 1
010970012001000 1
010970038001084 1
010970038001083 1
010030107073080 1
010970038001086 1
010970038001087 1
010970038001082 1
010030107073008 1
010970038001088 1
010970038001081 1
010970038001047 1
010970038001045 1
010030107073016 1
010030107073020 1
010030107073024 1
010030107073028 1
010030107073023 1
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010030107073019 1
010030107073011 1
010030107073018 1
010030107073015 1
010030107073017 1
010030107073022 1
010030107073021 1
010030107073013 1
010970054001019 1
010970054001015 1
010970054001007 1
010970054001017 1
010970054001018 1
010970054001013 1
010970054001016 1
010970054001011 1
010970054001012 1
010970055002013 1
010970054001008 1
010970054001002 1
010970054001009 1
010970054001001 1
010970055002017 1
010970054001021 1
010970054001010 1
010970038001091 1
010970054001000 1
010970038001093 1
010970038001174 1
010970055001005 1
010970055001007 1
010970055002018 1
010970055002019 1
010970055002020 1
010970055002024 1
010970055002023 1
010970055002025 1
010970055002021 1
010970055002022 1
010970055002000 1
010970056022043 1
010970056022029 1
010970056022026 1
010970056022027 1
010970056023030 1
010970056023023 1
010970056023021 1
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010970056023018 1
010970056023024 1
010970056023014 1
010970056023028 1
010970057012065 1
010970056023026 1
010970056021029 1
010970057012067 1
010970056023042 1
010970056023025 1
010970056023043 1
010970056023017 1
010970056021028 1
010970056021024 1
010970056023036 1
010970056023037 1
010970056023016 1
010970056023015 1
010970056023004 1
010970056022035 1
010970056023005 1
010970056023011 1
010970056023006 1
010970056021050 1
010970057012038 1
010970056011017 1
010970056011008 1
010970056011030 1
010970056011031 1
010970056011010 1
010970056011029 1
010970056011027 1
010970056011028 1
010970038001055 1
010970056011013 1
010970056011023 1
010970056011022 1
010970056011016 1
010970056011015 1
010970056011014 1
010970056011018 1
010970056011012 1
010970056011021 1
010970056012020 1
010970056012014 1
010970038001059 1
010970056012005 1
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010970038001054 1
010970057012021 1
010970057012026 1
010970057012028 1
010970057012014 1
010970057012015 1
010970057012025 1
010970057012019 1
010970057012071 1
010970057012018 1
010970007013004 1
010970007013005 1
010970007013003 1
010970007013002 1
010970007013000 1
010970007012009 1
010970007013001 1
010970006001004 1
010970007012002 1
010970007011012 1
010970007012003 1
010970007012000 1
010970007011005 1
010970007011004 1
010970007022015 1
010970007011006 1
010970007011000 1
010970007011001 1
010970007012008 1
010970006001001 1
010970006001000 1
010970007011013 1
010970006002012 1
010970006002013 1
010970007021015 1
010970007021007 1
010970007021014 1
010970007021016 1
010970007021017 1
010970007021009 1
010970007021006 1
010970007021005 1
010970057021020 1
010970057021017 1
010970057012010 1
010970057012009 1
010970057012007 1
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010970057012008 1
010970057012030 1
010970057012017 1
010970057012016 1
010970056021006 1
010970057012033 1
010970057012032 1
010970056021001 1
010970057012070 1
010970057012005 1
010970057012031 1
010970057012012 1
010970057012011 1
010970057012001 1
010970057012006 1
010970057012013 1
010970057012004 1
010970057012003 1
010970057012002 1
010970057021024 1
010970057021015 1
010970057021016 1
010970057021003 1
010970057021079 1
010970057021078 1
010970057012000 1
010970057021005 1
010970057022058 1
010970057022059 1
010970057022063 1
010970057022005 1
010970057022060 1
010970056011003 1
010970056011002 1
010970056021005 1
010970056021002 1
010970056012008 1
010970056021004 1
010970056011001 1
010970056011000 1
010970056012007 1
010970056012009 1
010970056012003 1
010970056012004 1
010970056021003 1
010970056021000 1
010970056012010 1
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010970057012034 1
010970057012073 1
010970057012036 1
010970056012000 1
010970007021025 1
010970077001054 1
010970007021024 1
010970007021020 1
010970007021012 1
010970077001023 1
010970077001049 1
010970077001036 1
010970077001017 1
010970077001016 1
010970077001048 1
010970077001053 1
010970077001035 1
010970077001047 1
010970077001043 1
010970077001042 1
010970077001024 1
010970077001015 1
010970077001025 1
010970006002011 1
010970006002010 1
010970077001046 1
010970077001045 1
010970077001038 1
010970077001051 1
010970077001044 1
010970077001041 1
010970077001040 1
010970077001026 1
010970077001037 1
010970077001039 1
010970077001029 1
010970077001027 1
010970077001030 1
010970077001031 1
010970077002023 1
010970077002022 1
010970077001014 1
010970077001013 1
010970077002019 1
010970077002018 1
010970077002026 1
010970077002021 1
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010970077002015 1
010970077002003 1
010970077002016 1
010970077002006 1
010970077002020 1
010970077002012 1
010970077002014 1
010970077002000 1
010970077001012 1
010970077001011 1
010970077002027 1
010970077002011 1
010970077001010 1
010970077002024 1
010970077002010 1
010970077002025 1
010970077002013 1
010970077002007 1
010970077002002 1
010970075001041 1
010970075001040 1
010970075001036 1
010970077002008 1
010970075001042 1
010970075001044 1
010970034022009 1
010970034022002 1
010970034022004 1
010970034022011 1
010970034022010 1
010970061031039 1
010970061031044 1
010970061031046 1
010970061031045 1
010970061031034 1
010970061031035 1
010970061031038 1
010970061031037 1
010970061031028 1
010970061031026 1
010970061031014 1
010970061031013 1
010970061031012 1
010970061031025 1
010970061031029 1
010970061031027 1
010970061031030 1
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010970061031031 1
010970061031016 1
010970061031015 1
010970061031011 1
010970061031017 1
010970061031007 1
010970014002007 1
010970024001030 1
010970024002007 1
010970024002016 1
010970024001028 1
010970024001019 1
010970024001027 1
010970024001020 1
010970014002006 1
010970014002005 1
010970014002023 1
010970014002004 1
010970024001026 1
010970024001025 1
010970024001021 1
010970024001022 1
010970024001024 1
010970024001023 1
010970014001030 1
010970014001028 1
010970064071024 1
010970064071026 1
010970064071027 1
010970064071022 1
010970064072037 1
010970064071025 1
010970064072044 1
010970064072045 1
010970064071004 1
010970064071003 1
010970023012003 1
010970023012004 1
010970024003021 1
010970024002023 1
010970024003003 1
010970024003004 1
010970024002021 1
010970024002020 1
010970023012000 1
010970024002022 1
010970024002019 1
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010970024002018 1
010970024002010 1
010970024003005 1
010970024002011 1
010970024002009 1
010970024002008 1
010970023022009 1
010970023022003 1
010970023022005 1
010970023022002 1
010970023022004 1
010970015011028 1
010970015011024 1
010970023022000 1
010970023022001 1
010970023022006 1
010970015011025 1
010970015011008 1
010970024002017 1
010970024001031 1
010970024001029 1
010970023021012 1
010970023021013 1
010970074001019 1
010970074001053 1
010970023021009 1
010970023021014 1
010970023021005 1
010970023021004 1
010970023021006 1
010970023021003 1
010970023021001 1
010970023022008 1
010970023021000 1
010970023022007 1
010970023021008 1
010970023021007 1
010970015012013 1
010970015012011 1
010970022003000 1
010970022001001 1
010970022001000 1
010970023012017 1
010970023012010 1
010970023012008 1
010970023012009 1
010970023012011 1
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010970023012012 1
010970023012006 1
010970023012007 1
010970023012001 1
010970023012005 1
010970023012002 1
010970023011009 1
010970074004003 1
010970023011013 1
010970023011007 1
010970023021016 1
010970023011006 1
010970023011003 1
010970023011004 1
010970023011008 1
010970023011002 1
010970023011000 1
010970023012019 1
010970023012024 1
010970023012018 1
010970023011001 1
010970023012022 1
010970023012021 1
010970023012027 1
010970023012020 1
010970023012026 1
010970023012023 1
010970023012028 1
010970023012016 1
010970023012015 1
010970023012025 1
010970023021002 1
010970023012014 1
010970023012013 1
010970074004000 1
010970023021015 1
010970023021011 1
010970023021010 1
010970019023007 1
010970019023008 1
010970019021016 1
010970019021011 1
010970020002038 1
010970074003014 1
010970019021012 1
010970019021010 1
010970019021006 1
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010970074003015 1
010970019021008 1
010970019021009 1
010970019021005 1
010970019021003 1
010970074003002 1
010970074003004 1
010970074003006 1
010970074003011 1
010970074003003 1
010970074002014 1
010970074003010 1
010970074004021 1
010970074004019 1
010970074003007 1
010970074003001 1
010970074004013 1
010970074003000 1
010970074004016 1
010030102002017 1
010030102002016 1
010030102002028 1
010030102002006 1
010030102002007 1
010030102002008 1
010030104001021 1
010030104001026 1
010030104001017 1
010030104001019 1
010970057021004 1
010970057021006 1
010970057022004 1
010970057021000 1
010970057022003 1
010970058001159 1
010970058001146 1
010970058001145 1
010970058001147 1
010970058001144 1
010970058001156 1
010970058001137 1
010970058001150 1
010970058001136 1
010970058001123 1
010970058001112 1
010970058001101 1
010970058001102 1
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010970058001107 1
010970058001108 1
010970058001109 1
010970058001100 1
010970058001092 1
010970058001093 1
010970058001097 1
010970058001098 1
010970058001094 1
010970058001096 1
010970058001095 1
010970058001162 1
010970058002145 1
010970058001026 1
010970058002151 1
010970058001115 1
010970019021014 1
010970020002034 1
010970030001013 1
010970020002033 1
010970030001026 1
010970030001014 1
010970020002013 1
010970030001006 1
010970020002035 1
010970020002032 1
010970020002036 1
010970020002030 1
010970020002031 1
010970020002018 1
010970030001012 1
010970030001010 1
010970020002014 1
010970020002010 1
010970030001004 1
010970030001008 1
010970030001003 1
010970030001002 1
010970030001001 1
010970019022012 1
010970019012003 1
010970019022007 1
010970019022011 1
010970019022008 1
010970019022009 1
010970019023010 1
010970019022010 1
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010970019023009 1
010970019012010 1
010970019012005 1
010970019012013 1
010970019012011 1
010970019012012 1
010970018001005 1
010970019012006 1
010970019011006 1
010970019012001 1
010970019011005 1
010970019021015 1
010970019012002 1
010970019011008 1
010970019011004 1
010970019012000 1
010970019011007 1
010970019021017 1
010970019021013 1
010970019011003 1
010970075001016 1
010970075001027 1
010970075001034 1
010970075001024 1
010970075001011 1
010970075001002 1
010970075001001 1
010970075001000 1
010970048001046 1
010970048001045 1
010970048001044 1
010970048001042 1
010970048001043 1
010970075002020 1
010970075001023 1
010970075002019 1
010970075002016 1
010970048001009 1
010970048001005 1
010970048001053 1
010970048001018 1
010970048001017 1
010970048001003 1
010970075002015 1
010970048001015 1
010970048001051 1
010970048001050 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 159 of 401


010970048001052 1
010970048001002 1
010970048001016 1
010970075002023 1
010970075002022 1
010970075002018 1
010970075002021 1
010970075002017 1
010970075002009 1
010970075002001 1
010970075002002 1
010970075002003 1
010970075002004 1
010970075002006 1
010970075002008 1
010970050001016 1
010970050001013 1
010970050001019 1
010970051002034 1
010970048001012 1
010970048001004 1
010970048002006 1
010970051002035 1
010970051002015 1
010970051002017 1
010970051002019 1
010970051002013 1
010970051002012 1
010970051002014 1
010970051002020 1
010970051002016 1
010970051002018 1
010970051002036 1
010970051002037 1
010970051002038 1
010970051002039 1
010970051002040 1
010970058001039 1
010970058001041 1
010970058001044 1
010970058001045 1
010970057023004 1
010970057023007 1
010970057023002 1
010970057023009 1
010030101002024 1
010970057023006 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 160 of 401


010970057023008 1
010970057023001 1
010970057023000 1
010970058002097 1
010970058002100 1
010970058002101 1
010970058002105 1
010970058002102 1
010970058002103 1
010970058002084 1
010970058002071 1
010970058002075 1
010970058002070 1
010970058002083 1
010970058002069 1
010970058002065 1
010970058002061 1
010970058002058 1
010970058002049 1
010970058002047 1
010970058002076 1
010970058002060 1
010970058002077 1
010970058002050 1
010970058002078 1
010970058002051 1
010970058002146 1
010970058002144 1
010970058002116 1
010970058002133 1
010970058001025 1
010970058001022 1
010970058001023 1
010970058002118 1
010970058002147 1
010970058002112 1
010970051001040 1
010970051001039 1
010970051001034 1
010970051001055 1
010970051001052 1
010970051001048 1
010970051001054 1
010970051001053 1
010970051001049 1
010970051001050 1
010970051001044 1
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010970051001041 1
010970051001038 1
010970051001035 1
010970051001043 1
010970051001042 1
010970051001037 1
010970051001036 1
010970048001000 1
010970048002017 1
010970048002008 1
010970048002001 1
010970052002017 1
010970052002019 1
010970052002020 1
010970052002015 1
010970051001030 1
010970051001031 1
010970051001032 1
010970051001033 1
010970051001024 1
010970051001020 1
010970058002107 1
010970058002134 1
010970058002123 1
010970058002109 1
010970058002019 1
010970058002018 1
011290442003058 7
011290442003071 7
010970058002053 1
010970058002017 1
010970058002016 1
010970058002048 1
010970058002054 1
010970058002057 1
010970058002082 1
010970058002081 1
010970058002055 1
010970058002015 1
010970058002056 1
010970058002012 1
010970058002013 1
010970058002014 1
011290442003072 7
011290442003057 7
011290442003035 7
011290442003051 7
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011290442003037 7
011290442003017 7
011290442003050 7
011290442003036 7
011290442003047 7
011290442003048 7
010970052002023 1
010970052002003 1
010970052002013 1
010970052002006 1
010970052002012 1
010970052002016 1
010970052002011 1
010970052002005 1
010970052002002 1
010970052002001 1
010970053001047 1
010970053001048 1
010970052002004 1
010970052001034 1
010970052001033 1
010970052001035 1
010970052001036 1
010970052002000 1
010970061061030 1
010970061061031 1
010970061061029 1
010970053001025 1
010970053001023 1
010970061061019 1
010970061061018 1
010970061061015 1
010970061061016 1
010970061061033 1
010970061061026 1
010970061061027 1
010970054003014 1
010970061061017 1
011290442003002 7
011290442003004 7
011290442003003 7
011290442004034 7
011290442003005 7
011290442003008 7
011290442003001 7
011290442001056 7
011290442001031 7
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011290442001040 7
011290442001034 7
011290442001032 7
011290442004035 7
011290442001055 7
011290442001036 7
011290442001033 7
011290442001041 7
011290442001035 7
011290442003010 7
011290442003009 7
011290442003011 7
011290442003000 7
011290442004037 7
011290442003015 7
011290442003012 7
011290442003013 7
011290442004039 7
011290442004038 7
011290442001062 7
011290442002068 7
011290442001054 7
011290442001042 7
010970054003018 1
010970054003009 1
010970054003011 1
010970053001012 1
010970054003019 1
010970054003021 1
010970054003037 1
010970061071021 1
010970061071019 1
010970061071093 1
010970061071086 1
010970061071016 1
010970061071015 1
010970061071080 1
010970061071083 1
010970061071014 1
010970061071013 1
010970061071002 1
010970061071001 1
010970061071000 1
010970061071018 1
010970061071017 1
010970061071084 1
010970061072039 1
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011290442001043 7
011290442001061 7
011290442001052 7
011290442001048 7
011290442001050 7
011290442001049 7
011290442001053 7
011290442002061 7
011290442002060 7
011290442002045 7
011290442002046 7
011290442002043 7
011290442002042 7
011290442002047 7
011290442001051 7
011290442002065 7
011290442002044 7
011290442002034 7
011290442002066 7
011290442002036 7
011290442001060 7
011290442001058 7
011290442001030 7
011290442001004 7
011290442001024 7
011290442001038 7
011290442001023 7
011290442001020 7
011290442001012 7
011290442001059 7
011290442001037 7
011290442001017 7
011290442001022 7
011290442001021 7
011290442001018 7
011290442001019 7
011290442001016 7
011290442001002 7
011290442001001 7
011290442001014 7
011290442001013 7
011290442001000 7
011290442001044 7
011290442001025 7
011290442001045 7
011290442001026 7
011290442001046 7
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011290442002063 7
011290442002062 7
011290442001027 7
011290442001047 7
011290442001028 7
011290442001015 7
011290442001010 7
011290442001029 7
011290442002064 7
011290442002030 7
011290442002031 7
011290442002028 7
011290442002032 7
011290442002029 7
011290442002037 7
011290442002038 7
011290442002027 7
011290442002057 7
011290442002053 7
011290442002052 7
011290442002059 7
011290442002055 7
011290442002014 7
011290442002013 7
011290442002012 7
011290442002016 7
011290442002056 7
011290442002015 7
011290442005002 7
011290442005005 7
011290442002011 7
011290442002022 7
011290442002021 7
011290442002070 7
011290442002000 7
011290442002002 7
011290442002018 7
011290442002001 7
011290442002017 7
011290442002071 7
011290441003094 7
011290442002010 7
011290441003115 7
011290441003095 7
011290441002062 7
011290441002045 7
011290441002043 7
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011290441002042 7
011290441002059 7
011290441002046 7
011290441002038 7
011290441002037 7
011290441002032 7
011290441002021 7
011290441002033 7
011290442002004 7
011290441003109 7
011290441002047 7
011290441002039 7
011290441002048 7
011290441002040 7
011290441003112 7
011290442002003 7
011290441003108 7
011290441002041 7
011290441002036 7
011290441003103 7
011290441003111 7
011290441003110 7
011290441003104 7
011290441002022 7
011290441002005 7
011290441002035 7
011290441002034 7
011290441003097 7
011290441003078 7
011290441002007 7
011290441003096 7
011290441003079 7
010970070001008 1
010970070001033 1
010970070001029 1
010970070001003 1
010970070001010 1
010970070001007 1
010970070001000 1
010970071015005 1
010970071011000 1
010970071011001 1
010970071011006 1
010970071011007 1
010970071015002 1
010970069031019 1
010970071031026 1
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010970071031027 1
010970071031023 1
010970071031040 1
010970071031019 1
010970071031025 1
010970071031024 1
010970071031021 1
010970071031020 1
010970071031015 1
010970071031014 1
010970071031012 1
010970071031013 1
010970071031011 1
010970071031009 1
010970071031004 1
010970070001032 1
010970070001028 1
010970070001031 1
010970071031007 1
010970070001027 1
010970071031010 1
011070501003011 7
011070501003003 7
011070501004036 7
011070501003012 7
011070501004035 7
011070501004015 7
011070501004029 7
011070501003002 7
011070501004061 7
011070501004062 7
011070501004034 7
011070501004033 7
011070501004060 7
011070501004059 7
011070501003023 7
011070501003010 7
011070501003001 7
011070501004064 7
011070501004065 7
011070501004042 7
011070501003024 7
011070501002021 7
011070501002019 7
011070501003009 7
011070501003025 7
011070501004041 7
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011070501003000 7
011070501004044 7
011070501004047 7
011070501002018 7
011070501003026 7
011070501004046 7
011070500002041 7
011070500002037 7
011250101051021 7
011250101051019 7
011250101051017 7
011250101051018 7
011250101051010 7
011250101053049 4
011250101051009 7
011250101051011 7
011250101051012 7
011250101053070 4
011070503001007 7
011070503001006 7
011070501003019 7
011070503001008 7
011070503001004 7
011070503001003 7
011070503001002 7
011070503001014 7
011070501003022 7
011070501003020 7
011070503001000 7
011070501003029 7
011070501003021 7
011070501003030 7
011070503001001 7
011070501002023 7
011070501003033 7
011070501003032 7
011070501003031 7
011070501002022 7
010970054002020 1
010970054003005 1
010970054002018 1
010970054003001 1
010970054003002 1
010970054002011 1
010970054002004 1
010970054002016 1
010970054002017 1
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010970054002005 1
010970054002019 1
010970054002000 1
010970054002013 1
010970054002014 1
010970054002015 1
010970054002001 1
010970054002002 1
010970054003022 1
010970054003023 1
010970054003004 1
010970054003003 1
010970054003025 1
010970054003024 1
010970054001005 1
010970054001006 1
010970054003000 1
010970054001004 1
010970054001003 1
010970055002014 1
010970055002015 1
010970055002016 1
010970054002003 1
010970061062006 1
010970055002003 1
010970061062004 1
010970061062000 1
010970061062005 1
010970055002010 1
010970055002012 1
010970055002006 1
010970055002007 1
010970055002009 1
010970055002008 1
010970055002011 1
010970055002004 1
010970055002005 1
010970055002002 1
010970055002001 1
010970057012054 1
010970057012051 1
010970057012048 1
010970057012052 1
010970057012050 1
010970056023029 1
010970056023027 1
010970057012072 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 170 of 401


010970057012063 1
010970057012039 1
010970057012064 1
010970057021066 1
010970057021061 1
010970057021065 1
010970057021064 1
010970057011032 1
010970057011031 1
010970057021062 1
010970057011017 1
010970061042001 1
010970057021059 1
010970057021060 1
010970057021058 1
010970057021063 1
011070503002033 7
011070503002045 7
011070504021018 7
011070503002002 7
011070503001009 7
011070504021127 7
011070504021126 7
011070503002001 7
011070503001005 7
011070504021123 7
011070503002000 7
011070504021017 7
011070504021026 7
011070504021025 7
011070504021062 7
011070504021068 7
011070504021129 7
011070504021029 7
011070504021024 7
011070504021019 7
011070504021013 7
011070504021124 7
011070504021125 7
011070504021015 7
011070504021014 7
011070504021011 7
011070504021016 7
011070504021003 7
011070504021021 7
011070504021004 7
011070504021005 7
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011070504021010 7
011070504021113 7
011070504021105 7
011070504021072 7
011070504021065 7
011070504021067 7
011070504021069 7
010630600001048 7
010630600001033 7
010630600001034 7
010630600001022 7
010630600001036 7
010630600001032 7
010630600001035 7
010630600001030 7
010630600001037 7
011070504021114 7
010630600001023 7
011070504021112 7
011070504021111 7
011070504021064 7
011070504021115 7
011070504021110 7
011070504021116 7
011070504021109 7
011070504021071 7
011070504021070 7
011070504021066 7
010970015021009 1
010970015011026 1
010970015011019 1
010970015011014 1
010970015011015 1
010970014003015 1
010970015011003 1
010970015011001 1
010970015011002 1
010970015021006 1
010970014003014 1
010970015011000 1
010970014002024 1
010970014002022 1
010970014002025 1
010970014002021 1
010970014002008 1
010970014002009 1
010970014002016 1
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010970014002015 1
010970014002020 1
010970014002019 1
010970014002017 1
010970014002014 1
010970014002018 1
010970014002013 1
010970014002010 1
010970014002003 1
010970014002011 1
010970014002002 1
010970014001035 1
010970014001036 1
010970057012045 1
010970057021072 1
010970057021069 1
010970057021068 1
010970057021067 1
010970057021071 1
010970057012044 1
010970057021070 1
010970057021019 1
010970057021022 1
010970057012023 1
010970057012022 1
010970057012041 1
010970057021023 1
010970057012040 1
010970057012042 1
010970057012043 1
010970057012024 1
010970057012020 1
010970057021080 1
010970057021021 1
010970057021018 1
010970057021049 1
010970057021008 1
010970057021009 1
010970057021014 1
010970062012079 1
010970062012080 1
010970062012006 1
010970062012005 1
010970062012004 1
010970062012010 1
010970062012002 1
010970062012001 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 173 of 401


010970062012000 1
010970062012003 1
010970059001093 1
010970059001092 1
010970059001091 1
010970059001034 1
010970059001033 1
010970074001042 1
010970074001043 1
010970074001044 1
010970074001025 1
010970074001027 1
010970074001030 1
010970074001031 1
010970074001033 1
010970015012003 1
010970015011023 1
010970015011016 1
010970015011027 1
010970015012004 1
010970015011022 1
010970015011017 1
010970015011011 1
010970015011012 1
010970015011007 1
010970015011006 1
010970015011018 1
010970015011013 1
010970015011009 1
010970015011010 1
010970015011005 1
010970014002026 1
010970015011004 1
010970014002027 1
010970015012001 1
010970015011021 1
010970015011020 1
010970015012000 1
010970015021010 1
010970015012014 1
010970015012009 1
010970015012015 1
010970074001051 1
010970015012008 1
010970015012012 1
010970015012010 1
010970015012007 1
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010970015012002 1
010970015012005 1
010970074001050 1
010970015012006 1
010970074001036 1
010970015021015 1
010970015021013 1
010970074001015 1
010970074001022 1
010970074001056 1
010970074001016 1
010970074001045 1
010970074001037 1
010970074001038 1
010970074001028 1
010970074001039 1
010970074001040 1
010970074001029 1
010970074001032 1
010970074001034 1
010970015021012 1
010970015021016 1
010970074001041 1
010970074001059 1
010970074002005 1
010970074002003 1
010970074002012 1
010970074002002 1
010970074002013 1
010970074002004 1
010970074001011 1
010970018002008 1
010970018002010 1
010970018002001 1
010970018002009 1
010970018002000 1
010970074001060 1
010970074001061 1
010970074001017 1
010970074001014 1
010970074001013 1
010970074001018 1
010970074001021 1
010970074001062 1
010970074001020 1
010970074001010 1
010970074001006 1
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010970074001023 1
010970074001052 1
010970074001054 1
010970074001048 1
010970074001049 1
010970074001024 1
010970074001047 1
010970074001046 1
010970074001055 1
010970018002011 1
010970018002021 1
010970018002007 1
010970018002006 1
010979900000001 1
010970019021002 1
010970074003008 1
010970019021004 1
010970019021020 1
010970019021007 1
010970019021001 1
010970074003018 1
010970019011000 1
010970018002004 1
010970019021018 1
010970019021019 1
010970019021000 1
010970074003017 1
010970018002005 1
010970074003005 1
010970074003016 1
010970074003009 1
010970074003013 1
010970074003012 1
010970074002000 1
010970074002001 1
010970074002006 1
010970018002003 1
010970074002015 1
010970018002002 1
010970074002016 1
010970074002007 1
010039900000005 1
010039900000004 1
010039900000003 1
010970018001007 1
010970018001015 1
010970018001016 1
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010970018001012 1
010970018001001 1
010970018001008 1
010970018001003 1
010970018001006 1
010970018001000 1
010970018001004 1
010970018001011 1
010970018001013 1
010970018001019 1
010970018001018 1
010970018001014 1
010970019011002 1
010970019011001 1
010970018002017 1
010970018002016 1
010970018002018 1
010970018002019 1
010970018002013 1
010970018002012 1
010970018002020 1
010970018001017 1
010970018001020 1
010970018001002 1
010970018002014 1
010970018002015 1
010030116031030 1
010030116031011 1
010030116031010 1
010030116031031 1
010030116031009 1
010030116031033 1
010030116031013 1
010030116042019 1
010030116042018 1
010030116031045 1
010030116031041 1
010030116031022 1
010030116031023 1
010030116031027 1
010030116031032 1
010030116031008 1
010030116031024 1
010030116031025 1
010030116031021 1
010030116031044 1
010030116031026 1
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010030116031014 1
010030116031015 1
010030116031003 1
010030116031037 1
010030116031017 1
010030116031016 1
010030116031038 1
010030116031034 1
010030116031042 1
010030116031018 1
010979900000003 1
011250107052033 7
011250107052053 7
011250107052054 7
011250107052034 7
011250107052031 7
011250107052032 7
011250107041033 7
010650400001031 7
010650400001022 7
010650400001021 7
010650400001024 7
010650400001011 7
011250107041037 7
011250107041036 7
010650400001010 7
011250107041032 7
010650400001009 7
011250107041031 7
011070504021120 7
010630600001059 7
011070504021121 7
011070504021118 7
011070504013052 7
010630600001058 7
011070504021117 7
010630600001056 7
010630600001051 7
010630600001055 7
010630600001052 7
010630600001050 7
010630600001049 7
010630600002017 7
010630600002022 7
010630600002023 7
010630600001061 7
010630600001067 7
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010630600001066 7
010630600001070 7
010630600001062 7
010630600001063 7
010630600001064 7
010630600001065 7
010630600001057 7
010630600002084 7
010630600002080 7
010630600002081 7
010630600002088 7
010630600001086 7
010630600002083 7
010630600002082 7
010630600001087 7
010630600001088 7
010630600001072 7
010630600001085 7
010630601023009 7
010630600002087 7
010630600002078 7
010630602001045 7
010630602001015 7
010630602001014 7
010630602001000 7
010630601023026 7
010630600002079 7
010630601023027 7
010630601023028 7
010630601011007 7
010630601023030 7
010630601023029 7
010630601023025 7
010630601023024 7
010630600002018 7
010630600002034 7
010630602001008 7
010630602001004 7
010630602001029 7
010630602001036 7
010630602001037 7
010630602001035 7
010630602001030 7
010630602001028 7
010630602001020 7
010630602001019 7
010630602001031 7
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010630602001032 7
010630602001018 7
010630602001056 7
010630602001057 7
010630602001033 7
010630602001034 7
010630602001016 7
010630602001017 7
010630602001012 7
010630602001002 7
010630602001007 7
010630602001005 7
010630602001013 7
010630602001001 7
010630600002067 7
010630600002060 7
010630600002076 7
010630600002061 7
010630602001003 7
010630600002077 7
010630600002062 7
010630602003021 7
010630602003010 7
010630602003065 7
010630602003012 7
010630602003011 7
010630601022094 7
010630601022095 7
010630601022079 7
010630601022098 7
010650403002003 7
010630602003007 7
010630602003024 7
010630602003009 7
010630602003023 7
010630602003008 7
010630602003002 7
010630602003004 7
010630602003001 7
010650403002011 7
010630602001042 7
010630602001026 7
010630602001027 7
010630602001039 7
010630602001022 7
010630602001021 7
010630602001023 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 180 of 401


010630600002085 7
010630600002086 7
010630602001006 7
010630602001010 7
010630602001011 7
010630602001009 7
010630602002010 7
010630602002016 7
010630602001093 7
010630602001096 7
010630602002011 7
010630602001095 7
010630602001050 7
010630602001052 7
010630602001049 7
010630602001051 7
010630602001041 7
010630602001053 7
010630602001082 7
010630602001040 7
010630602001094 7
010630602001076 7
010630602001077 7
010630602001078 7
010630602001038 7
010630602001054 7
010630602001055 7
010630602001072 7
010630602001069 7
010630602001068 7
010630602001079 7
010630602001061 7
010630602001073 7
010630602001100 7
011190113021046 7
010630602002019 7
010630602002020 7
010630602002012 7
010630602002104 7
010630602002013 7
010630602002103 7
010630602002014 7
011190113022077 7
011190113022078 7
011190113022018 7
011190113022080 7
011190113022017 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 181 of 401


011190113022005 7
011190113021048 7
011190113022007 7
010630602002018 7
011190113022004 7
010630602002101 7
011190113022006 7
011190113022003 7
010630602002017 7
011190113022002 7
010630602002021 7
010630602002100 7
010630602002025 7
010630602002022 7
011190113021023 7
010630602002015 7
010479562021103 2
010479562022045 2
010479562021105 2
010479562021047 2
010479562021081 2
010479562021080 2
010479562021088 2
010479562021082 2
010479562021079 2
010479562021078 2
010479562021089 2
010479562021083 2
010479562021118 2
010479562021099 2
010479562021090 2
010479562021100 2
010479562021086 2
010479562021091 2
010479562021087 2
010479562021122 2
010479562021071 2
011190113021051 7
011190113021049 7
011190113022021 7
011190113022023 7
011190113022022 7
011190113022020 7
011190113022019 7
011190113021047 7
011190115001103 7
011190115001043 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 182 of 401


010919734003051 7
010919734003054 7
011190115001104 7
011190115001105 7
011190115001106 7
010919734003033 7
011190115001044 7
011190115001026 7
011190115001041 7
010919734003032 7
010919734003034 7
011190113022101 7
011190113022102 7
010919734003030 7
011190113022105 7
010919734003029 7
010919734002021 7
011190113022103 7
011190113022066 7
011190113022065 7
011190113022067 7
011190113022097 7
011190113022096 7
011190113022108 7
011190113022061 7
011190113022062 7
011190113022068 7
011190113022064 7
011190113022063 7
011190113022069 7
010239567004035 7
010239567004004 7
010239567004005 7
010239567004003 7
010239567004002 7
011190115001107 7
011190115001099 7
011190115001101 7
011190115001058 7
011190115001050 7
011190115001100 7
011190115001102 7
011190115001055 7
011190115001056 7
011190115001046 7
011190115001048 7
011190115001057 7
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010239567004001 7
010919730024015 7
010919730024056 7
010919730024023 7
010919730024022 7
010919730024013 7
010919730024021 7
010919730024024 7
010919730024016 7
010919730024019 7
010919730024017 7
010919730024020 7
010919730024076 7
010919730024018 7
011190115001131 7
010919730024063 7
010919730024066 7
010919730024065 7
010919730024061 7
010919730024068 7
010919730024054 7
010919730024067 7
010919730024053 7
010919730024039 7
010919733002002 7
010919730024040 7
010919730024051 7
010919733002013 7
010919733002011 7
010919733002001 7
010919730024052 7
010919730024048 7
010919730024044 7
010919730024047 7
010239567004036 7
010919733003004 7
010239567004104 7
010239567004097 7
010239567004087 7
010239567004088 7
010239567004089 7
010239567004103 7
010239567004111 7
010239567004096 7
010239567004079 7
010239567004090 7
010239567004095 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 184 of 401


010239567004094 7
010239567004091 7
010239567004092 7
010239567004078 7
010239567004077 7
010239567004081 7
010239567004083 7
010239567004080 7
010239567004051 7
010239567004052 7
010239567004053 7
010239567004038 7
010239567004063 7
010239567004054 7
010239567004055 7
010239567004039 7
010239567004105 7
010239567004093 7
010239567004076 7
010239567004075 7
010970072032050 1
010970072031017 1
010970072032056 1
010970072031019 1
010970072031021 1
010970072031012 1
010970072032045 1
010970072032052 1
010970072032055 1
010970072031011 1
010970072031013 1
010970072031003 1
010979900000007 1
010970072041076 1
010970072041058 1
010970072041055 1
010970072041060 1
010970072041053 1
010970072041082 1
010970073003045 1
010970073003043 1
010970072032034 1
010970072031023 1
010970072031022 1
010970072031020 1
010970072031025 1
010970072031044 1
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010970072031043 1
010970072031016 1
010970072031014 1
010970072031045 1
010970072031030 1
010970072032048 1
010970072032053 1
010970072031027 1
010970072031028 1
010970072032059 1
010970072032058 1
010970072031048 1
010970072031049 1
010970072031015 1
010970072031026 1
010970072031024 1
010970072031010 1
010970072031009 1
010970072031004 1
010970072032051 1
010970072032046 1
010970072032054 1
010970072032047 1
010970072032057 1
010970072031029 1
010970072031018 1
010970072032012 1
010970072031046 1
010970072031038 1
010970072031036 1
010970072031033 1
010970072032029 1
010970072032030 1
010970072032014 1
010970072032038 1
010970072032037 1
010970072031047 1
010970072032031 1
010970072032036 1
010970072032032 1
010970072032015 1
010970072032066 1
010970072032035 1
010970072032033 1
010970072032016 1
010970072032005 1
010970072032007 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 186 of 401


010970072032008 1
010970072032065 1
010970072032062 1
010970072032041 1
010970072031031 1
010970072031032 1
010970072031037 1
010970072031039 1
010970072031040 1
010970072031042 1
010970072031041 1
010970073003020 1
010970073003016 1
010970073003017 1
010970072032023 1
010970072032004 1
010970072032006 1
010970072032009 1
010970072032010 1
010970072032011 1
010979900000013 1
010970072032063 1
010970072032022 1
010970072032024 1
010970072032001 1
010970072032069 1
010970072032067 1
010970072032070 1
010970072032020 1
010970072032019 1
010970072032068 1
010970072032021 1
010970072032025 1
010970072032002 1
010970072032003 1
010970072032026 1
010970072032044 1
010970072032043 1
010970072032027 1
010970072031034 1
010970072031035 1
010970072032028 1
010970072032013 1
010919733001015 7
010919733001016 7
010259577002000 7
010259576011025 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 187 of 401


010259577002010 7
010259576011024 7
010919733001010 7
010919733003045 7
010259576011023 7
010919733001009 7
010919733001002 7
010919733003046 7
010919733003040 7
010919733003043 7
010919733003038 7
010919733003021 7
010919733003010 7
010919733003044 7
010919733001001 7
010919733003039 7
010919733003047 7
010919733003009 7
010239568001024 7
010239568001023 7
010239568001001 7
010239568001002 7
010239568001000 7
010919733003005 7
010239568001028 7
010919733003018 7
010919733003014 7
010919733003016 7
011310351003049 7
011310351003040 7
011310351003041 7
011310351003042 7
011310351003050 7
011310351003060 7
011310351003051 7
011310351002013 7
011310351003061 7
011310351002012 7
010919733001005 7
010259577002005 7
010259577002007 7
010259577002008 7
010919733001013 7
010259577002003 7
010259577002002 7
010919733001014 7
010919733001012 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 188 of 401


010919733001004 7
010919733001011 7
010919733001003 7
010239568001026 7
010239568001027 7
010919733003037 7
010239568001025 7
010919733003042 7
010919733003041 7
010919733003036 7
010919733003017 7
010259577002001 7
010919733001026 7
010310104002037 2
010310104002047 2
010310104002048 2
010310104002035 2
010310104002036 2
010310104002049 2
010310104002050 2
010310104002051 2
010310104002029 2
010310104002021 2
010310104002022 2
010310104002024 2
010310104002026 2
010310104002023 2
010310104002025 2
010310104002017 2
010310104001014 2
010310104001015 2
010310104001008 2
010310104002038 2
010310104001007 2
010310104001010 2
010310104001009 2
010310104002031 2
010310104002027 2
010310104002014 2
010310104002028 2
010310104002013 2
011290441001022 7
011290441001023 7
011290441001016 7
011290441001028 7
010030114194012 1
010030114194007 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 189 of 401


010030114194013 1
010030114194003 1
010030114194010 1
010030114194004 1
010979900000005 1
010979900000004 1
010039900000011 1
010039900000007 1
010039900000018 1
010030114194056 1
010030114194022 1
010030114194002 1
010030114194033 1
010030114194009 1
010030114194005 1
010030114194011 1
010030114194006 1
010030114194001 1
010039900000014 1
010030114194008 1
010030114194032 1
010259577002051 7
010259577002049 7
010259577002042 7
010259577002044 7
010259577002043 7
010259577002050 7
010259576011058 7
010259579011002 7
010259577001042 7
010259577001041 7
010259577001006 7
010259577001004 7
010259577001005 7
010259577001048 7
010259577001043 7
010259577001045 7
010259577001044 7
010259577001007 7
010259576011057 7
010259577001003 7
010259577001002 7
010259577001001 7
010259577001000 7
010259576011053 7
010259576011052 7
010259577002021 7
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010259576011055 7
010259576011056 7
010259576011054 7
010259577002014 7
010259577002012 7
010259577002006 7
010970059003015 1
010970059003100 1
010970058001151 1
010970058001153 1
010970058001120 1
010970058001152 1
010970058001119 1
010970059003016 1
010970059003017 1
010970059002035 1
010970059002036 1
010970057021007 1
010970057021001 1
010970058001118 1
010970058001117 1
010970058001122 1
010970058001121 1
010970059002033 1
010970059002034 1
010970059002032 1
010970059002031 1
010970059002030 1
010970059002005 1
010970059002003 1
010970059002027 1
010970059002028 1
010970058001113 1
010970058001110 1
010970059002029 1
010970058001111 1
010970058001106 1
010970058001103 1
010970059002009 1
010970059002002 1
010970059002001 1
010970058001104 1
010970058001105 1
010970059002010 1
010970058002150 1
010970059002000 1
010970060002066 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 191 of 401


010970060002062 1
010970060002063 1
010970060002046 1
010970060002045 1
010970059002014 1
010970060002039 1
010970060002036 1
010970060002012 1
010970060002041 1
010259578006029 7
010259578006018 7
010259578006023 7
010259578001007 7
010259578006020 7
010259578006017 7
010259578001010 7
010259577001036 7
010259577001030 7
010259577001029 7
010259577001039 7
010259577001040 7
010259577001038 7
010259577001046 7
010259577001022 7
010259577001028 7
010259577001021 7
010259577001020 7
010259577001027 7
010259577001013 7
010259577001012 7
010259577001019 7
010259577001018 7
010259577001016 7
010259579011003 7
010259577001017 7
010259577001011 7
010259577001010 7
010259577001008 7
010259577001009 7
010259577002053 7
010259577002055 7
010259579013013 7
010259579013001 7
010259579013002 7
010259579013014 7
010259579013007 7
010259579013003 7
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010259579013004 7
010259579012007 7
010259579013005 7
010259579013006 7
010259579011041 7
010259579011016 7
010259579011018 7
010259579011039 7
010259579011010 7
010259579011012 7
010259579011009 7
010259579011011 7
010259579011005 7
010259579011017 7
010259579011042 7
010259577001037 7
010259579011019 7
010259577001035 7
010259577001034 7
010259577001051 7
010259577001050 7
010259579011007 7
010259579011006 7
010259579011008 7
010259579011040 7
010259579011014 7
011070502002035 7
011070502002034 7
011070502002021 7
011070502002041 7
011070502002040 7
011070502002019 7
011070503001017 7
011070503001015 7
011070503001016 7
011070503001013 7
011070503001019 7
011070503001012 7
011070503001011 7
011070502002052 7
011070502002050 7
011070502002048 7
011070502002049 7
011070502002047 7
011070502002051 7
011070502002018 7
011070502002005 7
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011070502002022 7
011070502002007 7
011070502002016 7
011070502002017 7
011070502002013 7
011070502002006 7
011070502002008 7
011070502002004 7
011070501003017 7
011070501003016 7
011070501003018 7
010970058002096 1
010970058002141 1
010970058002135 1
010970058002098 1
010970058002099 1
010970058002087 1
010970058002074 1
010970058002040 1
010970058002041 1
010970058002042 1
010970058002044 1
010970058002043 1
010970058002086 1
010970058002072 1
010970058002073 1
010970058002062 1
010970058002085 1
010970058002059 1
010970058002066 1
010970058002067 1
010970058002068 1
010970058002063 1
010970058002064 1
010970058002052 1
010970058002033 1
010970058002024 1
010970058002023 1
010970058002022 1
011290442003070 7
010970058002021 1
011290442003069 7
011290442003029 7
011290442003023 7
011290442003028 7
011290442003068 7
010970058002045 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 194 of 401


011290442003062 7
011290442003061 7
010970058002046 1
010970058002020 1
011290442003059 7
011290442003055 7
011290442003054 7
011290442003021 7
011290442003060 7
011290442003052 7
011290442003053 7
011290442003019 7
011290442003034 7
011290442003018 7
011290443002015 7
011290443002036 7
011290443002035 7
011290441001029 7
011290441001024 7
011290441003069 7
011290441003061 7
011290441001027 7
011290441001057 7
011290441001059 7
011290441003062 7
011290441003052 7
011290441003053 7
011290441003041 7
011290441001052 7
011290441001060 7
011290441001058 7
011290441001049 7
011290441001051 7
011290441001048 7
011290441001031 7
011290440001036 7
011290441001014 7
011290441001015 7
011290440001022 7
011290440001021 7
011290440001023 7
011290441001012 7
011290440001019 7
011290440001010 7
011290440001020 7
011290440001009 7
011290441001013 7
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011290441001050 7
011290441001010 7
010979900000011 1
010979900000009 1
010970066004049 1
010970066004042 1
010970066004050 1
010970066004048 1
010970066004040 1
010970066004038 1
010970066004037 1
010970066004039 1
010970066004041 1
010970066004024 1
010979900000016 1
010970072032039 1
010979900000008 1
010970072032017 1
010970072032018 1
010970072032040 1
010979900000012 1
010979900000010 1
011070503002007 7
011070503001036 7
011070503002006 7
011070503002005 7
011070503001031 7
011070503001030 7
011070503001026 7
011070503001029 7
011070503002017 7
011070503002015 7
011070503002004 7
011070503001028 7
011070503002016 7
011070503001027 7
011070503001020 7
011070503001010 7
011070503002046 7
011070503002003 7
011070504012002 7
011070503004026 7
011070503004022 7
011070503004023 7
011070503004025 7
011070503004024 7
011070503004011 7
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011070502002056 7
011070503004008 7
011070503004007 7
011070503004006 7
011070503004010 7
011070503004009 7
011070502002057 7
011070503002030 7
011070503002029 7
011070503002028 7
011070503002027 7
011070503002025 7
011070503002026 7
011070503002020 7
011070503002021 7
011070503002019 7
011070503002018 7
011070503002032 7
011070503002031 7
011070503003005 7
011070503003001 7
011070503003006 7
011070503003000 7
011070503002009 7
011070503001033 7
011070503001032 7
011070503001022 7
011070503001018 7
011070503001023 7
011070503001021 7
011070503002011 7
011070503002008 7
011070503001034 7
011070503001037 7
011070503001038 7
011070503001035 7
011070503002012 7
011070503002013 7
011070503002014 7
011290442004028 7
011290443001034 7
011290443001044 7
011290443001046 7
011290443001040 7
011290443001041 7
011290443001045 7
011290442004004 7
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011290442004031 7
011290442004017 7
011290442004029 7
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011290442004005 7
011290442004003 7
011290442004006 7
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011290442004009 7
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011290442004002 7
011290442004001 7
011290442004033 7
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011290442003020 7
011290442004022 7
011290442004036 7
011290442001057 7
011290442004018 7
011290442004015 7
011290442004024 7
011290442004016 7
011290442004011 7
011290442004010 7
011290442004013 7
011290442004000 7
011290441002060 7
011290442001008 7
011290442004019 7
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011290442004012 7
011290442001039 7
011290442004020 7
011290442004021 7
011290442001006 7
011290442001009 7
011290442001007 7
011290442001005 7
011290442001003 7
011290443001043 7
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011290441002066 7
011290441002065 7
011290441002069 7
011290441002064 7
011290441002024 7
011290441002063 7
011290441002054 7
011290441002053 7
011290441002010 7
011290441002017 7
011290440002029 7
011290440002019 7
011290440002012 7
011290440002011 7
011290440002018 7
011290440002014 7
011290440002017 7
011290440002016 7
011290441002020 7
011290441002019 7
011290441002014 7
011290441002055 7
011290441002061 7
011290441002056 7
011290441002052 7
011290441002051 7
011290441002016 7
011290441002015 7
011290441002057 7
011290441002058 7
011290441002050 7
011290441002049 7
011290441002044 7
011290441002013 7
011290441002009 7
011290441001062 7
011290441002011 7
011290441002012 7
011290441002023 7
011290440003014 7
011290440003012 7
011290440003013 7
011290439002028 7
011290439002020 7
011290439002029 7
011290439002032 7
011290439002030 7
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011290439002021 7
011290439002022 7
011290439002031 7
011290439002023 7
011290440003011 7
011290440003010 7
011070503004014 7
011070504022019 7
011070504022004 7
011070504022011 7
011070504022012 7
011070503002043 7
011070503002039 7
011070504022048 7
011070504022015 7
011070504022003 7
011070504022002 7
011070504022016 7
011070504022001 7
011070504022000 7
011070503002037 7
011070503002036 7
011070503002044 7
011070503002035 7
011070503002042 7
011070503002034 7
011070503002038 7
011070503003003 7
011070503001024 7
011070503001025 7
011070503003002 7
011070503002041 7
011070503003007 7
011070503002023 7
011070503002022 7
011070503002024 7
011070503002010 7
011070503002040 7
011070504022046 7
011070504022017 7
011070504021073 7
011070503003020 7
011070504011012 7
011070503003019 7
011070503003014 7
011070503003013 7
011070503003011 7
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011070503003012 7
011070503003009 7
011070504022009 7
011070504022008 7
011070504022005 7
011070504022007 7
011070503003010 7
011070503003008 7
011070503004027 7
011070503004018 7
011070503004013 7
011070503004028 7
011070503004015 7
011070503003004 7
011070504022013 7
011070504022021 7
010630600002002 7
011070504013063 7
010630600002001 7
011070504013049 7
011070504013061 7
011070504013055 7
011070504013044 7
011070504013042 7
011070504013043 7
011070504013050 7
011070504013038 7
011070504013062 7
010630600001060 7
011070504021119 7
011070504013051 7
011070504013039 7
011070504013041 7
011070504013036 7
011070504013035 7
011070504013037 7
011070504013034 7
011070504013033 7
011070504021094 7
011070504021093 7
011070504021095 7
011070504021081 7
011070504021122 7
011070504021084 7
011070504021088 7
011070504021085 7
010630600002019 7
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010630600002039 7
010630600002025 7
010630600002020 7
010630600002009 7
010630600002021 7
010630600002038 7
010630600002037 7
010630600002035 7
010630600002036 7
010630600002014 7
010630600002015 7
010630600002007 7
010630600002005 7
010630600002004 7
010630600002000 7
010630600002016 7
011070504012057 7
011070504012045 7
011070504012059 7
011070504012061 7
011070504012058 7
011070504012038 7
011070504012042 7
010630600002074 7
011190114002028 7
011190114002036 7
011190114002035 7
011190114002037 7
010630600002068 7
010630600002029 7
010630600002032 7
010630600002052 7
010630600002064 7
010630600002051 7
011190114001002 7
011190114001004 7
010630600002055 7
010630600002069 7
010630600002063 7
010630600002073 7
010630600002070 7
010630600002071 7
010630600002072 7
010630600002054 7
010630600002049 7
010630600002053 7
010630600002048 7
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010630600002057 7
010630600002058 7
010630600002047 7
010630600002050 7
010630600002046 7
010630600002044 7
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010630600002056 7
011190114001014 7
011190114001049 7
011190114001058 7
011190114001057 7
011190114001053 7
011190114001062 7
011190114001054 7
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011190114001063 7
011190114001010 7
011190114001050 7
011190114001003 7
011190114001051 7
011190114001006 7
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011190114001056 7
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011190114001037 7
011190114001038 7
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011190114001035 7
011190114001061 7
011190114001008 7
011190114001007 7
011190114001011 7
011190114001013 7
011190114001000 7
010630600002065 7
010630600002075 7
011190114001009 7
011190114001012 7
010630602001046 7
011190114001075 7
011190114001082 7
010630602001099 7
010630602001024 7
010630602001025 7
010630602001047 7
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010630602001043 7
011190114001067 7
011190114002067 7
011190114001066 7
011190114002068 7
011190114002063 7
011190114001021 7
011190114002069 7
011190114001023 7
011190114001022 7
011190114002062 7
011190114002060 7
011190114002042 7
011190114002050 7
011190113021012 7
011190113021008 7
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011190113021007 7
011190113021056 7
011190113021020 7
011190113021014 7
011190113021009 7
011190113021022 7
011190113021010 7
010630602001098 7
011190113021011 7
010630602001097 7
011190113021003 7
011190113021019 7
011190113012010 7
011190113012019 7
011190113021005 7
011190113021002 7
011190113012011 7
011190113012012 7
011190113012013 7
011190113012000 7
011190114001005 7
011190113021001 7
011190114001081 7
011190113012014 7
011190113021000 7
011190114001074 7
010630602001092 7
010630602001048 7
011190113011009 7
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011190113011010 7
011190113021043 7
011190113012041 7
011190113012043 7
011190113012031 7
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011190113012035 7
011190113012033 7
011190113012037 7
011190113022035 7
011190113021034 7
011190113022032 7
011190113021040 7
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011190115001025 7
011190113022098 7
011190113022099 7
011190113022052 7
011190113022059 7
011190113022025 7
011190113022060 7
011190115003008 7
011190115003007 7
011190115003005 7
011190113013023 7
011190115003002 7
011190113013024 7
011190113013025 7
011190113013019 7
011190113013020 7
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011190113013002 7
011190114002071 7
011190113013049 7
011290440004006 7
011290440001029 7
011290440001024 7
011290440001030 7
011290440001018 7
011290440001057 7
011290440001058 7
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011290440001050 7
011290440001037 7
011290441001021 7
011290441001020 7
011290440001038 7
011290441001018 7
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011290441001017 7
011290440001028 7
011290440001031 7
011290440001016 7
011290440001025 7
011290440001032 7
011290440001035 7
011290440001033 7
011290440001034 7
011290440001026 7
011290440001027 7
011290440004008 7
011290440001017 7
011290440001008 7
011290440004000 7
011290439001024 7
011290439001020 7
011290439001021 7
011290439001002 7
011290439001023 7
011290439001022 7
011290440001015 7
011290440001006 7
011290440001005 7
011290440001004 7
011290440001007 7
011290440001003 7
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011290440001013 7
011290440001014 7
011290440001012 7
011290440001002 7
011290439001001 7
011290440001000 7
010239570001048 7
011290440001001 7
011290439001000 7
011190115001040 7
011190115001016 7
011190115001017 7
011190115001030 7
011190115001031 7
011190115001034 7
011190115001029 7
011190115001036 7
011190115001033 7
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011190115001035 7
011190115001037 7
011190115001018 7
011190115001000 7
011190115001019 7
011190115001021 7
011190115001038 7
011190115001023 7
011190115001001 7
011190115001022 7
011190115001002 7
011190115001005 7
011190115001003 7
011190115001020 7
011190115001004 7
011190113022040 7
011190113022042 7
011190113022053 7
011190115001024 7
011190113022100 7
011190113022051 7
011190113022058 7
011190115001108 7
011190115001094 7
011190115001060 7
011190115001051 7
011190115001059 7
011190115001049 7
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011190115001047 7
011190115001045 7
011190115001072 7
011190115001063 7
011190115001077 7
011190115001133 7
011190115001079 7
011190115001062 7
011190115001054 7
011190115001027 7
011190115002049 7
011190115001008 7
011190115002030 7
011190115001013 7
011190115001014 7
011190115001015 7
011190115002048 7
011190115002047 7
011190115001007 7
011190115001006 7
011190115002029 7
011190115001061 7
011190115001052 7
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011190115001039 7
011190115001028 7
011190115001088 7
011190115001085 7
011190115001110 7
011190115001082 7
010239567004025 7
010239567004028 7
010239567004026 7
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010239567004019 7
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010239567004021 7
010239567004008 7
010239567004020 7
010239567004034 7
010239567004007 7
010239567004006 7
011190115001092 7
011190115001109 7
011190115001093 7
011190115001080 7
011190115001081 7
010239567004098 7
010239567004112 7
010239567004108 7
010239567004113 7
010239567004114 7
010239567004086 7
010239567004101 7
010239567004044 7
010239567004116 7
010239567004050 7
010239567004046 7
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010239567004110 7
010239567004109 7
010239567004082 7
010239567004084 7
010239567004085 7
010239567003000 7
010239567002009 7
010239567002006 7
010239567002034 7
010239567002033 7
010239567002022 7
010239567002008 7
011190116001055 7
011190116001056 7
011190116001042 7
011190116001044 7
011190116001045 7
011190116001043 7
011190116001067 7
011190116001015 7
010239568001017 7
010239568001020 7
010239568001012 7
010239568001006 7
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010239568001005 7
010239567001026 7
010239567001000 7
010239567004115 7
010239567004033 7
010239567004032 7
010239568001031 7
010239568001014 7
010239568001011 7
010239568001007 7
010239568001008 7
010239568001015 7
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010239568001010 7
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010239568001035 7
010239568001003 7
010239568001004 7
010239567004040 7
010239567004041 7
010239567004102 7
010239567004043 7
010239567004099 7
010239567004100 7
010239568005005 7
010239568005047 7
010239568005006 7
010239568001037 7
010239568005007 7
010239568001036 7
010239568001019 7
010239568001034 7
010239568004024 7
010239568004005 7
010239568005046 7
010239568005052 7
010239568004001 7
010919733001006 7
010239568005008 7
010919733001007 7
010239568001013 7
010239568001030 7
010239568001033 7
010239568001029 7
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010239568001022 7
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010239568002036 7
010239568002035 7
010239568002031 7
010239568001032 7
010239568002034 7
010239568002033 7
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010239568002000 7
010239568001018 7
010239568004000 7
010239568004002 7
010239569002023 7
010239569002018 7
010239569002019 7
010239569002022 7
010239569002020 7
010239569002009 7
010239569002010 7
010239569002008 7
010239569002003 7
010239569002002 7
010239569002001 7
010239569002011 7
010239569002007 7
010239569002015 7
010239569002056 7
010239569002012 7
010239569002082 7
010239569002013 7
010239569002014 7
010239569002004 7
010239569002006 7
010239569002005 7
010239568002016 7
010239569002000 7
010239568002011 7
010239568002014 7
010239569004066 7
010239568004034 7
010239569004001 7
010239568004026 7
010239568004033 7
010239568004035 7
010239568004036 7
010239568004038 7
010239568004032 7
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010239568004037 7
010239568004027 7
010239568004022 7
010239568004025 7
010239568004016 7
010239568004015 7
010259577002015 7
010259577002019 7
010239568004030 7
010239568004031 7
010259577002023 7
010259577002022 7
010259577002020 7
010259577002013 7
010239568004039 7
010239568004003 7
010239568004004 7
010259577001033 7
010259577002063 7
010259577001032 7
010259577001026 7
010259577001025 7
010259577001024 7
010259577002061 7
010259577002060 7
010259577002064 7
010259577002062 7
010259577001023 7
010259577001015 7
010259577001014 7
010259577002047 7
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010259577002039 7
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010259577002024 7
010259577002040 7
011290443001013 7
011290443001039 7
011290443001038 7
011290443001036 7
011290443001031 7
011290443001035 7
011290443001077 7
011290443001002 7
011290443001021 7
011290443001020 7
011290443001022 7
011290443001006 7
011290443001004 7
011290443001001 7
011290440003022 7
011290440003006 7
011290440003021 7
011290443003000 7
011290440003008 7
011290440003034 7
011290440003033 7
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011290440003025 7
011290443003012 7
011290443001003 7
011290440003026 7
011290440003024 7
011290440003023 7
010970059001095 1
010970059001094 1
010970059001098 1
010970059001081 1
010970059001079 1
010970059001080 1
010970059001097 1
010970059001096 1
011290443003013 7
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011290443003018 7
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011290443003002 7
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011290443003014 7
011290440003015 7
011290443003008 7
011290443003042 7
011290443003041 7
011290443003040 7
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011290443003025 7
011290443003024 7
011290443003021 7
011290443003023 7
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011290443003009 7
011290443003010 7
011290443001029 7
011290443003011 7
011290439001008 7
011290439001010 7
011290439001006 7
010239570001061 7
011290439001005 7
011290439001026 7
011290439001025 7
011290439001004 7
011290439001003 7
010239570001053 7
011290440002013 7
011290440001061 7
011290440001055 7
011290440002015 7
011290440002000 7
011290440001043 7
011290440001047 7
011290440001054 7
011290440001060 7
011290440001056 7
011290440001059 7
011290440001053 7
011290440001048 7
011290440001049 7
011290440001039 7
011290440001041 7
011290440001042 7
011290440001040 7
011290440004016 7
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011290440004017 7
011290440004015 7
011290439002016 7
011290439002033 7
011290439003048 7
011290439002027 7
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011290439003046 7
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011290440003031 7
011290440003017 7
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011290443001049 7
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011290443001050 7
011290443001033 7
011290443001032 7
011290443001058 7
011290443001059 7
011290442003024 7
011290443001054 7
011290443001053 7
011290443001055 7
011290443001062 7
011290443001063 7
011290443001060 7
011290443001061 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 215 of 401


010239569003001 7
010239569003013 7
010239569003023 7
010239569003024 7
010239569003014 7
010239569002057 7
010239569003011 7
010239569002032 7
010239569002016 7
010239569002030 7
010239569002033 7
010239569002029 7
010239569002059 7
010239569002031 7
010239569002058 7
010239569002035 7
010239569002036 7
011290440004049 7
011290440003007 7
011290440003004 7
011290440004048 7
011290440004047 7
011290440004031 7
011290440004018 7
011290440004014 7
011290439002017 7
011290440004013 7
011290440004012 7
011290439002034 7
011290440003002 7
011290440003029 7
011290440003028 7
011290440003003 7
011290440004032 7
011290440004033 7
011290440003001 7
011290440002022 7
011290440003000 7
011290440002010 7
011290440002009 7
011290440004035 7
011290440004034 7
011290440004037 7
011290440004044 7
011290440004045 7
011290440004046 7
011290440004043 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 216 of 401


011290440004042 7
011290440004041 7
011290440002023 7
011290440002024 7
011290440002008 7
011290440002025 7
011290440002003 7
011290440002005 7
011290443001000 7
011290440003035 7
011290440003005 7
011290440003016 7
011290440003020 7
011290443001012 7
011290443001014 7
011290443001037 7
011290443001015 7
011290443001010 7
011290443001016 7
011290443001011 7
011290443001009 7
011290443001005 7
011290443001007 7
011290443001008 7
011290441002029 7
011290443001018 7
011290443001017 7
011290441002068 7
011290441002067 7
011290443001019 7
011290441002070 7
011290441002027 7
011290441002028 7
011290441002026 7
011290441002018 7
011290441002025 7
011290441002031 7
011290440002006 7
011290440002007 7
011290440002004 7
011290440004036 7
011290440004029 7
011290440004030 7
011290440004028 7
011290440004019 7
011290440004027 7
011290440004020 7
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 217 of 401


011290440002002 7
011290440004038 7
011290440001063 7
011290440002001 7
011290440001062 7
011290440004025 7
011290440004026 7
011290440004039 7
011290440004040 7
011290440001046 7
011290440001045 7
011290440001044 7
011290440004022 7
011290440004021 7
011290440004011 7
011290440004010 7
011290440004023 7
011290440004009 7
011290440004005 7
011290440004024 7
011290440004007 7
010970072041056 1
010970073003046 1
010970073003030 1
010970073003029 1
010970072041057 1
010970073003015 1
010970073003021 1
010970065011010 1
010970065011007 1
010970073004038 1
010970073004035 1
010970073004025 1
010970073004016 1
010970073004030 1
010970073004011 1
010970073004010 1
010970073004013 1
010970073004017 1
010970073004029 1
010970073004028 1
010970073004014 1
010970073004023 1
010970073004022 1
010970073004012 1
010970073004021 1
010970073004020 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 218 of 401


010970073004019 1
010970073004018 1
010970067032022 1
010970067032021 1
010970073004036 1
010970073004033 1
010970073004026 1
010970073004043 1
010970073004032 1
010970073004031 1
010970073003006 1
010970073003010 1
010970073004024 1
010970072041042 1
010970072031002 1
010970072031001 1
010970072031000 1
010970072032000 1
010970072031005 1
010970072031008 1
010970072041073 1
010970072041072 1
010970072041069 1
010970072041070 1
010970072041074 1
010970072041071 1
010970072041068 1
010970072041003 1
010970072041008 1
010970072041066 1
010970072041067 1
010970072041065 1
010970072041062 1
010970072041059 1
010970072041051 1
010970072041049 1
010970072041014 1
010970072041050 1
010970072041048 1
010970072041016 1
010970072041010 1
010970072041007 1
010970072041005 1
010970072041045 1
010970072041046 1
010970073002047 1
010970073002054 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 219 of 401


010970073002008 1
010970073002009 1
010970073002045 1
010970073002049 1
010970073002046 1
010970073002044 1
010970073002089 1
010970073002084 1
010970073004042 1
010970073002010 1
010970073002024 1
010970073002022 1
010970073002023 1
010970073002026 1
010970073002021 1
010970073002025 1
010970073002038 1
010970073002020 1
010970073004037 1
010970073002055 1
010970073002056 1
010970073002088 1
010970073002053 1
010970073002048 1
010970073002069 1
010970073002051 1
010970073002073 1
010970073002076 1
010970073002071 1
010970073002085 1
010970072041047 1
010970072041015 1
010970072041064 1
010970072041063 1
010970072041018 1
010970072041013 1
010970072041017 1
010970072041019 1
010970072041044 1
010970072041011 1
010970072041009 1
010970072041061 1
010970072041043 1
010970072041022 1
010970072041012 1
010970072041035 1
010970072041006 1
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010970072041036 1
010970072041038 1
010970072041001 1
010970072041037 1
010970072041031 1
010970071033020 1
010970071033024 1
010970071031051 1
010970071031052 1
010970071031050 1
010970071031057 1
010970071033023 1
010970071033022 1
010970071031056 1
010970071031055 1
010970071032018 1
010970072041027 1
010970072041083 1
010970072041033 1
010970072041028 1
010970072041030 1
010970072041029 1
010970072041025 1
010970071031054 1
010970072041004 1
010970072041026 1
010970071031049 1
010970072041000 1
010970071031053 1
010970072041002 1
010970066004029 1
010970066001010 1
010970066004013 1
010970066004012 1
010970066004014 1
010970066001018 1
010970066001019 1
010970066003007 1
010970066004036 1
010970066004052 1
010970066004032 1
010970066004043 1
010970066004044 1
010970073004053 1
010970066004033 1
010970066004045 1
010970066004046 1
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010970073004050 1
010970073004051 1
010970073004048 1
010970073004049 1
010970066004047 1
010970073004040 1
010970066004034 1
010970073004041 1
010970073004039 1
010970072041078 1
010970072041079 1
010970072041075 1
010970072041077 1
010970073002066 1
010970073004047 1
010970073002067 1
010970073002068 1
010970073002050 1
010970066004019 1
010970066004023 1
010970066004027 1
010970066004020 1
010970066004021 1
010970066004022 1
010970066004026 1
010970066004011 1
010970066002026 1
010970066004010 1
010970066002027 1
010970066002025 1
010970066002019 1
010970066002020 1
010970066002013 1
010970066002012 1
010970066002024 1
010970066002018 1
010970066002023 1
010970066002017 1
010970066004009 1
010970066004002 1
010970066002016 1
010970066002015 1
010970066004018 1
010970066004035 1
010970073004034 1
010970073004015 1
010970073004009 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 222 of 401


010970067042007 1
010970067042008 1
010970067042011 1
010970067042005 1
010970067042009 1
010970067042010 1
010970067042004 1
010970067042012 1
010970067042006 1
010970067041024 1
010970067041018 1
010970073003047 1
010970073003011 1
010970073003007 1
010970073003008 1
010970067032020 1
010970073003009 1
010970073003012 1
010970067032019 1
010970067032007 1
010970073003013 1
010970067032018 1
010970067032005 1
010970073003003 1
010970072041034 1
010970072041032 1
010970071033026 1
010970072041023 1
010970071033027 1
010970072041024 1
010970072012014 1
010970071033012 1
010970071033016 1
010970071033017 1
010970071033014 1
010970071033018 1
010970071032019 1
010970071033015 1
010970071032010 1
010970071032013 1
010970071032009 1
010970071032021 1
010970071032020 1
010970071032014 1
010970071032015 1
010970071033021 1
010970071022015 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 223 of 401


010970071022013 1
010970071022016 1
010970071022019 1
010970071022014 1
010970071022012 1
010970071021036 1
010970071022017 1
010970071022018 1
010970071021035 1
010970071021032 1
010970071021027 1
010970071021038 1
010970071021028 1
010970071021013 1
010970071021029 1
010970071021026 1
010970071021024 1
010970071021023 1
010970071021034 1
010970071021025 1
010970071021015 1
010970072041039 1
010970072012007 1
010970071033028 1
010970071033025 1
010970064113005 1
010970064113012 1
010970064113009 1
010970064113003 1
010970064113004 1
010970064111011 1
010970073003001 1
010970072011023 1
010970072011015 1
010970072011014 1
010970072011013 1
010970072011011 1
010970072011009 1
010970072011008 1
010970072012003 1
010970062012033 1
010970062012019 1
010970062012018 1
010970062012015 1
010970062012031 1
010970062012014 1
010970062012020 1
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010970066004051 1
010970066004030 1
010970066004031 1
010970066004025 1
010970066004017 1
010970066004016 1
010970073003000 1
010970072012019 1
010970072041041 1
010970072041040 1
010970072012016 1
010970072012017 1
010970072012015 1
010970072012018 1
010970072012012 1
010970072012011 1
010970072012005 1
010970072012004 1
010970072012013 1
010970072012008 1
010970072012010 1
010970072012009 1
010970072012006 1
010970071033011 1
010970071033013 1
010970071033002 1
010970071033001 1
010970071032011 1
010970072011010 1
010970072011007 1
010970072011003 1
010970073004044 1
010970073004046 1
010970073001005 1
010970073001004 1
010970073001006 1
010970073003018 1
010970073001003 1
010970073003040 1
010970073003035 1
010970073003037 1
010970073003038 1
010970073003041 1
010970073003034 1
010970073003032 1
010970073003028 1
010970073003044 1
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010970073003027 1
010970073003042 1
010970073003039 1
010970073002090 1
010970073002058 1
010970073002091 1
010970073002059 1
010970073001038 1
010970073001030 1
010970073002082 1
010970073002086 1
010970073002083 1
010970073002081 1
010970073002043 1
010970073002079 1
010970073002080 1
010970073002077 1
010970073002061 1
010970073002042 1
010970073002087 1
010970073002072 1
010970073002074 1
010970073002057 1
010970073002078 1
010970073002037 1
010970073002039 1
010970073002035 1
010970073002060 1
010970073002040 1
010970073002041 1
010970073002052 1
010970073002093 1
010970073002075 1
010970073002070 1
010970073002062 1
010970073002063 1
010970073002032 1
010970073002031 1
010970073002064 1
010970073002065 1
010970073001031 1
010970073001028 1
010970073001033 1
010970073001032 1
010970073001026 1
010970073003036 1
010970073001037 1
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010970073001036 1
010970073001034 1
010970073001035 1
010970073001029 1
010970073001018 1
010970073001016 1
010970073001010 1
010970073001023 1
010970073001014 1
010970073001027 1
010970073001024 1
010970073001007 1
010970073001008 1
010970073001002 1
010970073003005 1
010970073001013 1
010970073001017 1
010970073003004 1
010970073001009 1
010970073001025 1
010970073001012 1
010970073001001 1
010970073001000 1
010970073003014 1
010970073003033 1
010970073003019 1
010970073002011 1
010970073002092 1
010970073002019 1
010970073002036 1
010970073002001 1
010970073002014 1
010970073002000 1
010970073002012 1
010970073002013 1
010970073002015 1
010970073002004 1
010970073002005 1
010970073002007 1
010970073004045 1
010970073002030 1
010970073002033 1
010970073002034 1
010970073002016 1
010970073002027 1
010970073002017 1
010970073002028 1
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010970073001019 1
010970073002029 1
010970073001020 1
010970073001015 1
010970073001021 1
010970073001011 1
010970073001022 1
010970073002018 1
010970073002003 1
010970073002002 1
010970073002006 1
010970072041052 1
010970073003026 1
010970072041054 1
010970073003031 1
010970072041080 1
010970073003025 1
010970073003024 1
010970072041081 1
010970072041020 1
010970073003022 1
010970073003023 1
010970072041021 1
010970059001073 1
010970059001068 1
010970059001070 1
010970059001069 1
010970059001058 1
010970060004057 1
010970060004031 1
010970060004032 1
010970060004025 1
010970060004033 1
010970060004034 1
010970060004016 1
010970060004022 1
010970060004035 1
010970060004015 1
010970059003076 1
010970062012030 1
010970062012029 1
010970062012022 1
010970062012050 1
010970062012051 1
010970062012021 1
010970059001105 1
010970062012023 1
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010970062012052 1
010970062011003 1
010970062012028 1
010970062012027 1
010970062011001 1
010970062011000 1
010970059001106 1
010970062012026 1
010970062012025 1
010970062012024 1
010970059001107 1
010970059001103 1
010970059001108 1
010970059003040 1
010970059001075 1
010970059001102 1
010970059001101 1
010970059003077 1
010970059001104 1
010970059003047 1
010970059003041 1
010970059003103 1
010970059003042 1
010970059003039 1
010970059003043 1
010970059003037 1
010970059003038 1
010970059003097 1
010970059001072 1
010970059002015 1
010970059002023 1
010970059003003 1
010970059002025 1
010970059002026 1
010970059003004 1
010970059002024 1
010970059002013 1
010970059002016 1
010970059002017 1
010970059002018 1
010970059003096 1
010970059003107 1
010970059003104 1
010970059003087 1
010970059003105 1
010970059003102 1
010970060003002 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 229 of 401


010970060003004 1
010970060002004 1
010970060002003 1
010970060002005 1
010970060002002 1
010970060002007 1
010970060002006 1
010970060002001 1
011290443001048 7
011290443001047 7
010970059003054 1
010970059003055 1
010970059003059 1
010970059003058 1
010970059003061 1
010970059003060 1
010970059003012 1
010970062012017 1
010970062012009 1
010970062012016 1
010970059001087 1
010970062012011 1
010970059001038 1
010970059001088 1
010970059001050 1
010970062012081 1
010970062012012 1
010970059001086 1
010970059001089 1
010970062012013 1
010970059001099 1
010970059001100 1
010970059001084 1
010970059001085 1
010970059001052 1
010970061042024 1
010970061042012 1
010970061042011 1
010970061044041 1
010970061044037 1
010970061044026 1
010970061044027 1
010970061044019 1
010970059003064 1
010970059003063 1
010970061044016 1
010970061044017 1
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010970061044018 1
010970059003062 1
010970061044015 1
010970061044028 1
010970061044014 1
010970061044013 1
010970059003056 1
010970061044011 1
010970061042010 1
010970061044042 1
010970061042002 1
010970061044035 1
010970059003069 1
010970059003068 1
010970059003044 1
010970059003036 1
010970059003035 1
010970059003070 1
010970059003071 1
010970059003033 1
010970059003045 1
010970059003034 1
010970059003085 1
010970059003075 1
010970059003067 1
010970059003074 1
010970059003050 1
010970057021025 1
010970057021076 1
010970057021052 1
010970057021077 1
010970057021051 1
010970057021044 1
010970057021043 1
010970057021046 1
010970057021054 1
010970057021055 1
010970057021048 1
010970057021030 1
010970057021050 1
010970057021047 1
010970057021031 1
010970057021029 1
010970057012047 1
010970064072011 1
010970064072014 1
010970064072009 1
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010970062021033 1
010970062021029 1
010970062021030 1
010970062021032 1
010970062021028 1
010970062021038 1
010970062021019 1
010970062021020 1
010970062021004 1
010970062021006 1
010970062021003 1
010970062021001 1
010970062021000 1
010970062012008 1
010970062021002 1
010970062012040 1
010970061042003 1
010970061042008 1
010970061044030 1
010970061044033 1
010970061042000 1
010970061044009 1
010970061044036 1
010970061044034 1
010970061044005 1
010970061044006 1
010970061044012 1
010970061044029 1
010970061044010 1
010970059003091 1
010970059003094 1
010970061044031 1
010970061044007 1
010970061044032 1
010970061044008 1
010970061044004 1
010970061044002 1
010970061044001 1
010970061044003 1
010970061044000 1
010970061072053 1
010970061061007 1
010970061041027 1
010970061041009 1
010970061042033 1
010970061042021 1
010970061041028 1
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010970061042016 1
010970061041019 1
010970061041020 1
010970061041021 1
010970061041007 1
010970061041003 1
010970061041004 1
010970061041001 1
010970061041002 1
010970061041000 1
010970061044023 1
010970061044024 1
010970061044025 1
010970059003072 1
010970059003066 1
010970061044022 1
010970061044021 1
010970062012083 1
010970062012082 1
010970062012076 1
010970062012077 1
010970062012078 1
010970062012007 1
010970062021037 1
010970062021021 1
010970062021018 1
010970062021014 1
010970062021017 1
010970062021015 1
010970062021016 1
010970062012063 1
010970059003099 1
010970057021081 1
010970057021013 1
010970057021012 1
010970057021011 1
010970059003106 1
010970057021010 1
010970057021002 1
010970058001158 1
010970058001157 1
010970059003098 1
010970059003088 1
010970059003005 1
010970059003065 1
010970059003053 1
010970059003049 1
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010970059003048 1
010970059003046 1
010970059003052 1
010970059003083 1
010970059003032 1
010970059003084 1
010970059003031 1
010970059003020 1
010970059003051 1
010970059003021 1
010970059001071 1
010970057011015 1
010970057011013 1
010970057011003 1
010970057012074 1
010970057012059 1
010970057012046 1
010970057012060 1
010970057012057 1
010970057012058 1
010970057021075 1
010970057021073 1
010970057021074 1
010970057021057 1
010970057021056 1
010970057021032 1
010970057021040 1
010970057021053 1
010970057021042 1
010970057021045 1
010970057021041 1
010970057021033 1
010970057021035 1
010970057021034 1
010970057021027 1
010970057021036 1
010970057021038 1
010970057021037 1
010970057021039 1
010970057021028 1
010970057021026 1
010970059003057 1
010970059003018 1
010970059003019 1
010970059003010 1
010970059003009 1
010970059003008 1
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010970059003090 1
010970059003093 1
010970059003092 1
010970059003089 1
010970059003013 1
010970059003095 1
010970059003086 1
010970062012065 1
010970062012062 1
010970062012061 1
010970062021027 1
010970062021026 1
010970062012068 1
010970062012070 1
010970062012060 1
010970062012047 1
010970062012032 1
010970062012069 1
010970062012042 1
010970062012034 1
010970066004015 1
010970066004003 1
010970073004000 1
010970066004001 1
010970066004000 1
010970067043009 1
010970067043007 1
010970066004006 1
010970066004005 1
010970066004007 1
010970066004004 1
010970067043026 1
010970067043025 1
010970067043008 1
010970073004002 1
010970073004001 1
010970073004003 1
010970073004027 1
010970073004004 1
010970073004005 1
010970067043024 1
010970067043023 1
010970066004008 1
010970067043011 1
010970067043010 1
010970066002009 1
010970066002011 1
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010970066002008 1
010970066001013 1
010970066002007 1
010970066002003 1
010970066001012 1
010970066002014 1
010970066002006 1
010970066002005 1
010970066002004 1
010970066002001 1
010970066001002 1
010970065042004 1
010970066002002 1
010970066001003 1
010970066002000 1
010970066001000 1
010970065042016 1
010970065042003 1
010970065042005 1
010970066001001 1
010970065042006 1
010970065053011 1
010970065053009 1
010970065053010 1
010970065053007 1
010970065041005 1
010970065042002 1
010970065042000 1
010970065042001 1
010970065041004 1
010970065041003 1
010970067043005 1
010970067043004 1
010970067023025 1
010970067043006 1
010970067023026 1
010970067043003 1
010970028005014 1
010970028005010 1
010970029003006 1
010970028004014 1
010970029003002 1
010970029003009 1
010970029003001 1
010970029001002 1
010970028004015 1
010970029003000 1
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010970028004005 1
010970028004004 1
010970028004016 1
010970028004003 1
010970028004002 1
010970028005008 1
010970028005009 1
010970028005013 1
010970028005007 1
010970028004018 1
010970028004017 1
010970028004019 1
010970028004001 1
010970028004000 1
010970028002008 1
010970028005006 1
010970028005003 1
010970037032012 1
010970037031011 1
010970037051000 1
010970037032006 1
010970037031009 1
010970037031006 1
010970037083001 1
010970037052005 1
010970037052006 1
010970037052002 1
010970037052000 1
010970037052003 1
010970037112002 1
010970037112001 1
010970037062014 1
010970037112000 1
010970037062015 1
010970037062012 1
010970037062013 1
010970037053001 1
010970037053007 1
010970037061009 1
010970037061011 1
010970037061007 1
010970037121009 1
010970037062008 1
010970036073007 1
010970036073005 1
010970036073006 1
010970036073003 1
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010970036023001 1
010970036023000 1
010970036021006 1
010970036022014 1
010970036021000 1
010970036021009 1
010970036021007 1
010970036022010 1
010970036022016 1
010970036021008 1
010970036022003 1
010970036022009 1
010970037031003 1
010970037031002 1
010970037031004 1
010970036072010 1
010970037043017 1
010970037043008 1
010970037043004 1
010970037043002 1
010970037043001 1
010970037043007 1
010970037043006 1
010970032032008 1
010970032032004 1
010970032032023 1
010970032032024 1
010970032032022 1
010970032032010 1
010970032021010 1
010970032021014 1
010970032021001 1
010970032021008 1
010970032021009 1
010970032021004 1
010970032021002 1
010970032021003 1
010970032021000 1
010970032021012 1
010970032052003 1
010970032052001 1
010970032052002 1
010970032032017 1
010970032032012 1
010970032032011 1
010970032032001 1
010970032032000 1
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010970032051005 1
010970032051004 1
010970032051006 1
010970032061035 1
010970032061034 1
010970033023011 1
010970033023012 1
010970033023030 1
010970032061003 1
010970032061006 1
010970029003022 1
010970033011000 1
010970029003023 1
010970028004012 1
010970029003024 1
010970029003021 1
010970029003029 1
010970029003027 1
010970028004010 1
010970033011001 1
010970028004013 1
010970028005017 1
010970028004011 1
010970028004007 1
010970028004008 1
010970028004009 1
010970028004006 1
010970028005018 1
010970028005016 1
010970028005015 1
010970064072016 1
010970064072006 1
010970064072002 1
010970064072003 1
010970064072001 1
010970062021024 1
010970062021022 1
010970062021035 1
010970062021034 1
010970062021036 1
010970064072008 1
010970064072010 1
010970064072007 1
010970064072046 1
010970064072000 1
010970064072030 1
010970064072012 1
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010970064072019 1
010970064072015 1
010970064073009 1
010970064072041 1
010970064072040 1
010970064072039 1
010970064072038 1
010970064072042 1
010970064072027 1
010970064072028 1
010970064072034 1
010970064072036 1
010970064072035 1
010970064072029 1
010970063031016 1
010970063031032 1
010970063032006 1
010970063032007 1
010970063042016 1
010970063042013 1
010970063042005 1
010970062021031 1
010970063042015 1
010970063042004 1
010970063032010 1
010970063042010 1
010970063041000 1
010970063041017 1
010970063041018 1
010970063032000 1
010970063032009 1
010970063032001 1
010970063041001 1
010970063041004 1
010970063041019 1
010970064071042 1
010970064032023 1
010970064032022 1
010970064032024 1
010970064032021 1
010970064032025 1
010970064032020 1
010970064071044 1
010970064032014 1
010970064032015 1
010970064032026 1
010970064032019 1
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010970064032018 1
010970064032009 1
010970064032008 1
010970064032034 1
010970064091013 1
010970064032031 1
010970064032016 1
010970064032033 1
010970064091011 1
010970064032030 1
010970064032028 1
010970064032032 1
010970064032027 1
010970064091003 1
010970064032005 1
010970064032001 1
010970064032013 1
010970064032010 1
010970061033009 1
010970061033000 1
010970061072056 1
010970061072055 1
010970032061025 1
010970032061027 1
010970032061028 1
010970033011025 1
010970032061024 1
010970032061014 1
010970033011026 1
010970033011014 1
010970033011012 1
010970033011013 1
010970032061036 1
010970032061037 1
010970032061038 1
010970032061020 1
010970032061021 1
010970033011019 1
010970033011020 1
010970032061023 1
010970032061022 1
010970064023015 1
010970064023016 1
010970064023009 1
010970064023010 1
010970064023004 1
010970064023005 1
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010970064022006 1
010970064023001 1
010970064022002 1
010970064022000 1
010970064022001 1
010970063062036 1
010970064091018 1
010970064091004 1
010970064093021 1
010970064091002 1
010970064091001 1
010970064091019 1
010970064091000 1
010970064032003 1
010970064093020 1
010970064072033 1
010970064072017 1
010970064072004 1
010970064072005 1
010970062021023 1
010970064072031 1
010970064072043 1
010970064072032 1
010970064072021 1
010970064072022 1
010970064072023 1
010970064072024 1
010970064072020 1
010970064072025 1
010970064072026 1
010970064072018 1
010970064071009 1
010970064071014 1
010970064071010 1
010970064071011 1
010970064071001 1
010970063031035 1
010970064071000 1
010970063031014 1
010970063031021 1
010970063031013 1
010970063031022 1
010970063031023 1
010970063031028 1
010970063031030 1
010970063031029 1
010970064072013 1
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010970063031020 1
010970063031018 1
010970063031019 1
010970036062015 1
010970037043005 1
010970037043003 1
010970036062014 1
010970036072009 1
010970036072004 1
010970036072011 1
010970036072012 1
010970036072000 1
010970036062005 1
010970036062006 1
010970036062002 1
010970036062001 1
010970037043010 1
010970037042010 1
010970037043000 1
010970037042008 1
010970036062013 1
010970036062004 1
010970036062010 1
010970037042006 1
010970036062012 1
010970037042009 1
010970037042005 1
010970036062009 1
010970037042007 1
010970037042014 1
010970037042004 1
010970037042002 1
010970037042001 1
010970037042003 1
010970037042000 1
010970064073008 1
010970064073030 1
010970064073033 1
010970064132004 1
010970064073032 1
010970064073010 1
010970064073031 1
010970064073003 1
010970064073011 1
010970029003015 1
010970029003004 1
010970029003008 1
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010970029003005 1
010970029003017 1
010970029003030 1
010970029003016 1
010970029003031 1
010970029002005 1
010970029002004 1
010970029003032 1
010970029003019 1
010970029002001 1
010970029003018 1
010970019023000 1
010970019022000 1
010970019023002 1
010970019023003 1
010970019023004 1
010970019023005 1
010970019023006 1
010970019023001 1
010970020002004 1
010970020002027 1
010970020002003 1
010970029003034 1
010970029002022 1
010970032072013 1
010970032072012 1
010970032072000 1
010970032072003 1
010970029003037 1
010970029003025 1
010970029003033 1
010970029003010 1
010970029003007 1
010970029003020 1
010970029003003 1
010970029003028 1
010970029002023 1
010970029002021 1
010970029002020 1
010970029003014 1
010970029002019 1
010970029003013 1
010970029002008 1
010970029002018 1
010970029003011 1
010970029003012 1
010970065051014 1
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010970065051011 1
010970065051020 1
010970065051010 1
010970064073029 1
010970064073028 1
010970064073034 1
010970064073022 1
010970064073024 1
010970064073027 1
010970064073026 1
010970064073021 1
010970064073025 1
010970064073023 1
010970064073019 1
010970064073018 1
010970064073017 1
010970064073020 1
010970064073016 1
010970064073014 1
010970064073015 1
010970064073007 1
010970064073006 1
010970024003002 1
010970025013025 1
010970024002015 1
010970024002014 1
010970025012030 1
010970025013015 1
010970025013014 1
010970025013010 1
010970025013009 1
010970025012029 1
010970025013008 1
010970025012024 1
010970024002024 1
010970024002013 1
010970024002012 1
010970024002004 1
010970024002002 1
010970024002005 1
010970024002003 1
010970024002001 1
010970025012028 1
010970025012025 1
010970025012022 1
010970025012021 1
010970025012026 1
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010970025012031 1
010970025012027 1
010970025012020 1
010970025012019 1
010970025013011 1
010970025013006 1
010970025013005 1
010970034051020 1
010970034051004 1
010970034051005 1
010970034041006 1
010970034041005 1
010970034041007 1
010970034051007 1
010970034083016 1
010970034102006 1
010970034102000 1
010970034102001 1
010970034083015 1
010970034083017 1
010970034083014 1
010970034083018 1
010970034083000 1
010970037044007 1
010970037044009 1
010970037044010 1
010970037044008 1
010970036061011 1
010970037044005 1
010970037044004 1
010970036061018 1
010970036061012 1
010970037044014 1
010970037044015 1
010970032031014 1
010970037044016 1
010970037044003 1
010970037044002 1
010970037044001 1
010970067021017 1
010970067022006 1
010970067022004 1
010970067022005 1
010970067021018 1
010970067021011 1
010970067021010 1
010970067021009 1
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010970065011021 1
010970065011014 1
010970067021004 1
010970067021012 1
010970067021002 1
010970067022003 1
010970067021014 1
010970067021015 1
010970067022002 1
010970067021013 1
010970067021000 1
010970067021001 1
010970067021003 1
010970065052007 1
010970065052011 1
010970065052012 1
010970065052008 1
010970065052003 1
010970065051033 1
010970065052009 1
010970065052005 1
010970065052010 1
010970065052004 1
010970065041006 1
010970065052006 1
010970065052002 1
010970065051015 1
010970065051009 1
010970065051016 1
010970065051017 1
010970065051004 1
010970025013004 1
010970025012023 1
010970025012014 1
010970025013002 1
010970025013003 1
010970025012015 1
010970025023021 1
010970025012003 1
010970025012002 1
010970025023037 1
010970025012033 1
010970025012013 1
010970025012016 1
010970025012012 1
010970025012005 1
010970025012006 1
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010970025012017 1
010970025012011 1
010970025012018 1
010970025012010 1
010970025012007 1
010970025012004 1
010970025012000 1
010970025012001 1
010970025012008 1
010970025012009 1
010970025023036 1
010970025023035 1
010970024002006 1
010970024002000 1
010970024001018 1
010970024001010 1
010970064132003 1
010970064073001 1
010970064073013 1
010970064073012 1
010970064073005 1
010970064132005 1
010970064073004 1
010970065051003 1
010970065051006 1
010970065032008 1
010970065051001 1
010970065051000 1
010970065032009 1
010970065032005 1
010970065032006 1
010970064122005 1
010970064122006 1
010970064122002 1
010970064122001 1
010970064122000 1
010970064132006 1
010970064132002 1
010970064073002 1
010970064131008 1
010970064131007 1
010970064132001 1
010970064131009 1
010970064131006 1
010970064131002 1
010970064131003 1
010970064131005 1
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010970064133015 1
010970064131004 1
010970064132000 1
010970064133007 1
010970064133006 1
010970064133009 1
010970064133008 1
010970064133010 1
010970064133012 1
010970064133011 1
010970064133005 1
010970064133004 1
010970064133001 1
010970064133003 1
010970064133002 1
010970064133000 1
010970065012009 1
010970065012010 1
010970065011008 1
010970065012007 1
010970061021039 1
010970061022036 1
010970061022007 1
010970061022004 1
010970061022011 1
010970062012084 1
010970062012059 1
010970063042003 1
010970062012057 1
010970062012058 1
010970062012045 1
010970062012048 1
010970062012046 1
010970062012043 1
010970062012044 1
010970063042002 1
010970036061017 1
010970037044000 1
010970036061016 1
010970036061015 1
010970036061008 1
010970036061019 1
010970036061003 1
010970036061005 1
010970036061013 1
010970036061004 1
010970036061014 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 249 of 401


010970036061007 1
010970036061006 1
010970035021005 1
010970032031013 1
010970035021020 1
010970035021019 1
010970035021021 1
010970035021022 1
010970032031011 1
010970032031012 1
010970032031010 1
010970035021023 1
010970035021024 1
010970035021017 1
010970035022023 1
010970035022022 1
010970035022010 1
010970035021011 1
010970036061009 1
010970035021012 1
010970035021006 1
010970037043024 1
010970037043030 1
010970037043012 1
010970037043014 1
010970037043025 1
010970037043020 1
010970037043019 1
010970037043018 1
010970037043016 1
010970037043027 1
010970037043021 1
010970037043013 1
010970037043026 1
010970037043015 1
010970037061001 1
010970037061003 1
010970037073004 1
010970037073006 1
010970037073005 1
010970037061000 1
010970037042017 1
010970037042016 1
010970037073002 1
010970037073001 1
010970037043011 1
010970037043009 1
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010970037042012 1
010970037042011 1
010970032051000 1
010970032053002 1
010970032071006 1
010970032071007 1
010970032071004 1
010970032071003 1
010970032071000 1
010970032071005 1
010970032071002 1
010970032071001 1
010970032072010 1
010970032072008 1
010970032072007 1
010970032072014 1
010970032072002 1
010970032072011 1
010970032072009 1
010970032061000 1
010970032072001 1
010970032072006 1
010970032072005 1
010970032072004 1
010970030002015 1
010970030002003 1
010970066004028 1
010970066003008 1
010970066003004 1
010970066003006 1
010970066003003 1
010970066003005 1
010970066003019 1
010970066003010 1
010970066003016 1
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010970066003018 1
010970066003009 1
010970066003015 1
010970066003002 1
010970066003011 1
010970066003014 1
010970066002022 1
010970066003013 1
010970066003012 1
010970066002021 1
010970065042017 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 251 of 401


010970065042018 1
010970065042009 1
010970066001009 1
010970066001008 1
010970065042014 1
010970065042010 1
010970059003073 1
010970061044020 1
010970064111008 1
010970064111009 1
010970064111000 1
010970064114009 1
010970037032007 1
010970064114007 1
010970064114008 1
010970064031025 1
010970064114001 1
010970064031027 1
010970064114000 1
010970064031029 1
010970037032000 1
010970036071008 1
010970036071009 1
010970036071005 1
010970036071006 1
010970037032005 1
010970037032001 1
010970037031005 1
010970037031001 1
010970037032003 1
010970028001011 1
010970028001012 1
010970028001010 1
010970028003001 1
010970028003000 1
010970028002004 1
010970028002002 1
010970028002003 1
010970028001006 1
010970028001007 1
010970028001008 1
010970028001015 1
010970028001004 1
010970028001003 1
010970025013020 1
010970025013021 1
010970024003012 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 252 of 401


010970024003000 1
010970025013019 1
010970025013022 1
010970025013024 1
010970025013023 1
010970028003003 1
010970024003007 1
010970024003006 1
010970025013016 1
010970025013018 1
010970025013017 1
010970028003002 1
010970028002005 1
010970028002001 1
010970028002000 1
010970065051029 1
010970065051024 1
010970065051031 1
010970065051025 1
010970065051032 1
010970065051026 1
010970065051023 1
010970065051022 1
010970065051028 1
010970064073035 1
010970065051013 1
010970065051027 1
010970065051012 1
010970065053000 1
010970065051021 1
010970065051019 1
010970065053008 1
010970064131001 1
010970064121003 1
010970064121004 1
010970064131000 1
010970064133013 1
010970064091020 1
010970064091021 1
010970064091010 1
010970064091017 1
010970064091022 1
010970064091023 1
010970064133014 1
010970064091012 1
010970064091009 1
010970064091008 1
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010970064091025 1
010970064091024 1
010970064091007 1
010970064091016 1
010970064091014 1
010970064091015 1
010970064121001 1
010970064121000 1
010970064121010 1
010970064092013 1
010970064092012 1
010970064092004 1
010970064092005 1
010970064092001 1
010970064121008 1
010970064092011 1
010970064092014 1
010970068041009 1
010970064082008 1
010970064082009 1
010970064092010 1
010970064082003 1
010970064081005 1
010970064092000 1
010970064091005 1
010970064092002 1
010970064092003 1
010970064092009 1
010970064092008 1
010970064092007 1
010970064091006 1
010970068043000 1
010970068043001 1
010970068041018 1
010970068041017 1
010970068041016 1
010970068043002 1
010970068043009 1
010970068041011 1
010970068041007 1
010970068041008 1
010970068041005 1
010970068041006 1
010970064102011 1
010970064102009 1
010970037051011 1
010970037051010 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 254 of 401


010970037053008 1
010970037081002 1
010970037052007 1
010970037052004 1
010970037052001 1
010970037053002 1
010970037053000 1
010970064102004 1
010970064102008 1
010970064102007 1
010970037051009 1
010970037032013 1
010970064113010 1
010970064113011 1
010970064113001 1
010970064113002 1
010970064113000 1
010970064111010 1
010970037032010 1
010970037032011 1
010970037032008 1
010970037051005 1
010970037051008 1
010970037032009 1
010970037051002 1
010970037051007 1
010970037051006 1
010970037051003 1
010970064093016 1
010970064093003 1
010970064093014 1
010970064093015 1
010970064093004 1
010970064093005 1
010970064093000 1
010970064032000 1
010970064032002 1
010970064023025 1
010970064032004 1
010970064023023 1
010970064023024 1
010970064032006 1
010970064023022 1
010970064023021 1
010970063042000 1
010970063051021 1
010970062012071 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 255 of 401


010970062011012 1
010970062012049 1
010970062012073 1
010970062012072 1
010970062011009 1
010970062011008 1
010970062011007 1
010970063041005 1
010970063051023 1
010970063051024 1
010970063051022 1
010970063051020 1
010970064093024 1
010970064093023 1
010970064093019 1
010970064093022 1
010970064081002 1
010970064081000 1
010970064093017 1
010970064093013 1
010970068041000 1
010970064101007 1
010970064101011 1
010970064101010 1
010970064101005 1
010970064081012 1
010970064101009 1
010970064101006 1
010970064101001 1
010970064101012 1
010970064101008 1
010970064102010 1
010970064101002 1
010970064101003 1
010970064101004 1
010970064081006 1
010970064081001 1
010970064081007 1
010970064093018 1
010970064101000 1
010970064102001 1
010970064113014 1
010970064093012 1
010970064093010 1
010970064113015 1
010970064093011 1
010970064113013 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 256 of 401


010970064113007 1
010970064111006 1
010970064113006 1
010970064102003 1
010970064102002 1
010970064102005 1
010970064102006 1
010970064113008 1
010970064102000 1
010970065042008 1
010970066003001 1
010970066001017 1
010970066003000 1
010970066001015 1
010970066001014 1
010970066002010 1
010970066001011 1
010970066001004 1
010970065042015 1
010970066001005 1
010970065042007 1
010970065053006 1
010970065051030 1
010970064071030 1
010970064071035 1
010970064071031 1
010970064071038 1
010970064071041 1
010970064071037 1
010970064071034 1
010970064071039 1
010970064071040 1
010970064071043 1
010970064071033 1
010970064071029 1
010970064071013 1
010970064071032 1
010970064071012 1
010970064071007 1
010970064071008 1
010970064071015 1
010970063031017 1
010970064071005 1
010970064071023 1
010970064071006 1
010970064071021 1
010970064071002 1
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010970063031031 1
010970064073000 1
010970064071019 1
010970064071016 1
010970064071028 1
010970064071020 1
010970064071018 1
010970064071017 1
010970064071036 1
010970064093006 1
010970064093007 1
010970064111007 1
010970064111012 1
010970064111005 1
010970064093009 1
010970064093008 1
010970064112013 1
010970064111004 1
010970064112010 1
010970064093002 1
010970064093001 1
010970064112011 1
010970064112012 1
010970064032017 1
010970064031032 1
010970064031031 1
010970064031030 1
010970064112001 1
010970064112006 1
010970064112005 1
010970064031033 1
010970064112000 1
010970064031011 1
010970064111002 1
010970064111003 1
010970032061026 1
010970032061030 1
010970071021017 1
010970071021002 1
010970070003024 1
010970070003042 1
010970070003020 1
010970070003041 1
010970070003028 1
010970070003025 1
010970070003026 1
010970070003029 1
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010970070003052 1
010970070003034 1
010970071021018 1
010970071021001 1
010970070003043 1
010970071021000 1
010970070003030 1
010970071031001 1
010970071031002 1
010970070004022 1
010970071031000 1
010970070004021 1
010970070004020 1
010970070004019 1
010970070003032 1
010970070003033 1
010970070003031 1
010970070003038 1
010970070004012 1
010970070004011 1
010970032031003 1
010970032031001 1
010970032031006 1
010970035022018 1
010970032031002 1
010970032031005 1
010970032031018 1
010970032061033 1
010970032031004 1
010970032061031 1
010970032061029 1
010970032031000 1
010970033011017 1
010970032061032 1
010970032061015 1
010970033011018 1
010970033011016 1
010970033011015 1
010970035022011 1
010970035022012 1
010970035022021 1
010970035022024 1
010970033012003 1
010970035022025 1
010970033021027 1
010970035021003 1
010970035022006 1
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010970035021002 1
010970033011010 1
010970033012008 1
010970033012009 1
010970033012010 1
010970033012004 1
010970033012002 1
010970033021028 1
010970033021024 1
010970033012005 1
010970033012011 1
010970033013008 1
010970033013009 1
010970033013005 1
010970033012001 1
010970033012006 1
010970033021029 1
010970032061019 1
010970032061016 1
010970032061018 1
010970032061013 1
010970032061017 1
010970033011021 1
010970033011022 1
010970033011011 1
010970033011023 1
010970033011008 1
010970033011009 1
010970032061011 1
010970032061007 1
010970032061040 1
010970032061002 1
010970032061039 1
010970035012000 1
010970035012033 1
010970035012029 1
010970035012010 1
010970035012015 1
010970035012003 1
010970035012013 1
010970035012002 1
010970032031017 1
010970032031009 1
010970032031008 1
010970032031007 1
010970032031015 1
010970035022016 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 260 of 401


010970035022009 1
010970032031016 1
010970035022020 1
010970035022019 1
010970035022017 1
010970035022015 1
010970035022014 1
010970035022013 1
010970035022008 1
010970039012020 1
010970039012019 1
010970039012018 1
010970039012017 1
010970039012014 1
010970039012016 1
010970034021012 1
010970039011011 1
010970039011014 1
010970039011015 1
010970039012013 1
010970039012009 1
010970039011013 1
010970039011010 1
010970029001004 1
010970029001005 1
010970029001003 1
010970029001001 1
010970028003008 1
010970028003007 1
010970028003009 1
010970028003004 1
010970029001006 1
010970029001007 1
010970029001000 1
010970028003005 1
010970028003006 1
010970028003010 1
010970028002009 1
010970028002007 1
010970028002006 1
010970028001009 1
010970037041005 1
010970037041002 1
010970037041001 1
010970037041000 1
010970032032016 1
010970037072006 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 261 of 401


010970037072007 1
010970037071008 1
010970037071023 1
010970037071009 1
010970037071002 1
010970037071010 1
010970037071011 1
010970037071012 1
010970037071003 1
010970037071006 1
010970037071005 1
010970032032015 1
010970037071000 1
010970032032014 1
010970032032013 1
010970032032006 1
010970032032007 1
010970032032021 1
010970032032009 1
010970032032002 1
010970032032005 1
010970037101004 1
010970037101007 1
010970037101008 1
010970037101009 1
010970037101022 1
010970037101012 1
010970037101005 1
010970037071025 1
010970037071026 1
010970037071024 1
010970037101003 1
010970037101002 1
010970037071032 1
010970037071022 1
010970037071017 1
010970037071020 1
010970037073008 1
010970037073003 1
010970037073009 1
010970037072003 1
010970037073000 1
010970037072002 1
010970037072000 1
010970037072001 1
010970037071031 1
010970037071004 1
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010970037071001 1
010970037044013 1
010970037041004 1
010970037044011 1
010970037044006 1
010970037044012 1
010970037041003 1
010970037041006 1
010970022001010 1
010970022001006 1
010970022001009 1
010970022001004 1
010970022003008 1
010970022003002 1
010970022003003 1
010970022003001 1
010970022001008 1
010970022001007 1
010970022001003 1
010970022001002 1
010970024003019 1
010970024003018 1
010970024003011 1
010970024003015 1
010970024003013 1
010970024003014 1
010970029001012 1
010970024003022 1
010970024003023 1
010970024003026 1
010970024003024 1
010970024003008 1
010970024003009 1
010970024003010 1
010970024003025 1
010970023011011 1
010970023011010 1
010970022002000 1
010970023011012 1
010970023011005 1
010970021001005 1
010970021001004 1
010970021001003 1
010970029002016 1
010970029002009 1
010970021001002 1
010970022001012 1
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010970021001001 1
010970022001005 1
010970029002000 1
010970029002013 1
010970029002003 1
010970029002002 1
010970029001010 1
010970029002015 1
010970029002014 1
010970029001014 1
010970029002012 1
010970029002011 1
010970029002010 1
010970021001000 1
010970024003020 1
010970024003017 1
010970029001015 1
010970029001009 1
010970029001013 1
010970029001011 1
010970024003016 1
010970029001008 1
010970022001013 1
010970022001011 1
010970022003004 1
010970065042012 1
010970065042011 1
010970065042013 1
010970065053005 1
010970065053004 1
010970065053002 1
010970065053003 1
010970065053001 1
010970066001016 1
010970066001007 1
010970066001006 1
010970062021007 1
010970062021008 1
010970062021005 1
010970062021009 1
010970062021010 1
010970062021011 1
010970062012054 1
010970062021013 1
010970062021012 1
010970062012055 1
010970062012053 1
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010970062012039 1
010970062012038 1
010970062012056 1
010970062012036 1
010970062012035 1
010970062012037 1
010970062012041 1
010970062021025 1
010970062012075 1
010970062012074 1
010970062012064 1
010970062012066 1
010970062012067 1
010970068023020 1
010970070003001 1
010970068023015 1
010970068023016 1
010970068023024 1
010970070003000 1
010970068023002 1
010970068023003 1
010970068023001 1
010970070003002 1
010970070003004 1
010970070003003 1
010970068023017 1
010970068023000 1
010970030001044 1
010970070002001 1
010970068031002 1
010970068031005 1
010970037081011 1
010970068021003 1
010970037081012 1
010970037082007 1
010970068042014 1
010970037081010 1
010970037081008 1
010970037081009 1
010970037081007 1
010970071014002 1
010970071022009 1
010970071014004 1
010970071014003 1
010970071022011 1
010970071033019 1
010970071033005 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 265 of 401


010970071033006 1
010970071033008 1
010970071033007 1
010970071022028 1
010970071033004 1
010970071033010 1
010970071032012 1
010970071033000 1
010970071033003 1
010970071021030 1
010970071022026 1
010970071022024 1
010970071022025 1
010970071021031 1
010970071021033 1
010970071022020 1
010970071022021 1
010970071022022 1
010970071022023 1
010970071022006 1
010970071022008 1
010970071022004 1
010970070002000 1
010970070002024 1
010970070002003 1
010970070004002 1
010970020002029 1
010970020002024 1
010970020002028 1
010970020002037 1
010970020002026 1
010970070004030 1
010970071031003 1
010970070004029 1
010970070004028 1
010970070004027 1
010970070004017 1
010970070004018 1
010970070004023 1
010970070004024 1
010970070004025 1
010970070004026 1
010970070004015 1
010970070004016 1
010970070004008 1
010970072011001 1
010970072011000 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 266 of 401


010970072011002 1
010970067022012 1
010970067022011 1
010970072012002 1
010970072012001 1
010970067022013 1
010970072012000 1
010970071033009 1
010970067022009 1
010970067021016 1
010970067022001 1
010970067022008 1
010970067022000 1
010970071011008 1
010970071011009 1
010970071014008 1
010970071011003 1
010970071014007 1
010970071011002 1
010970067022010 1
010970071022027 1
010970071014006 1
010970071014005 1
010970071022010 1
010970071014001 1
010970071012015 1
010970071012005 1
010970070003016 1
010970070003048 1
010970070003049 1
010970070003015 1
010970070003014 1
010970070003011 1
010970071021037 1
010970071021011 1
010970071021003 1
010970071021010 1
010970071021004 1
010970070003050 1
010970070003017 1
010970070003012 1
010970070003051 1
010970070003045 1
010970070003044 1
010970070003046 1
010970071012002 1
010970070003018 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 267 of 401


010970071012001 1
010970071012000 1
010970069021021 1
010970070003019 1
010970069031020 1
010970069031021 1
010970069031022 1
010970069042008 1
010970069042017 1
010970069042016 1
010970069042015 1
010970069042009 1
010970069042014 1
010970069042010 1
010970069042012 1
010970071011004 1
010970071011005 1
010970071014000 1
010970071015000 1
010970071015004 1
010970071015001 1
010970071015003 1
010970071013008 1
010970071013002 1
010970071013004 1
010970071013003 1
010970071012012 1
010970071012019 1
010970068031011 1
010970068031001 1
010970068031000 1
010970068031006 1
010970065031005 1
010970065031006 1
010970065032007 1
010970065031004 1
010970065032003 1
010970065032000 1
010970065013005 1
010970065031007 1
010970065031008 1
010970065031010 1
010970065031003 1
010970071012009 1
010970071012018 1
010970069042013 1
010970071012008 1
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010970069021016 1
010970071012020 1
010970071012010 1
010970071012021 1
010970071012013 1
010970069021019 1
010970071012007 1
010970071012006 1
010970071012004 1
010970069042011 1
010970069042004 1
010970069042006 1
010970069042002 1
010970069042001 1
010970069042005 1
010970069042003 1
010970069042000 1
010970069042007 1
010970069023011 1
010970069023010 1
010970069023005 1
010970069023004 1
010970069041009 1
010970069031018 1
010970069043006 1
010970069031024 1
010970069031023 1
010970069031017 1
010970069031014 1
010970069031016 1
010970069031015 1
010970065013012 1
010970069041004 1
010970069041007 1
010970069041006 1
010970069041005 1
010970069032011 1
010970069032010 1
010970069032008 1
010970069032001 1
010970069032009 1
010970069032003 1
010970069032013 1
010970069032007 1
010970069032005 1
010970069032002 1
010970069032004 1
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010970069032006 1
010970068032009 1
010970065011003 1
010970065011001 1
010970069041018 1
010970069041021 1
010970069041017 1
010970069041015 1
010970065011016 1
010970065011000 1
010970069041019 1
010970069041016 1
010970069041020 1
010970069041014 1
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010970069041003 1
010970069041001 1
010970069041002 1
010970069041011 1
010970069041000 1
010970069043005 1
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010970069043001 1
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010970069043004 1
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010970069041010 1
010970069041012 1
010970069041008 1
010970065013009 1
010970065012005 1
010970065013007 1
010970065032012 1
010970065013006 1
010970065013008 1
010970065012003 1
010970065013010 1
010970065012000 1
010970065013011 1
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010970065011009 1
010970065011015 1
010970065012006 1
010970065012012 1
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010970065011004 1
010970065012002 1
010970065012004 1
010970065012001 1
010970065013014 1
010970065013013 1
010970065051005 1
010970065041002 1
010970065012011 1
010970065012008 1
010970065041001 1
010970065052001 1
010970065051018 1
010970065051007 1
010970065041000 1
010970065052000 1
010970065051008 1
010970065013016 1
010970065013015 1
010970065032013 1
010970065032010 1
010970065032011 1
010970065051002 1
010970067023008 1
010970067041003 1
010970067041002 1
010970067022020 1
010970067023031 1
010970067023009 1
010970067022018 1
010970067022014 1
010970067022021 1
010970067022016 1
010970067041028 1
010970067041019 1
010970067041020 1
010970067041021 1
010970072011019 1
010970072011006 1
010970072011020 1
010970072011005 1
010970067041001 1
010970067041000 1
010970067022015 1
010970067022017 1
010970072011004 1
010970067022019 1
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010970067022007 1
010970067023000 1
010970067023007 1
010970065011006 1
010970065011005 1
010970067023002 1
010970067021005 1
010970067021008 1
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010970067021007 1
010970065011013 1
010970067041016 1
010970067041012 1
010970067041004 1
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010970067041013 1
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010970067041006 1
010970067031007 1
010970067031005 1
010970072011018 1
010970072011016 1
010970072011017 1
010970067031000 1
010970072011012 1
010970067042002 1
010970067023030 1
010970067042001 1
010970067023029 1
010970067023019 1
010970067023015 1
010970067023016 1
010970067042003 1
010970073003002 1
010970072011029 1
010970072011026 1
010970067031003 1
010970072011028 1
010970072011027 1
010970072011022 1
010970072011025 1
010970067032011 1
010970067032009 1
010970067031016 1
010970067032000 1
010970067031002 1
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010970067041025 1
010970067041026 1
010970067041027 1
010970067041017 1
010970067031013 1
010970067031015 1
010970067031012 1
010970067031011 1
010970067031014 1
010970067041023 1
010970067031010 1
010970067041022 1
010970067031009 1
010970067031008 1
010970067031001 1
010970067031004 1
010970072011024 1
010970072011021 1
010970067031006 1
010970071031047 1
010970071031058 1
010970071031044 1
010970071031061 1
010970071031065 1
010970071031048 1
010970071031042 1
010970071031060 1
010970071031071 1
010970071031064 1
010970071031062 1
010970071031041 1
010970071032008 1
010970071032017 1
010970071032000 1
010970071032003 1
010970071032005 1
010970071032001 1
010970071032006 1
010970071032007 1
010970071031022 1
010970071032004 1
010970071031018 1
010970071021041 1
010970071021039 1
010970071021022 1
010970071021021 1
010970071021020 1
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010970071031016 1
010970071031017 1
010970071021040 1
010970071021019 1
010970071031008 1
010970071031005 1
010970071031006 1
010970071031045 1
010970071032016 1
010970071031063 1
010970071031068 1
010970071031066 1
010970071031070 1
010970071031059 1
010970071031067 1
010970071031069 1
010970071031046 1
010970071031039 1
010970071031036 1
010970071031034 1
010970071031032 1
010970071031030 1
010970071031037 1
010970071031029 1
010970071031043 1
010970071031033 1
010970071031031 1
010970071031028 1
010970071032002 1
010970071031035 1
010970071031038 1
010970068021023 1
010970068023043 1
010970068023042 1
010970068023039 1
010970068023040 1
010970068023041 1
010970071022000 1
010970071022001 1
010970071013007 1
010970071022002 1
010970071022005 1
010970071022007 1
010970071022003 1
010970071021009 1
010970071013005 1
010970071013001 1
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010970071013006 1
010970071021008 1
010970071021007 1
010970071021006 1
010970071013000 1
010970070003047 1
010970071021016 1
010970071021014 1
010970071021012 1
010970071021005 1
010970071012011 1
010970071012014 1
010970071012017 1
010970070003053 1
010970070003013 1
010970071012016 1
010970037081004 1
010970068042000 1
010970068042001 1
010970037081006 1
010970037081005 1
010970037082008 1
010970037082004 1
010970037082003 1
010970037082002 1
010970037083007 1
010970037083004 1
010970037081000 1
010970037081001 1
010970037081003 1
010970037082006 1
010970037082009 1
010970037112007 1
010970037111014 1
010970037111011 1
010970037111013 1
010970037111008 1
010970037111012 1
010970037111010 1
010970037111009 1
010970037111004 1
010970037111005 1
010970037082005 1
010970037082001 1
010970068041015 1
010970068041013 1
010970068041012 1
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010970068041002 1
010970068041003 1
010970068041001 1
010970068032001 1
010970068032008 1
010970068041019 1
010970068042013 1
010970068031004 1
010970068031003 1
010970068042010 1
010970068041014 1
010970068042012 1
010970068042011 1
010970068042008 1
010970068042003 1
010970068042009 1
010970068042015 1
010970068042005 1
010970068042006 1
010970068042007 1
010970068042004 1
010970070004013 1
010970070001024 1
010970070001023 1
010970070001012 1
010970070001011 1
010970070001013 1
010970070001014 1
010970070001015 1
010970070001025 1
010970070001026 1
010970070001005 1
010970070001004 1
010970070001009 1
010970070004014 1
010970070001016 1
010970070001017 1
010970070004001 1
010970019012015 1
010970019012016 1
010970070001006 1
010970070001022 1
010970070001021 1
010970070004032 1
010970070001018 1
010970070001019 1
010970067032013 1
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010970067032010 1
010970067032012 1
010970067032008 1
010970073004008 1
010970073004006 1
010970073004007 1
010970067032017 1
010970073004052 1
010970067032016 1
010970067032015 1
010970067043021 1
010970067043022 1
010970067043017 1
010970067043012 1
010970067043013 1
010970067043019 1
010970067043018 1
010970067043016 1
010970067043020 1
010970067043015 1
010970067043014 1
010970067032014 1
010970067032004 1
010970067032002 1
010970067032006 1
010970067032003 1
010970067032001 1
010970067042000 1
010970067041011 1
010970067041010 1
010970067041007 1
010970067023014 1
010970067023028 1
010970067023027 1
010970067023013 1
010970067023004 1
010970067023003 1
010970067023005 1
010970067041009 1
010970067041008 1
010970067023012 1
010970067023011 1
010970067023006 1
010970067023010 1
010970067023001 1
010970067023021 1
010970065011019 1
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010970067023022 1
010970065011017 1
010970065011020 1
010970065041015 1
010970067023024 1
010970067023023 1
010970065041016 1
010970067043002 1
010970067043001 1
010970067043000 1
010970067023017 1
010970067023020 1
010970067023018 1
010970065041014 1
010970065041007 1
010970065041013 1
010970065041012 1
010970065041010 1
010970065041009 1
010970065041008 1
010970065041011 1
010970065011022 1
010970065011018 1
010970065011011 1
010970065011012 1
010970065031001 1
010970065032004 1
010970065032001 1
010970065032002 1
010970064123004 1
010970064122004 1
010970064123002 1
010970064122003 1
010970064123005 1
010970064123006 1
010970064121015 1
010970064121012 1
010970064123003 1
010970064123001 1
010970064123000 1
010970064121002 1
010970064121013 1
010970064121014 1
010970065031009 1
010970065013004 1
010970065013003 1
010970068043006 1
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010970068032006 1
010970068032002 1
010970068032010 1
010970068032007 1
010970068032004 1
010970068032011 1
010970068032005 1
010970068032003 1
010970068032000 1
010970069032012 1
010970069031013 1
010970069031005 1
010970069031006 1
010970069031012 1
010970069031007 1
010970069031010 1
010970069032000 1
010970069031011 1
010970069031002 1
010970069031008 1
010970069031009 1
010970069031001 1
010970069031004 1
010970069031003 1
010970069031000 1
010970068031010 1
010970068031009 1
010970065031011 1
010970065031002 1
010970068043005 1
010970068043004 1
010970064121016 1
010970064121011 1
010970065031000 1
010970064121005 1
010970064121007 1
010970064121006 1
010970064121009 1
010970068043008 1
010970068043007 1
010970068043003 1
010970068041010 1
010970068042002 1
010970064082010 1
010970068041004 1
010970064082006 1
010970064082004 1
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010970064082002 1
010970064082001 1
010970064082005 1
010970064081013 1
010970064082007 1
010970064081010 1
010970064082000 1
010970064081008 1
010970064081009 1
010970064081011 1
010970064093025 1
010970064081003 1
010970064081004 1
010970064092006 1
010970070002018 1
010970070002032 1
010970070002014 1
010970070002013 1
010970070002007 1
010970070002016 1
010970070002011 1
010970070002008 1
010970070002010 1
010970070002009 1
010970070002002 1
010970070002021 1
010970070002028 1
010970070002017 1
010970070002027 1
010970070002022 1
010970070002020 1
010970070002023 1
010970070002012 1
010970070002005 1
010970070002006 1
010970070002004 1
010970070003036 1
010970070004007 1
010970070002026 1
010970070004006 1
010970070004005 1
010970070004003 1
010970070004010 1
010970070004004 1
010970070002019 1
010970032053007 1
010970032053011 1
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010970032053010 1
010970032053009 1
010970032053006 1
010970032051009 1
010970032053008 1
010970032053005 1
010970032051010 1
010970032051008 1
010970032051007 1
010970032073001 1
010970032073004 1
010970032073003 1
010970032073002 1
010970032073006 1
010970032051003 1
010970032073005 1
010970032073000 1
010970032053004 1
010970031003013 1
010970031003005 1
010970032051002 1
010970032051001 1
010970032053003 1
010970031001017 1
010970031001015 1
010970031001008 1
010970031001011 1
010970031001016 1
010970031001012 1
010970031001025 1
010970030001000 1
010970031001007 1
010970031001006 1
010970037121002 1
010970037121000 1
010970037121001 1
010970037062002 1
010970037062004 1
010970037062005 1
010970037101014 1
010970037101013 1
010970037071029 1
010970037062003 1
010970037062006 1
010970037062000 1
010970037073007 1
010970037072008 1
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010970037071028 1
010970037071030 1
010970037072004 1
010970037071027 1
010970037072005 1
010970037101018 1
010970037101019 1
010970037101011 1
010970037103013 1
010970031001022 1
010970030001029 1
010970031001021 1
010970037103017 1
010970037103012 1
010970031001020 1
010970031001019 1
010970037103007 1
010970037103008 1
010970037103001 1
010970037101006 1
010970037103009 1
010970037103011 1
010970037103010 1
010970037103000 1
010970031001013 1
010970031001010 1
010970031001009 1
010970031001026 1
010970031001023 1
010970031001024 1
010970031001018 1
010970030001028 1
010970030001042 1
010970030001043 1
010970030001007 1
010970030001024 1
010970030001027 1
010970030001025 1
010970030001047 1
010970031001014 1
010970037122013 1
010970037103035 1
010970030001035 1
010970037103029 1
010970037103033 1
010970037103027 1
010970030001041 1
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010970030001032 1
010970030001031 1
010970037103028 1
010970030001030 1
010970030001045 1
010970030001016 1
010970030001015 1
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010970030001017 1
010970030001022 1
010970030001023 1
010970030001021 1
010970030001020 1
010970030001018 1
010970030001046 1
010970030001005 1
010970037103026 1
010970037103021 1
010970037103020 1
010970037103014 1
010970037103016 1
010970037103015 1
010970037103004 1
010970037103019 1
010970037103018 1
010970031002023 1
010970031002015 1
010970037071019 1
010970037071018 1
010970032022017 1
010970037101010 1
010970037101001 1
010970032022016 1
010970037071021 1
010970032022010 1
010970032022011 1
010970032022009 1
010970037101000 1
010970031002009 1
010970032022012 1
010970032022007 1
010970032022008 1
010970032022006 1
010970032021017 1
010970032021018 1
010970031002014 1
010970031001005 1
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010970031002012 1
010970031002016 1
010970031002013 1
010970031002010 1
010970031002017 1
010970031001004 1
010970031002018 1
010970031002019 1
010970031001003 1
010970031002022 1
010970070004009 1
010970070003021 1
010970070003023 1
010970070003006 1
010970070003010 1
010970070003005 1
010970070002037 1
010970070002030 1
010970070002015 1
010970070003022 1
010970070003027 1
010970070002029 1
010970070003039 1
010970070003037 1
010970070002031 1
010970070002033 1
010970070002034 1
010970070002035 1
010970070003040 1
010970070002025 1
010970070003035 1
010970070002036 1
010970037042015 1
010970037042013 1
010970037042018 1
010970037042019 1
010970037042020 1
010970068021000 1
010970037122006 1
010970037123003 1
010970037122005 1
010970037122011 1
010970037122004 1
010970037122007 1
010970037122009 1
010970037122008 1
010970037122010 1
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010970037122014 1
010970037122003 1
010970037122015 1
010970037123006 1
010970037123005 1
010970037122002 1
010970037122001 1
010970037122000 1
010970037103034 1
010970037102004 1
010970037103031 1
010970037103030 1
010970037123004 1
010970037123001 1
010970037123002 1
010970037123000 1
010970037102001 1
010970069023006 1
010970069023009 1
010970069023008 1
010970069023007 1
010970069023003 1
010970069023013 1
010970069023002 1
010970068031013 1
010970068031012 1
010970068021020 1
010970068021019 1
010970068021017 1
010970068021018 1
010970068021016 1
010970068021015 1
010970068021014 1
010970068031007 1
010970068031008 1
010970068021005 1
010970068021007 1
010970068021024 1
010970068021012 1
010970068021025 1
010970068021008 1
010970068021010 1
010970068021026 1
010970068021006 1
010970068021013 1
010970068021004 1
010970068021009 1
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010970068021011 1
010970069023012 1
010970069022013 1
010970069022012 1
010970069021015 1
010970069022014 1
010970069022007 1
010970069022008 1
010970069023001 1
010970069022009 1
010970069023000 1
010970069022011 1
010970069022001 1
010970069022002 1
010970069022003 1
010970069022010 1
010970069021017 1
010970069021018 1
010970069021014 1
010970069021012 1
010970069021013 1
010970071012003 1
010970069021020 1
010970069021008 1
010970069022006 1
010970069022004 1
010970069022000 1
010970069022005 1
010970069021006 1
010970069021004 1
010970069021003 1
010970068021002 1
010970068021021 1
010970068021022 1
010970070001002 1
010970070001030 1
010970070001001 1
010970070001020 1
010970018001009 1
010970018001010 1
010970070004000 1
010970070004031 1
010970019012009 1
010970019012008 1
010970019012014 1
010970019012007 1
010970019012004 1
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010970019022014 1
010970019022003 1
010970019022001 1
010970019022002 1
010970019022005 1
010970019022006 1
010970019022004 1
010970019022013 1
010970031001002 1
010970031001000 1
010970030002021 1
010970030002019 1
010970030001009 1
010970030001011 1
010970030002022 1
010970030002020 1
010970030002023 1
010970030002026 1
010970030002024 1
010970030002009 1
010970030002016 1
010970030002011 1
010970030002007 1
010970020002021 1
010970020002022 1
010970020002020 1
010970020002019 1
010970020002015 1
010970020002009 1
010970020002011 1
010970020002012 1
010970020002017 1
010970020002007 1
010970031002001 1
010970031003015 1
010970031002002 1
010970031002000 1
010970030002018 1
010970031003026 1
010970030002005 1
010970031003027 1
010970031003022 1
010970030002010 1
010970030002008 1
010970030002012 1
010970030002013 1
010970030002006 1
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010970031003023 1
010970031003021 1
010970030002004 1
010970031003024 1
010970031003014 1
010970031003016 1
010970031003017 1
010970031003018 1
010970031003019 1
010970031003009 1
010970031003011 1
010970031003012 1
010970031003006 1
010970032021013 1
010970032052004 1
010970032052000 1
010970032052005 1
010970068021001 1
010970068023035 1
010970068023012 1
010970068022014 1
010970068023029 1
010970068023030 1
010970068022008 1
010970068023031 1
010970068023018 1
010970068023022 1
010970068022007 1
010970068023028 1
010970068023014 1
010970068023027 1
010970068022000 1
010970068023011 1
010970068023019 1
010970068023007 1
010970068023023 1
010970068023010 1
010970068023034 1
010970068023006 1
010970068023009 1
010970068023008 1
010970068023005 1
010970070003008 1
010970070003009 1
010970070003007 1
010970020002023 1
010970020002025 1
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010970020002016 1
010970020002005 1
010970020002006 1
010970030002027 1
010970020002008 1
010970030002025 1
010970030002028 1
010970030002029 1
010970020002000 1
010970021003018 1
010970021003012 1
010970021003014 1
010970021003013 1
010970021003015 1
010970021003017 1
010970021003010 1
010970031001001 1
010970031002020 1
010970031002021 1
010970031003030 1
010970030002017 1
010970031003029 1
010970031003028 1
010970031002005 1
010970069021005 1
010970069021002 1
010970069021001 1
010970069021009 1
010970069021007 1
010970069021011 1
010970069021010 1
010970069021000 1
010970068023026 1
010970068023025 1
010970068023033 1
010970068023032 1
010970068023021 1
010970068022015 1
010970068022006 1
010970068022016 1
010970068022011 1
010970068022010 1
010970068022005 1
010970068022004 1
010970068022012 1
010970068022009 1
010970068022013 1
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010970068022003 1
010970068022002 1
010970068022001 1
010970068023013 1
010970068023038 1
010970068023044 1
010970068023036 1
010970068023037 1
010970037121018 1
010970037121019 1
010970037121016 1
010970037121017 1
010970037121005 1
010970037102000 1
010970037101016 1
010970037102003 1
010970037103024 1
010970037102005 1
010970037103025 1
010970037103032 1
010970037103022 1
010970037103023 1
010970037102002 1
010970037101015 1
010970037101021 1
010970037101017 1
010970037103003 1
010970037103002 1
010970037103005 1
010970037103006 1
010970037101020 1
010970068023004 1
010970030001037 1
010970030001034 1
010970037122012 1
010970030001036 1
010970030001033 1
010970030001038 1
010970030001039 1
010970030001040 1
010970037062011 1
010970037062007 1
010970037121004 1
010970037121011 1
010970037121006 1
010970037121012 1
010970037121003 1
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010970037062009 1
010970037062010 1
010970037061010 1
010970037062001 1
010970037051004 1
010970037051001 1
010970037031012 1
010970037061008 1
010970037061004 1
010970037061005 1
010970037061002 1
010970037061006 1
010970037043029 1
010970037043022 1
010970037043028 1
010970037031010 1
010970037031007 1
010970037031008 1
010970037043031 1
010970037043023 1
010970037083006 1
010970037082000 1
010970037112006 1
010970037112005 1
010970037083002 1
010970037083005 1
010970037083003 1
010970037083000 1
010970037112003 1
010970037112004 1
010970037111007 1
010970037111006 1
010970037111003 1
010970037111015 1
010970037111002 1
010970037111001 1
010970037111000 1
010970037121014 1
010970037121007 1
010970037121008 1
010970037121013 1
010970037121010 1
010970037121015 1
010970037053005 1
010970037053006 1
010970037053004 1
010970037053003 1
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010970031002008 1
010970031002011 1
010970031002007 1
010970032022015 1
010970032022013 1
010970032022014 1
010970031002006 1
010970031002004 1
010970031002003 1
010970037071016 1
010970037071015 1
010970032022003 1
010970037071013 1
010970037071014 1
010970032022004 1
010970032022002 1
010970037071007 1
010970032022001 1
010970032032019 1
010970032022005 1
010970032021011 1
010970032021016 1
010970032021015 1
010970032022000 1
010970032021007 1
010970032021006 1
010970032021005 1
010970032032025 1
010970032032020 1
010970032032018 1
010970032032003 1
010970032032026 1
010970031003025 1
010970031003020 1
010970030002014 1
010970031003008 1
010970031003010 1
010970031003007 1
010970030002002 1
010970030002001 1
010970021003016 1
010970030002000 1
010970021001013 1
010970029002025 1
010970021001012 1
010970031003004 1
010970031003003 1
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010970031003002 1
010970031003001 1
010970032053001 1
010970032053000 1
010970031003000 1
010970029003036 1
010970029002024 1
010970029003035 1
010970029003026 1
010970020002001 1
010970021003004 1
010970021003008 1
010970021003001 1
010970021003002 1
010970021003005 1
010970021003011 1
010970021003006 1
010970021003009 1
010970021003000 1
010970021003007 1
010970020002002 1
010970020001010 1
010970074004022 1
010970020001011 1
010970074004020 1
010970020001002 1
010970020001007 1
010970020001001 1
010970022002006 1
010970022002008 1
010970022002007 1
010970022002010 1
010970022002009 1
010970020001004 1
010970020001006 1
010970020001003 1
010970020001008 1
010970022002012 1
010970021002004 1
010970021002006 1
010970021002002 1
010970021001009 1
010970021001011 1
010970021001010 1
010970021002003 1
010970021002001 1
010970021002000 1
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010970021001007 1
010970021001015 1
010970021001014 1
010970022002011 1
010970021002005 1
010970022002004 1
010970022003013 1
010970022002003 1
010970022003012 1
010970022002005 1
010970022002001 1
010970022003009 1
010970022002002 1
010970022003007 1
010970022003011 1
010970022003005 1
010970022003010 1
010970022003006 1
010970021001006 1
010970029002007 1
010970029002006 1
010970021001008 1
010970029002017 1
010970074004014 1
010970020001009 1
010970020001005 1
010970020001000 1
010970074004015 1
010970074004011 1
010970074004010 1
010970074004009 1
010970074004017 1
010970074004018 1
010970074004012 1
010970074004004 1
010970074004008 1
010970074004023 1
010970074004007 1
010970074004002 1
010970074004005 1
010970074002008 1
010970074002011 1
010970074002010 1
010970074002009 1
010970074004006 1
010970074004001 1
010970021003003 1
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010970021002009 1
010970021002010 1
010970021002011 1
010970021002008 1
010970021002007 1
010970021002013 1
010970021002014 1
010970021002012 1
010970061071064 1
010970061022023 1
010970061022026 1
010970061022021 1
010970061071057 1
010970061071065 1
010970061071047 1
010970061071058 1
010970061071046 1
010970061071036 1
010970061071045 1
010970061071069 1
010970061071067 1
010970061071066 1
010970061071044 1
010970061071072 1
010970061071043 1
010970061071071 1
010970061071034 1
010970061022016 1
010970061022017 1
010970061071025 1
010970061022020 1
010970061071027 1
010970061071070 1
010970061071028 1
010970061071029 1
010970061071026 1
010970061071024 1
010970061071030 1
010970061071042 1
010970061071040 1
010970063052004 1
010970061043021 1
010970061043017 1
010970061043016 1
010970061043020 1
010970061043022 1
010970061043004 1
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010970061043015 1
010970061043002 1
010970061043005 1
010970061041031 1
010970061041033 1
010970061041032 1
010970061043006 1
010970061042049 1
010970061042048 1
010970061043007 1
010970061042046 1
010970061043008 1
010970061043001 1
010970061041029 1
010970061071068 1
010970061022024 1
010970061022022 1
010970061071061 1
010970063051015 1
010970063052011 1
010970063051039 1
010970061021007 1
010970063051038 1
010970061021005 1
010970061021011 1
010970061021006 1
010970061021008 1
010970061021009 1
010970061021010 1
010970061021004 1
010970063051004 1
010970061021001 1
010970061021002 1
010970061021003 1
010970061071089 1
010970061071051 1
010970061022027 1
010970061071059 1
010970061022025 1
010970061071062 1
010970061071063 1
010970061071060 1
010970061071050 1
010970061071056 1
010970061071049 1
010970061071037 1
010970061071048 1
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010970061021000 1
010970061071092 1
010970061071090 1
010970059003078 1
010970063051005 1
010970063051000 1
010970063051014 1
010970063051028 1
010970063051001 1
010970063052009 1
010970063052010 1
010970036062016 1
010970036062008 1
010970036061010 1
010970036062003 1
010970036062011 1
010970036063000 1
010970036062000 1
010970036062007 1
010970036073010 1
010970036073001 1
010970036073009 1
010970036073002 1
010970036073008 1
010970036073000 1
010979800001007 1
010979800001006 1
010979800001008 1
010970036022011 1
010970036022008 1
010970036022007 1
010970036022013 1
010970036022012 1
010970036022006 1
010979800001003 1
010979800001002 1
010979800001001 1
010979800001005 1
010970036081023 1
010970036081025 1
010970064021045 1
010970064021013 1
010970036022002 1
010970054003013 1
010970054003010 1
010970053001024 1
010970054003033 1
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010970054003015 1
010970054003012 1
010970053001020 1
010970053001017 1
010970053001021 1
010970053001019 1
010970053001022 1
010970053001007 1
010970053001015 1
010970053001018 1
010970053001013 1
010970053001027 1
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010970053001011 1
010970053001035 1
010970053001040 1
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010970053001037 1
010970053001029 1
010970053001034 1
010970053001036 1
010970053001005 1
010970053001003 1
010970053001002 1
010970053001009 1
010970053001006 1
010970054003016 1
010970054003017 1
010970061072038 1
010970061042039 1
010970061042042 1
010970061042022 1
010970061042037 1
010970061042040 1
010970061042036 1
010970061042053 1
010970061042044 1
010970061042043 1
010970061042025 1
010970061042026 1
010970061042027 1
010970061071082 1
010970061071081 1
010970061072040 1
010970061072041 1
010970061072045 1
010970061072034 1
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010970061072035 1
010970061072000 1
010970061072005 1
010970061072004 1
010970061072007 1
010970061072006 1
010970061042007 1
010970061042030 1
010970061042005 1
010970061072002 1
010970061042020 1
010970061042009 1
010970061072001 1
010970061042004 1
010970061042019 1
010970061042017 1
010970061042018 1
010970061042054 1
010970057011061 1
010970061042015 1
010970061042023 1
010970061042013 1
010970061042014 1
010970061041023 1
010970061041022 1
010970061044040 1
010970061044039 1
010970061044038 1
010970036021001 1
010970034041024 1
010970034041019 1
010970034041018 1
010970034041036 1
010970034041021 1
010970034102028 1
010970034041017 1
010970034041016 1
010970036022000 1
010970034041037 1
010970034041020 1
010970036022001 1
010970034041025 1
010970036022005 1
010970036022004 1
010970036081006 1
010970034041026 1
010970034041027 1
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010970034041029 1
010970034041015 1
010970034041028 1
010970034041022 1
010970034041035 1
010970034041030 1
010970034041014 1
010970034041023 1
010970034041011 1
010970034102023 1
010970034102022 1
010970034102027 1
010970034102024 1
010970061021043 1
010970061021059 1
010970061021045 1
010970034092009 1
010970061021041 1
010970061021040 1
010970061021060 1
010970061021042 1
010970061021038 1
010970061021035 1
010970061021036 1
010970061021034 1
010970061022043 1
010970061022044 1
010970061021037 1
010970061022006 1
010970061022008 1
010970061022045 1
010970061022037 1
010970061022038 1
010970061022039 1
010970061022031 1
010970061022033 1
010970061022032 1
010970061022041 1
010970061022042 1
010970061022040 1
010970061022010 1
010970061022012 1
010970061022035 1
010970061022034 1
010970061022009 1
010970061061001 1
010970061061000 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 300 of 401


010970061062022 1
010970054002006 1
010970054002008 1
010970054002010 1
010970054003008 1
010970054003007 1
010970054002009 1
010970054002012 1
010970061062023 1
010970054002007 1
010970061062011 1
010970061072018 1
010970057011059 1
010970061062010 1
010970061062002 1
010970057011062 1
010970057012069 1
010970057012068 1
010970061062008 1
010970061062007 1
010970061062009 1
010970061062003 1
010970061062001 1
010970054003006 1
010970063071039 1
010970063071042 1
010970063071040 1
010970063071041 1
010970063071024 1
010970063071023 1
010970063071001 1
010970061021072 1
010970061021019 1
010970061021020 1
010970061021021 1
010970061021024 1
010970061021025 1
010970061021026 1
010970061021022 1
010970061021023 1
010970061022028 1
010970061021027 1
010970061022049 1
010970061022029 1
010970061022048 1
010970061022030 1
010970061022019 1
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010970061022018 1
010970063071048 1
010970063071046 1
010970034092018 1
010970034092001 1
010970063071033 1
010970034092000 1
010970061021046 1
010970061021044 1
010970036071003 1
010970036071001 1
010970036023003 1
010970036023004 1
010970064021047 1
010970064021042 1
010970064021039 1
010970064021038 1
010970064021035 1
010970064021034 1
010970064021031 1
010970064021048 1
010970064021041 1
010970064021040 1
010970064021037 1
010970064021036 1
010970064021033 1
010970064021032 1
010970064021030 1
010970064021011 1
010970064021029 1
010970064021028 1
010970036021005 1
010970036022015 1
010970036021004 1
010970036021002 1
010970036021003 1
010970036071004 1
010970036071002 1
010970036073011 1
010970036073004 1
010970036023002 1
010970034102025 1
010970034102026 1
010970034102029 1
010970034041003 1
010970034102030 1
010970034102010 1
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010970034101016 1
010970034101017 1
010970034041002 1
010970034102008 1
010970034041013 1
010970034102009 1
010970034041001 1
010970034041012 1
010970034041000 1
010970034041004 1
010970034102002 1
010970034102004 1
010970034102005 1
010970034102007 1
010970034102003 1
010970036081018 1
010970036081007 1
010970036081013 1
010970036081016 1
010970036081010 1
010970034041031 1
010970036081003 1
010970036081021 1
010970034051026 1
010970036081004 1
010970034051027 1
010970034103001 1
010970034103006 1
010970034103032 1
010970034103005 1
010970063072044 1
010970063072042 1
010970034103029 1
010970034103028 1
010970034103014 1
010970034103013 1
010970034103011 1
010970034103010 1
010970034103012 1
010970063072046 1
010970063072076 1
010970063071063 1
010970063071062 1
010970034103015 1
010970034092015 1
010970034092017 1
010970063071060 1
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010970034092016 1
010970034092014 1
010970034103008 1
010970034103009 1
010970034092022 1
010970034103004 1
010970034092020 1
010970034092006 1
010970034092004 1
010970034092011 1
010970034092003 1
010970063071056 1
010970063071055 1
010970063071058 1
010970063072040 1
010970063072041 1
010970063072045 1
010970063071061 1
010970034102014 1
010970063061042 1
010970034103023 1
010970034103030 1
010970034103031 1
010970034103020 1
010970034103021 1
010970063061041 1
010970063072064 1
010970063072063 1
010970034103022 1
010970034103018 1
010970034103017 1
010970034103019 1
010970034103016 1
010970034103024 1
010970034103027 1
010970034101015 1
010970034103002 1
010970034103026 1
010970034103025 1
010970034103007 1
010970061021052 1
010970061021053 1
010970061021054 1
010970063071017 1
010970061021047 1
010970061021050 1
010970061021055 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 304 of 401


010970061021073 1
010970061021015 1
010970063051032 1
010970063051033 1
010970061021031 1
010970061021033 1
010970061021029 1
010970061021032 1
010970061021016 1
010970061021012 1
010970061021014 1
010970061021030 1
010970061021028 1
010970061021058 1
010970063071003 1
010970063071011 1
010970061021057 1
010970061021018 1
010970061021013 1
010970061021017 1
010970063062007 1
010970063062008 1
010970063051027 1
010970063051008 1
010970063051031 1
010970063051029 1
010970063051009 1
010970063051010 1
010970063051013 1
010970063072019 1
010970063072016 1
010970063072020 1
010970063072062 1
010970063072022 1
010970063072075 1
010970063051036 1
010970063072007 1
010970063072060 1
010970063072059 1
010970063072005 1
010970063072021 1
010970063072011 1
010970063072010 1
010970063072008 1
010970063072004 1
010970063072006 1
010970063072003 1
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010970063051035 1
010970063072012 1
010970034091005 1
010970034101006 1
010970034091017 1
010970034081001 1
010970061021068 1
010970034092012 1
010970034092013 1
010970061021063 1
010970034091012 1
010970034091013 1
010970034092023 1
010970061021061 1
010970061021066 1
010970061021067 1
010970061021062 1
010970061022062 1
010970061022051 1
010970061022005 1
010970061022060 1
010970061022050 1
010970061022061 1
010970061022046 1
010970061022003 1
010970061021069 1
010970061021070 1
010970061021065 1
010970061021064 1
010970064023006 1
010970064021001 1
010970064021002 1
010970064021046 1
010970064021012 1
010970064021000 1
010970034102021 1
010970063062038 1
010970034102020 1
010970034102019 1
010970034102016 1
010970034102017 1
010970034102015 1
010970034102013 1
010970034102011 1
010970034102018 1
010970034102012 1
010970063061053 1
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010970063061031 1
010970063062019 1
010970063061054 1
010970063061052 1
010970063061030 1
010970064021020 1
010970064021019 1
010970064021015 1
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010970064031002 1
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010970064021008 1
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010970064031004 1
010970064031017 1
010970064021052 1
010970064021051 1
010970064021004 1
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010970064021003 1
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010970064021005 1
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010970064023008 1
010970064023003 1
010970034062013 1
010970035011015 1
010970034061009 1
010970034061004 1
010970035011016 1
010970035011017 1
010970033022007 1
010970033022008 1
010970034061008 1
010970034061002 1
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010970034061003 1
010970034062000 1
010970034061011 1
010970034061010 1
010970034062004 1
010970034062003 1
010970034081013 1
010970034062001 1
010970034023001 1
010970034081004 1
010970034023000 1
010970034022016 1
010970034022015 1
010970034022027 1
010970034022014 1
010970034023003 1
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010970034022017 1
010970034101014 1
010970034101008 1
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010970034101012 1
010970034101013 1
010970034103000 1
010970034101005 1
010970034101003 1
010970034101007 1
010970034101011 1
010970034101010 1
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010970034101001 1
010970034101000 1
010970034103003 1
010970034092019 1
010970034092021 1
010970034092010 1
010970034091010 1
010970034091002 1
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010970034091018 1
010970034091015 1
010970034091003 1
010970034091016 1
010970034091008 1
010970034091007 1
010970064111001 1
010970064114011 1
010970064112009 1
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010970064112004 1
010970064112003 1
010970064031034 1
010970064114004 1
010970064114003 1
010970064031013 1
010970064114010 1
010970064114006 1
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010970064031023 1
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010970064114002 1
010970064031008 1
010970064032029 1
010970064023026 1
010970064031007 1
010970064021023 1
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010970064031010 1
010970064021024 1
010970064021018 1
010970064021025 1
010970064021026 1
010970064021022 1
010970064021021 1
010970064023020 1
010970061071033 1
010970061071032 1
010970061071008 1
010970061042051 1
010970061071031 1
010970061071007 1
010970061022014 1
010970061022015 1
010970061071073 1
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010970061071074 1
010970061071079 1
010970061071023 1
010970061071012 1
010970061022013 1
010970061071075 1
010970061071078 1
010970061071077 1
010970061071076 1
010970061071022 1
010970061071020 1
010970061071011 1
010970061071009 1
010970061071010 1
010970061042050 1
010970061042045 1
010970061071006 1
010970061071005 1
010970061042038 1
010970061042041 1
010970061043000 1
010970061041030 1
010970061033012 1
010970061031032 1
010970061031040 1
010970061033005 1
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010970061022058 1
010970061032014 1
010970061022059 1
010970061032000 1
010970061032003 1
010970061032002 1
010970061032001 1
010970061022063 1
010970061071085 1
010970061072047 1
010970061032006 1
010970061033002 1
010970061033011 1
010970061033010 1
010970037032002 1
010970037032004 1
010970037031000 1
010970036072006 1
010970036072007 1
010970036071010 1
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010970036071011 1
010970036071012 1
010970036071007 1
010970036072005 1
010970036072008 1
010970036072013 1
010970036072002 1
010970036072001 1
010970036072003 1
010970064031026 1
010970064031018 1
010970064031019 1
010970064031001 1
010970064031020 1
010970064031028 1
010970064031021 1
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010970064021053 1
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010970064021056 1
010970064021057 1
010970064031000 1
010970064021054 1
010970064021055 1
010970064021049 1
010970036071000 1
010970061042034 1
010970061071004 1
010970061071003 1
010970061042035 1
010970061041026 1
010970061041017 1
010970061041016 1
010970034092008 1
010970034092005 1
010970034092002 1
010970034092007 1
010970063072029 1
010970063072030 1
010970063072034 1
010970063071050 1
010970063071051 1
010970063071052 1
010970063071009 1
010970063071002 1
010970063071037 1
010970063071059 1
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010970063071057 1
010970063071054 1
010970063071049 1
010970063071047 1
010970063071044 1
010970063071036 1
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010970063071000 1
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010970063071038 1
010970063071034 1
010970063071043 1
010970061033001 1
010970061061036 1
010970061031003 1
010970061033007 1
010970061031001 1
010970061031004 1
010970061031002 1
010970061031000 1
010970061061035 1
010970061061008 1
010970061072054 1
010970061061009 1
010970061061006 1
010970061061034 1
010970061061037 1
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010970061061039 1
010970061061022 1
010970061061024 1
010970061061011 1
010970061061023 1
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010970061061040 1
010970061061021 1
010970061061020 1
010970061061025 1
010970061061014 1
010970061061013 1
010970061061012 1
010970039011008 1
010970039011009 1
010970061022054 1
010970061022057 1
010970061022056 1
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010970061022052 1
010970061022047 1
010970061022053 1
010970061022055 1
010970061022001 1
010970061022002 1
010970061022000 1
010970034081002 1
010970034081000 1
010970061032010 1
010970061032012 1
010970061032011 1
010970061021071 1
010970061032005 1
010970061032009 1
010970061032008 1
010970061032004 1
010970034022013 1
010970061032013 1
010970034022012 1
010970061031042 1
010970061031036 1
010970061031043 1
010970061031033 1
010970061031041 1
010970061032007 1
010970063062005 1
010970063062015 1
010970063062016 1
010970063062002 1
010970063062003 1
010970063062001 1
010970063061034 1
010970063061036 1
010970063061043 1
010970063061035 1
010970063062000 1
010970063061037 1
010970063061038 1
010970063061039 1
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010970063072055 1
010970063072056 1
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010970063072054 1
010970063072051 1
010970063072057 1
010970063072053 1
010970063072058 1
010970063072032 1
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010970063072048 1
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010970063072039 1
010970063072047 1
010970063032004 1
010970063032005 1
010970063042012 1
010970063042008 1
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010970063042007 1
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010970063042001 1
010970063042014 1
010970063031015 1
010970063031005 1
010970063031007 1
010970063031006 1
010970063031008 1
010970063032015 1
010970063031011 1
010970063031012 1
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010970063031024 1
010970063031034 1
010970063031033 1
010970063031026 1
010970063031025 1
010970063031010 1
010970063031002 1
010970063032011 1
010970063031004 1
010970063031027 1
010970063031036 1
010970063031000 1
010970063031003 1
010970063032013 1
010970063031001 1
010970063032014 1
010970063041038 1
010970063041037 1
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010970063041035 1
010970063062013 1
010970063062010 1
010970063061014 1
010970063061010 1
010970063061051 1
010970063061012 1
010970063061011 1
010970063061013 1
010970063062011 1
010970063061028 1
010970063061029 1
010970063061008 1
010970063061027 1
010970063061007 1
010970063061009 1
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010970063061004 1
010970063061005 1
010970063062009 1
010970063062012 1
010970063061049 1
010970063061048 1
010970063062041 1
010970063062006 1
010970063061006 1
010970063061046 1
010970063061047 1
010970063061045 1
010970063061044 1
010970063032012 1
010970063032008 1
010970063032003 1
010970063041050 1
010970063032002 1
010970063041015 1
010970063041016 1
010970063042009 1
010970063042011 1
010970063041014 1
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010970063041009 1
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010970063041007 1
010970063041013 1
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010970063041011 1
010970063041002 1
010970063041003 1
010970064023000 1
010970064023007 1
010970064023002 1
010970063062031 1
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010970063062028 1
010970063062022 1
010970063062014 1
010970063062023 1
010970063062004 1
010970063062033 1
010970063062037 1
010970063062035 1
010970063062034 1
010970063062025 1
010970063062030 1
010970063062026 1
010970063062024 1
010970063062029 1
010970063062027 1
010970064032012 1
010970064032011 1
010970064022007 1
010970064022008 1
010970064022009 1
010970064022005 1
010970063062040 1
010970063062039 1
010970063062020 1
010970064022004 1
010970064022003 1
010970063062017 1
010970063062018 1
010970064032007 1
010970064023019 1
010970064023018 1
010970064023017 1
010970064023012 1
010970064022010 1
010970064023013 1
010970064023014 1
010970064023011 1
010970063061033 1
010970063061050 1
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010970063072038 1
010970063072066 1
010970063072065 1
010970063072014 1
010970063072018 1
010970063072017 1
010970063072013 1
010970063072015 1
010970063072023 1
010970063072061 1
010970063061001 1
010970063061000 1
010970063061032 1
010970063061002 1
010970063072074 1
010970063072037 1
010970063072035 1
010970063072024 1
010970063072036 1
010970063072025 1
010970063072026 1
010970063072002 1
010970063072027 1
010970063072028 1
010970063072001 1
010970063041048 1
010970063041041 1
010970063041047 1
010970063041045 1
010970063041046 1
010970063041042 1
010970063041043 1
010970063041044 1
010970063041023 1
010970063041024 1
010970063041021 1
010970063041020 1
010970063041025 1
010970063041022 1
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010970063041039 1
010970063041049 1
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010970063041036 1
010970063041034 1
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010970063051037 1
010970063041029 1
010970063041028 1
010970063041027 1
010970063051025 1
010970063041032 1
010970063051034 1
010970063051026 1
010970063051007 1
010970063071022 1
010970063071021 1
010970063071019 1
010970063071020 1
010970063072000 1
010970063072009 1
010970063071027 1
010970063071028 1
010970063071026 1
010970063071014 1
010970063071016 1
010970063071005 1
010970063071012 1
010970063071010 1
010970063071004 1
010970063071008 1
010970063071015 1
010970063071053 1
010970063071031 1
010970063071030 1
010970063071032 1
010970063071013 1
010970063071029 1
010970063071025 1
010970063071018 1
010970063071006 1
010970063071007 1
010970063051030 1
010970061021056 1
010970061021049 1
010970061021051 1
010970061021048 1
010970063061023 1
010970063061021 1
010970063061022 1
010970063061055 1
010970063062021 1
010970063061025 1
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010970063061024 1
010970063061026 1
010970063061016 1
010970063061015 1
010970063061017 1
010970063061020 1
010970063072071 1
010970063072072 1
010970063041040 1
010970063061019 1
010970063072073 1
010970063072068 1
010970063061018 1
010970063072069 1
010970063072067 1
010970063072070 1
010970063051019 1
010970062011011 1
010970063052002 1
010970063052008 1
010970063051017 1
010970063051012 1
010970063051016 1
010970063051002 1
010970063051006 1
010970063051018 1
010970063052013 1
010970063052007 1
010970063052012 1
010970063051011 1
010970063051003 1
010970062011010 1
010970063052001 1
010970062011004 1
010970062011005 1
010970062011006 1
010970063052003 1
010970063052000 1
010970063052005 1
010970063052006 1
010970062011013 1
010970062011002 1
010970061041025 1
010970061041010 1
010970061041015 1
010970061041011 1
010970059003082 1
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010970059003081 1
010970059003080 1
010970059003079 1
010970061041018 1
010970061041008 1
010970061041014 1
010970061041013 1
010970061041012 1
010970061041005 1
010970061041006 1
010970061041024 1
010970061071087 1
010970061071088 1
010970061071091 1
010970061043018 1
010970061043019 1
010970061071053 1
010970061071052 1
010970061043012 1
010970061043025 1
010970061043023 1
010970061043003 1
010970061071054 1
010970061043024 1
010970061043027 1
010970061043026 1
010970061043013 1
010970061043011 1
010970061071055 1
010970061071038 1
010970061071035 1
010970061071041 1
010970061071039 1
010970061043010 1
010970061043009 1
010970061043014 1
010970061042052 1
010970061042047 1
010970027002008 1
010970027002019 1
010970027002020 1
010970027002024 1
010970027001029 1
010970027001017 1
010970027001012 1
010970027002025 1
010970027002021 1
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010970027001013 1
010970027002026 1
010970027002027 1
010970026003018 1
010970033022006 1
010970033023010 1
010970033022009 1
010970033022002 1
010970033022004 1
010970034061001 1
010970034061007 1
010970034061006 1
010970034061000 1
010970033023008 1
010970033022003 1
010970033022001 1
010970033023007 1
010970048001025 1
010970048001024 1
010970048001027 1
010970048001013 1
010970048001021 1
010970048001014 1
010970048001032 1
010970048001019 1
010970048001020 1
010970048001037 1
010970048001049 1
010970048001040 1
010970048001041 1
010970048001008 1
010970048001010 1
010970048001006 1
010970048001011 1
010970077002001 1
010970077002005 1
010970075001037 1
010970075001012 1
010970075001015 1
010970075001038 1
010970075001013 1
010970075001018 1
010970075001014 1
010970075001017 1
010970075001020 1
010970075001019 1
010970075001021 1
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010970075001022 1
010970075001028 1
010970035011022 1
010970033023029 1
010970033023019 1
010970033023018 1
010970033021021 1
010970033021013 1
010970033021020 1
010970033021012 1
010970033023027 1
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010970033021011 1
010970033023032 1
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010970033023020 1
010970033023017 1
010970033021022 1
010970033021007 1
010970033021031 1
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010970033021035 1
010970033021008 1
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010970033023033 1
010970033021014 1
010970033023025 1
010970033023023 1
010970033023024 1
010970033023009 1
010970033021016 1
010970033023026 1
010970033021015 1
010970035013000 1
010970035013001 1
010970035011018 1
010970035011021 1
010970035011019 1
010970036081015 1
010970036081008 1
010970036081009 1
010970034051029 1
010970034051024 1
010970036081017 1
010970036081011 1
010970034051033 1
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010970036081029 1
010970034051030 1
010970036081022 1
010970034051031 1
010970035011005 1
010970036081000 1
010970034051025 1
010970034051015 1
010970034051006 1
010970034051002 1
010970034082005 1
010970034051032 1
010970034051003 1
010970034051000 1
010970034051001 1
010970034082011 1
010970034082006 1
010970034082004 1
010970034082012 1
010970035012030 1
010970035012032 1
010970035012009 1
010970035012034 1
010970035012031 1
010970035012004 1
010970035012001 1
010970035021001 1
010970035012012 1
010970035022007 1
010970035021000 1
010970035013012 1
010970035012007 1
010970035012005 1
010970035012008 1
010970035012011 1
010970035013006 1
010970035013003 1
010970035013007 1
010970035013005 1
010970035013004 1
010970035022003 1
010970035022004 1
010970035022005 1
010970035013009 1
010970035013010 1
010970035013011 1
010970035022002 1
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010970033021026 1
010970035022001 1
010970035013008 1
010970035013002 1
010970034063001 1
010970034063003 1
010970034063000 1
010970034063002 1
010970034021008 1
010970034022028 1
010970034022026 1
010970034022031 1
010970034022020 1
010970034022021 1
010970034022022 1
010970034022018 1
010970034022019 1
010970034022029 1
010970034022030 1
010970034022008 1
010970034022005 1
010970034022006 1
010970034022007 1
010970034022023 1
010970034022024 1
010970034022025 1
010970034021011 1
010970034022003 1
010970034021009 1
010970034021006 1
010970033022005 1
010970034021007 1
010970033022000 1
010970027002001 1
010970027002004 1
010970027002000 1
010970026003003 1
010970027002002 1
010970027002003 1
010970034021016 1
010970034021015 1
010970034021010 1
010970034021014 1
010970027002007 1
010970027002005 1
010970027002006 1
010970026003002 1
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010970026003017 1
010970026003016 1
010970026003009 1
010970026003021 1
010970026003001 1
010970026003000 1
010970026003004 1
010970026003015 1
010970026003013 1
010970026003005 1
010970034021005 1
010970034021013 1
010970034021004 1
010970034021003 1
010970039012027 1
010970039012026 1
010970039012022 1
010970039012021 1
010970039012023 1
010970039011012 1
010970039012024 1
010970050002012 1
010970050002014 1
010970050002013 1
010970050002011 1
010970050001020 1
010970050001031 1
010970050001027 1
010970050001028 1
010970050001021 1
010970050001022 1
010970050001003 1
010970050001023 1
010970050001004 1
010970050001002 1
010970050001001 1
010970050001000 1
010970040003008 1
010970040003009 1
010970040003015 1
010970040003016 1
010970040003000 1
010970040003002 1
010970040003001 1
010970040003010 1
010970040003011 1
010970040003018 1
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010970040001017 1
010970040001023 1
010970040001016 1
010970040002019 1
010970040001019 1
010970040001018 1
010970040002000 1
010970040002017 1
010970040002013 1
010970040002005 1
010970040002004 1
010970040003028 1
010970040003012 1
010970040003005 1
010970040002008 1
010970040003013 1
010970040003006 1
010970040003014 1
010970040003007 1
010970040002018 1
010970040003004 1
010970040003003 1
010970040002012 1
010970040002009 1
010970040002011 1
010970040002023 1
010970040002010 1
010970040002022 1
010970040002020 1
010970040002021 1
010970040001005 1
010970049003003 1
010970040002003 1
010970049003002 1
010970049003000 1
010970050002023 1
010970040001003 1
010970040001000 1
010970039011006 1
010970039011000 1
010970049004005 1
010970049003012 1
010970049003010 1
010970049003011 1
010970039011004 1
010970039011001 1
010970040002001 1
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010970040002006 1
010970049003009 1
010970049003016 1
010970049003013 1
010970049003015 1
010970049002012 1
010970049002008 1
010970049002010 1
010970049002007 1
010970049002009 1
010970049003005 1
010970049003014 1
010970049003006 1
010970049003008 1
010970049003004 1
010970049003007 1
010970049003001 1
010970049002006 1
010970040002016 1
010970040002007 1
010970040002015 1
010970040002014 1
010970040002002 1
010970032061008 1
010970032061009 1
010970032061001 1
010970032061005 1
010970032061012 1
010970033011007 1
010970033011006 1
010970032061010 1
010970032061004 1
010970033011024 1
010970033013004 1
010970033013006 1
010970033013003 1
010970033013000 1
010970033013010 1
010970033013007 1
010970033013001 1
010970033013002 1
010970033012007 1
010970033021030 1
010970033012000 1
010970033011005 1
010970033011002 1
010970033021033 1
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010970033011004 1
010970033011003 1
010970033021025 1
010970033021023 1
010970035022000 1
010970035011020 1
010970033023034 1
010970033023028 1
010970049001010 1
010970049001011 1
010970049001007 1
010970049001006 1
010970049001002 1
010970061031018 1
010970061031024 1
010970061031019 1
010970061031005 1
010970061031006 1
010970061031021 1
010970061031009 1
010970061031020 1
010970061031023 1
010970061031022 1
010970049001016 1
010970049001012 1
010970049001013 1
010970049001005 1
010970049001001 1
010970049001014 1
010970049001003 1
010970049002002 1
010970049002003 1
010970049001004 1
010970049001000 1
010970061031008 1
010970061061038 1
010970050002003 1
010970061033004 1
010970061033006 1
010970061033008 1
010970061031010 1
010970034022032 1
010970034021001 1
010970034022001 1
010970034021000 1
010970034022000 1
010970049004013 1
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010970049001009 1
010970049001015 1
010970049004014 1
010970049004015 1
010970049004020 1
010970049004021 1
010970049004008 1
010970049004012 1
010970049004011 1
010970049004016 1
010970049004009 1
010970049004010 1
010970034021002 1
010970049004017 1
010970049004018 1
010970049004019 1
010970049004007 1
010970049004006 1
010970049004002 1
010970049004000 1
010970049004003 1
010970049004004 1
010970049004001 1
010970049002011 1
010970049001008 1
010970041001008 1
010970040003020 1
010970040003022 1
010970040003021 1
010970041001005 1
010970040003017 1
010970041001009 1
010970041001002 1
010970041001003 1
010970041001004 1
010970040003019 1
010970041001022 1
010970041001021 1
010970041001011 1
010970041001013 1
010970041001023 1
010970041001020 1
010970041001014 1
010970041001015 1
010970041001001 1
010970041001018 1
010970041001000 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 329 of 401


010970041001017 1
010970041001016 1
010970041001019 1
010970077002004 1
010970077002017 1
010970007022000 1
010970007022016 1
010970007021023 1
010970007021022 1
010970007021021 1
010970040003024 1
010970040003036 1
010970040003023 1
010970008012009 1
010970008012008 1
010970008012015 1
010970008012018 1
010970008012019 1
010970008012016 1
010970008012014 1
010970008012011 1
010970008012027 1
010970008012001 1
010970008013019 1
010970008012013 1
010970008012000 1
010970008012012 1
010970008012023 1
010970008012022 1
010970008021009 1
010970008021008 1
010970008022008 1
010970008022003 1
010970008022004 1
010970008022002 1
010970008022005 1
010970008022001 1
010970008013010 1
010970008013017 1
010970008013011 1
010970008013012 1
010970008013018 1
010970039011036 1
010970039011040 1
010970039021027 1
010970039011041 1
010970039011038 1
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010970039021028 1
010970039021009 1
010970039011039 1
010970039011033 1
010970039011034 1
010970039021008 1
010970039012007 1
010970039012008 1
010970039012006 1
010970039012001 1
010970039012002 1
010970039012003 1
010970039012000 1
010970039011007 1
010970039011016 1
010970039011021 1
010970039012004 1
010970039012005 1
010970039011035 1
010970039011022 1
010970039011028 1
010970039011029 1
010970039011027 1
010970039011020 1
010970039011019 1
010970039011018 1
010970039011030 1
010970039011005 1
010970039011017 1
010970039011023 1
010970039011003 1
010970039011002 1
010970039021025 1
010970007023004 1
010970039021029 1
010970039021035 1
010970039021030 1
010970039021010 1
010970039021024 1
010970039021011 1
010970039021007 1
010970039021012 1
010970039021031 1
010970039021001 1
010970039021015 1
010970039021016 1
010970007023003 1
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010970007023002 1
010970039021032 1
010970007023001 1
010970039021013 1
010970039021014 1
010970039021033 1
010970039021017 1
010970039021018 1
010970039021034 1
010970039021020 1
010970007023000 1
010970007021013 1
010970039021021 1
010970039021022 1
010970039021019 1
010970039021006 1
010970039011032 1
010970039011031 1
010970039021002 1
010970039011026 1
010970039021000 1
010970039011024 1
010970039011025 1
010970040003032 1
010970040003030 1
010970040003029 1
010970040003031 1
010970039021004 1
010970039021003 1
010970039021005 1
010970041001028 1
010970041001029 1
010970041001027 1
010970041001030 1
010970041001026 1
010970040003033 1
010970040003034 1
010970040003026 1
010970040003025 1
010970040003027 1
010970040003038 1
010970041001006 1
010970040003035 1
010970040003037 1
010970035011004 1
010970035011003 1
010970035011002 1
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010970035011007 1
010970035011008 1
010970035011012 1
010970035011006 1
010970035011001 1
010970034082007 1
010970034082008 1
010970034062007 1
010970034062009 1
010970034062006 1
010970034062008 1
010970034083003 1
010970034083001 1
010970034083004 1
010970034083010 1
010970034083011 1
010970034083009 1
010970034083012 1
010970034083002 1
010970034083008 1
010970034083007 1
010970034083006 1
010970034083005 1
010970034082003 1
010970034082002 1
010970034082000 1
010970034082001 1
010970034083013 1
010970034081016 1
010970034081008 1
010970034082009 1
010970034081015 1
010970034081014 1
010970034082010 1
010970034062005 1
010970034081012 1
010970034081009 1
010970034081007 1
010970034081003 1
010970034081006 1
010970034081010 1
010970034081011 1
010970034081005 1
010970035011013 1
010970035011009 1
010970035011014 1
010970035011000 1
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010970034062016 1
010970035011011 1
010970035011010 1
010970034062017 1
010970034062015 1
010970034062014 1
010970034062021 1
010970034062020 1
010970034062010 1
010970034062011 1
010970034062012 1
010970034062019 1
010970034062018 1
010970034062002 1
010970034051018 1
010970034051028 1
010970034041032 1
010970034041034 1
010970034041033 1
010970034041009 1
010970034041010 1
010970034041008 1
010970034051016 1
010970034051017 1
010970034051019 1
010970034051008 1
010970034051009 1
010970036081005 1
010970036081019 1
010970036081001 1
010970034051034 1
010970034051011 1
010970034051012 1
010970036081012 1
010970036081014 1
010970036081020 1
010970036081026 1
010970036081028 1
010970034051023 1
010970036081002 1
010970036081027 1
010970034051013 1
010970034051010 1
010970034051022 1
010970034051021 1
010970034051014 1
010970035021013 1
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010970035021018 1
010970035021014 1
010970035021025 1
010970036061002 1
010970036061001 1
010979800001004 1
010970035021010 1
010970036061000 1
010970035012022 1
010970035021009 1
010970035012023 1
010970035012014 1
010970035012016 1
010970035012018 1
010979800001000 1
010970036081024 1
010970035012024 1
010970035012019 1
010970035012025 1
010970035012020 1
010970035012017 1
010970035012021 1
010970035021008 1
010970035021007 1
010970035012027 1
010970035012026 1
010970035021015 1
010970035021016 1
010970035021004 1
010970035012006 1
010970035012028 1
010970008021004 1
010970026003023 1
010970026003024 1
010970026003025 1
010970026003020 1
010970026003010 1
010970026003011 1
010970026003008 1
010970026003027 1
010970026003026 1
010970026002017 1
010970026002014 1
010970026002009 1
010970026002010 1
010970026003014 1
010970026002004 1
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010970026002003 1
010970026003007 1
010970026003012 1
010970026003006 1
010970039021026 1
010970026002016 1
010970026002013 1
010970026002008 1
010970026002015 1
010970026002012 1
010970026002011 1
010970026002005 1
010970026002007 1
010970026002006 1
010970026002002 1
010970026002001 1
010970033023015 1
010970033023016 1
010970033023002 1
010970027002012 1
010970033023001 1
010970033023003 1
010970033023000 1
010970027002010 1
010970027002016 1
010970027002011 1
010970027002017 1
010970027002009 1
010970028005011 1
010970028005012 1
010970027002040 1
010970027002038 1
010970028005004 1
010970027002034 1
010970027002029 1
010970028005001 1
010970027002041 1
010970027002033 1
010970028005000 1
010970027002028 1
010970027002030 1
010970027002031 1
010970027002032 1
010970027001030 1
010970027001028 1
010970027002022 1
010970027002023 1
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010970027002018 1
010970027001008 1
010970027001006 1
010970027001005 1
010970026003037 1
010970026003035 1
010970026003033 1
010970026003034 1
010970026003030 1
010970026003032 1
010970026001003 1
010970026003031 1
010970026001002 1
010970027001046 1
010970027001044 1
010970027001031 1
010970027001032 1
010970027001045 1
010970027001043 1
010970027001042 1
010970027001041 1
010970027001039 1
010970027001038 1
010970027001040 1
010970027001033 1
010970027001019 1
010970027001003 1
010970027001034 1
010970027001035 1
010970025023018 1
010970027001037 1
010970025023017 1
010970025023019 1
010970028001005 1
010970028001002 1
010970028001014 1
010970028001013 1
010970028001000 1
010970028001001 1
010970025013007 1
010970025013012 1
010970025013013 1
010970025013001 1
010970025013000 1
010970027001026 1
010970027001023 1
010970027001027 1
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010970027001025 1
010970027001024 1
010970027001022 1
010970027001021 1
010970027001020 1
010970027001016 1
010970027001014 1
010970027001015 1
010970027001011 1
010970027001010 1
010970027001009 1
010970026003019 1
010970026003022 1
010970026003036 1
010970026003028 1
010970026003029 1
010970027001018 1
010970027001007 1
010970008013013 1
010970007023010 1
010970008013000 1
010970007011010 1
010970007022009 1
010970007022008 1
010970007022007 1
010970007012005 1
010970008022000 1
010970007012004 1
010970007011007 1
010970007012001 1
010970007011011 1
010970007022013 1
010970007011009 1
010970007022011 1
010970007022006 1
010970007022012 1
010970007022010 1
010970007011008 1
010970007011003 1
010970007011002 1
010970007022014 1
010970008021001 1
010970008022006 1
010970008022007 1
010970008021006 1
010970008021002 1
010970008021000 1
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010970007012006 1
010970007012007 1
010970008021003 1
010970025023016 1
010970025023020 1
010970025023015 1
010970025023009 1
010970025023014 1
010970027001036 1
010970027001000 1
010970025023007 1
010970025023008 1
010970025023010 1
010970025023006 1
010970025023005 1
010970025023001 1
010970027001004 1
010970026001008 1
010970026001007 1
010970027001002 1
010970027001001 1
010970026001004 1
010970026001005 1
010970026001001 1
010970026001000 1
010970026002018 1
010970026001006 1
010970026002019 1
010970026002020 1
010970025023004 1
010970025023003 1
010970008011012 1
010970008012005 1
010970008012006 1
010970024003001 1
010970025023011 1
010970025023024 1
010970025023033 1
010970025023034 1
010970025023025 1
010970025023013 1
010970025023026 1
010970025023027 1
010970025021013 1
010970025021012 1
010970025023032 1
010970025023028 1
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010970025023029 1
010970025023030 1
010970025023031 1
010970025021014 1
010970025021008 1
010970025021007 1
010970025021010 1
010970025023002 1
010970025023000 1
010970025021011 1
010970008011007 1
010970008011010 1
010970008011011 1
010970008012024 1
010970008012007 1
010970008012028 1
010970008012017 1
010970008011009 1
010970008011008 1
010970008012025 1
010970026002000 1
010970008013004 1
010970008013005 1
010970008012004 1
010970008012010 1
010970008012003 1
010970008013014 1
010970008012002 1
010970008013003 1
010970007023009 1
010970007023008 1
010970007023005 1
010970008013006 1
010970008013015 1
010970008013016 1
010970008013002 1
010970008013007 1
010970008013009 1
010970008013008 1
010970008013001 1
010970007023006 1
010970007023007 1
010970039012025 1
010970039011042 1
010970039012028 1
010970039011044 1
010970039011043 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 340 of 401


010970039012015 1
010970039012010 1
010970039012011 1
010970039011037 1
010970039012012 1
010970028005005 1
010970028005002 1
010970033021003 1
010970033021037 1
010970033021036 1
010970033021032 1
010970033021004 1
010970033021005 1
010970033021006 1
010970033021038 1
010970033021002 1
010970027002042 1
010970027002039 1
010970027002013 1
010970027002037 1
010970027002035 1
010970027002036 1
010970033021039 1
010970033021017 1
010970033023013 1
010970033021040 1
010970033021018 1
010970033023014 1
010970033023031 1
010970033023006 1
010970033023005 1
010970033023004 1
010970033021000 1
010970027002014 1
010970033021001 1
010970027002015 1
010970033021019 1
010970039021023 1
010970041001033 1
010970007021004 1
010970007021003 1
010970041001034 1
010970007021000 1
010970041001024 1
010970007022005 1
010970007021018 1
010970007022003 1
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010970007021019 1
010970007021010 1
010970007022004 1
010970007022002 1
010970007022001 1
010970007021008 1
010970007021002 1
010970007021001 1
010970077001020 1
010970007021011 1
010970077001021 1
010970077001050 1
010970077001019 1
010970077001022 1
010970077001018 1
010970041001032 1
010970041001031 1
010970041001025 1
010970041001007 1
010970041001010 1
010970041001035 1
010970041001012 1
010970051001019 1
010970051001014 1
010970051001029 1
010970051001025 1
010970051001028 1
010970051001027 1
010970051001026 1
010970051001021 1
010970051001018 1
010970051001015 1
010970051001023 1
010970051001022 1
010970051001017 1
010970051001016 1
010970051001012 1
010970051001009 1
010970051001008 1
010970051001003 1
010970051001002 1
010970053001008 1
010970053001016 1
010970051001013 1
010970051001010 1
010970051001007 1
010970051001004 1
        Case 2:23-mc-01181-AMM Document 8-1 Filed 09/11/23 Page 342 of 401


010970051001001 1
010970051001011 1
010970051001006 1
010970051001000 1
010970051001005 1
010970053001026 1
010970053001041 1
010970040001002 1
010970040001001 1
010970050002025 1
010970050002017 1
010970048001022 1
010970048001023 1
010970050002024 1
010970050002016 1
010970050002015 1
010970049002001 1
010970049002000 1
010970050002004 1
010970049002005 1
010970050002005 1
010970049002004 1
010970050002022 1
010970050002021 1
010970050002007 1
010970050002002 1
010970050002001 1
010970050002006 1
010970050002000 1
010970050002026 1
010970050002019 1
010970050002020 1
010970050002018 1
010970050002029 1
010970050002027 1
010970050002010 1
010970050002009 1
010970050002008 1
010970050002028 1
010970051002029 1
010970051002030 1
010970051002027 1
010970051002006 1
010970051002008 1
010970051002005 1
010970051002023 1
010970051002024 1
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010970051002004 1
010970051002003 1
010970051002001 1
010970051002028 1
010970051002025 1
010970051002026 1
010970051002002 1
010970051002000 1
010970053001010 1
010970053001014 1
010970048001001 1
010970048002010 1
010970051001057 1
010970048001007 1
010970048002009 1
010970051001058 1
010970048002007 1
010970048002005 1
010970051001059 1
010970051001056 1
010970051001051 1
010970051001047 1
010970051001046 1
010970051001045 1
010970040001025 1
010970040001026 1
010970040001006 1
010970040001020 1
010970040001007 1
010970040001024 1
010970040001012 1
010970040001011 1
010970040001010 1
010970040001021 1
010970040001008 1
010970040001022 1
010970040001014 1
010970040001015 1
010970040001009 1
010970040001013 1
010970048001033 1
010970048001034 1
010970048001036 1
010970048001035 1
010970048001054 1
010970075001039 1
010970048001038 1
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010970048001039 1
010970048001047 1
010970048001048 1
010970040001004 1
010970048001028 1
010970048001026 1
010970048001031 1
010970048001030 1
010970048001029 1
010970051002041 1
010970051002042 1
010970051002043 1
010970050001018 1
010970050001033 1
010970050001014 1
010970050001017 1
010970050001032 1
010970050001029 1
010970050001030 1
010970050001015 1
010970050001009 1
010970050001008 1
010970050001012 1
010970050001026 1
010970050001025 1
010970050001024 1
010970050001005 1
010970050001010 1
010970050001011 1
010970050001007 1
010970050001006 1
010970051002010 1
010970051002009 1
010970051002011 1
010970051002007 1
010970051002021 1
010970051002022 1
010970051002044 1
010970051002031 1
010970051002032 1
010970051002033 1
010970061072012 1
010970061072008 1
010970057011041 1
010970057011048 1
010970057011050 1
010970057011044 1
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010970057011045 1
010970057011049 1
010970057011051 1
010970057011047 1
010970057011040 1
010970057011046 1
010970057011042 1
010970057011039 1
010970057011036 1
010970057011037 1
010970057011043 1
010970057011035 1
010970057011056 1
010970057011052 1
010970057011060 1
010970057011038 1
010970057011034 1
010970057012049 1
010970057012053 1
010970061061002 1
010970061062019 1
010970061072049 1
010970061061005 1
010970061062027 1
010970061072050 1
010970061072010 1
010970061072027 1
010970061072013 1
010970061072015 1
010970061072011 1
010970061072016 1
010970061061004 1
010970061062025 1
010970061061003 1
010970061062018 1
010970061062026 1
010970061072026 1
010970061062021 1
010970057011055 1
010970061062014 1
010970061072017 1
010970061062020 1
010970061062013 1
010970061062024 1
010970061062015 1
010970061062012 1
010970061062016 1
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010970061062017 1
010970057011058 1
010970057011057 1
010970061072009 1
010970057011053 1
010970057011054 1
010970061072037 1
010970061072024 1
010970061072033 1
010970061072036 1
010970061072021 1
010970061072020 1
010970061072025 1
010970061072046 1
010970061072044 1
010970061072042 1
010970061072043 1
010970061072052 1
010970061072051 1
010970061072048 1
010970061072032 1
010970061072031 1
010970061072030 1
010970061072029 1
010970061072028 1
010970061072019 1
010970061072014 1
010970061072023 1
010970061072022 1
010970061042032 1
010970061042029 1
010970061042031 1
010970061042028 1
010970061042006 1
010970061072003 1
010970057011018 1
010970057011019 1
010970057011020 1
010970057011033 1
010970057011028 1
010970057011025 1
010970057011027 1
010970057012061 1
010970057012062 1
010970057011029 1
010970057011026 1
010970057011030 1
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010970057012055 1
010970057012056 1
010970057011024 1
010970057011023 1
010970057011022 1
010970057011021 1
010970057011011 1
010970057011005 1
010970057011002 1
010970057011006 1
010970057011012 1
010970057011007 1
010970057011010 1
010970057011001 1
010970057011004 1
010970057011000 1
010970057011008 1
010970057011009 1
010970057011016 1
010970057011014 1
011290443002037 7
010970059001000 1
011290443002048 7
010970059001004 1
010970060003010 1
011290443002047 7
010970060004005 1
010970060004007 1
010970060003038 1
010970060003021 1
010970060003036 1
010970060003037 1
010970060003039 1
010970060004002 1
010970060003035 1
010970060004004 1
010970059001008 1
010970059001026 1
010970059001022 1
010970059001010 1
010970059001007 1
011290443002045 7
011290443002040 7
011290443002038 7
011290443002027 7
011290443002044 7
011290443002032 7
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011290443002033 7
011290443002031 7
011290443002042 7
011290443002030 7
011290443002043 7
011290443002029 7
011290443002012 7
011290443002011 7
011290443003050 7
011290443003046 7
011290443003047 7
011290443003044 7
011290443003048 7
011290443002028 7
011290443002010 7
011290443002008 7
011290443002025 7
011290443002026 7
011290443002014 7
011290443002013 7
011290443002007 7
011290443002004 7
011290443002003 7
011290443002009 7
011290443001071 7
011290443003043 7
011290443001072 7
011290443002002 7
011290443002000 7
011290443002001 7
011290443001074 7
011290443001028 7
011290443001073 7
011290443003045 7
011290443003038 7
011290443003049 7
011290443003035 7
011290443003029 7
011290443003034 7
011290443003028 7
011290443003030 7
011290443003036 7
011290443003037 7
011290443003032 7
011290443003033 7
011290443003027 7
011290443003019 7
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011290443003039 7
011290443003017 7
011290443003020 7
011290443003006 7
011290443003005 7
011290442003025 7
011290442003026 7
010970058002153 1
010970058002093 1
010970059002004 1
010970058002140 1
010970058002138 1
010970058002092 1
010970058002137 1
010970058002090 1
010970058002035 1
010970058002034 1
010970058002036 1
010970058002091 1
010970058002088 1
010970058002039 1
010970058002089 1
010970058002037 1
010970058002038 1
010970058002139 1
010970058002136 1
010970058002095 1
010970059001053 1
010970059001078 1
010970059001077 1
010970059001076 1
010970059001055 1
010970059001074 1
010970060004059 1
010970060004029 1
010970060004030 1
010970060004027 1
010970060004058 1
010970060004056 1
010970060004026 1
010970060004028 1
010970059001056 1
010970059001057 1
010970060002020 1
010970060002021 1
010970058002148 1
010970058002094 1
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010970058002031 1
010970058002032 1
010970060002000 1
010970058002027 1
011290442003033 7
011290443001076 7
011290442003032 7
011290442003027 7
011290442003031 7
011290443001075 7
010970058002026 1
010970058002028 1
010970058002029 1
010970058002025 1
010970058002030 1
011290442003030 7
011290443002034 7
011290443002022 7
011290443002021 7
011290443002023 7
011290443002020 7
011290443002019 7
011290443002018 7
011290443002017 7
011290443002016 7
011290443002006 7
011290443002024 7
011290443001070 7
011290443001064 7
011290443001065 7
011290443001068 7
011290443001066 7
011290443002005 7
011290443001026 7
011290443001027 7
011290443001023 7
011290443001030 7
011290443001067 7
011290443001069 7
011290443001025 7
011290443001024 7
010970060004054 1
010970060004066 1
010970060002079 1
010970060002055 1
010970060002078 1
010970060002077 1
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010970060001024 1
010970060002071 1
010970060002058 1
010970060002072 1
010970060002070 1
010970059001025 1
010970060004014 1
010970059001023 1
010970060004013 1
010970059001024 1
010970059001009 1
010970060004019 1
010970060004023 1
010970060004018 1
010970060004020 1
010970060004012 1
010970059001006 1
010970059001039 1
010970059001090 1
010970059001051 1
010970059001040 1
010970059001035 1
010970059001029 1
010970059001037 1
010970059001036 1
010970059001041 1
010970059001020 1
010970059001049 1
010970059001046 1
010970059001054 1
010970059001048 1
010970059001047 1
010970059001032 1
010970059001042 1
010970059001045 1
010970059001044 1
010970059001030 1
010970059001028 1
010970059001016 1
010970059001017 1
010970059001013 1
010970059001014 1
010970059001012 1
011290443002051 7
011290443002049 7
011290443002052 7
011290443002039 7
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011290443002046 7
011290443002041 7
010970059001031 1
010970059001018 1
010970059001019 1
010970059001027 1
010970059001015 1
010970059001011 1
011290443002050 7
010970059001043 1
010970059001021 1
010970060001018 1
010970060004001 1
010970060004003 1
010970060004000 1
010970060003033 1
010970060003034 1
010970060001016 1
010970060001017 1
010970060003078 1
010970060001015 1
010970060003076 1
010970060003077 1
010970060003063 1
010970060003022 1
010970060003013 1
010970060003020 1
010970060003019 1
010970060003009 1
010970060003014 1
010970060003067 1
010970060003031 1
010970060003064 1
010970060003041 1
010970060003017 1
010970060003018 1
010970060003008 1
010970060003015 1
010970060003016 1
010970060003001 1
010970060001019 1
010970060001020 1
010970060001022 1
010970060001021 1
010970060001026 1
010970060001005 1
010970060001012 1
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010970060001013 1
010970060001014 1
010970060001023 1
010970060003082 1
010970060003068 1
010970060003061 1
010970060003069 1
010970060003070 1
010970060003053 1
010970060001006 1
010970060001011 1
010970060001003 1
010970060001025 1
010970060001001 1
010970060001007 1
010970060001002 1
010970060001010 1
010970060003071 1
010970060001009 1
010970060003072 1
010970060001008 1
010970060003081 1
010970060001004 1
010970060003073 1
010970060003052 1
010970060003074 1
010970060003051 1
010970060002082 1
010970060002060 1
010970060002059 1
010970060001000 1
010970060002056 1
010970060002054 1
010970060003075 1
010970060002053 1
010970060002057 1
010970060002052 1
010970060003050 1
010970060002043 1
010970060002051 1
010970060002044 1
010970060002064 1
010970060002050 1
010970060002061 1
010970060003065 1
010970060003066 1
010970060003062 1
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010970060003042 1
010970060003054 1
010970060003055 1
010970060003056 1
010970060003043 1
010970060003044 1
010970060003032 1
010970060003079 1
010970060003080 1
010970060003057 1
010970060003059 1
010970060003058 1
010970060003049 1
010970060003060 1
010970060003048 1
010970060003047 1
010970060003046 1
010970060003045 1
010970060002042 1
010970060002034 1
010970060002033 1
010970060002032 1
010970060003000 1
010970060002009 1
010970060002008 1
010970060002031 1
010970060002013 1
010970060002035 1
010970060002073 1
010970060002038 1
010970060002037 1
010970060002010 1
010970060003007 1
010970060003006 1
010970060003005 1
010970060003012 1
010970060003003 1
010970059003011 1
010970059003007 1
010970059003006 1
010970059003014 1
010970059003000 1
010970059003002 1
010970059002021 1
010970060002069 1
010970060002068 1
010970060002067 1
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010970060002065 1
010970059002020 1
010970059002022 1
010970059002019 1
010970060002040 1
010970060002014 1
010970060002015 1
010970060002011 1
010970060002047 1
010970060002048 1
010970060002016 1
010970060002049 1
010970060002017 1
010970060002026 1
010970060002027 1
010970060002018 1
010970060002019 1
010970059002011 1
010970060002081 1
010970060002076 1
010970059002007 1
010970059002012 1
010970060002080 1
010970059002008 1
010970059002006 1
010970058002152 1
010970060002074 1
010970060002029 1
010970060002022 1
010970058002149 1
010970060002075 1
010970060002025 1
010970060002028 1
010970060002024 1
010970060002030 1
010970060002023 1
010970059001059 1
010970059001082 1
010970059001062 1
010970059001063 1
010970060004036 1
010970060004038 1
010970060004037 1
010970060004006 1
010970060004039 1
010970060004041 1
010970060004042 1
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010970060004040 1
010970060004043 1
010970059001083 1
010970059003030 1
010970059001002 1
010970060004017 1
010970060004021 1
010970060004065 1
010970060004024 1
010970060004064 1
010970060004008 1
010970060004009 1
010970060004011 1
010970060003083 1
010970060003026 1
010970060004010 1
010970060003025 1
010970060003028 1
010970060003027 1
010970059001003 1
010970060003023 1
010970060003029 1
010970060003040 1
010970060003030 1
010970059001005 1
010970060003024 1
010970060003011 1
010970059001001 1
010970059003022 1
010970059001067 1
010970059003023 1
010970059001064 1
010970059001060 1
010970059001066 1
010970059003024 1
010970059001065 1
010970059003029 1
010970059003028 1
010970059003025 1
010970059003101 1
010970059003001 1
010970060004062 1
010970060004060 1
010970060004049 1
010970060004050 1
010970060004061 1
010970060004055 1
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010970059001061 1
010970059003026 1
010970059003027 1
010970060004047 1
010970060004046 1
010970060004063 1
010970060004048 1
010970060004044 1
010970060004045 1
010970060004052 1
010970060004051 1
010970060004053 1
010970060004067 1
011190115002032 7
011190115001065 7
011190115001012 7
011190115002031 7
011190115002028 7
010239567002002 7
010239567002001 7
010239567002031 7
010239567004031 7
010239567004030 7
010239567004029 7
010239567004016 7
010239567002000 7
010239567004014 7
010239567004017 7
010239567004012 7
010239567004013 7
011190115001124 7
011190115001125 7
011190115001114 7
011190115001126 7
011190115001112 7
011190115001113 7
011190115001087 7
011190115001083 7
011190115001091 7
011190115001090 7
011190115001089 7
011190115001078 7
011190115001132 7
011190115001111 7
011190115001086 7
011190116002040 7
011190116002039 7
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011190116002031 7
011190116002024 7
011190116002052 7
011190116002041 7
011190116002032 7
011190116001005 7
011190116002043 7
011190116002044 7
011190116002045 7
011190116002017 7
011190115003041 7
011190115003036 7
011190116002021 7
011190116002012 7
011190115003037 7
011190116002011 7
011190116002022 7
011190115003040 7
011190116002010 7
011190115003035 7
011190115003038 7
011190115003039 7
011190115003021 7
011190115003010 7
011190115003009 7
011190115003011 7
011190115003023 7
011190115003022 7
011190115003006 7
011190116002023 7
011190115005001 7
011190115004010 7
011190115004015 7
011190115004016 7
011190115004007 7
011190115004017 7
011190115004019 7
011190115002026 7
011190115004018 7
011190115002010 7
011190115002027 7
011190115002025 7
011190115002024 7
011190115002023 7
011190115002014 7
011190115004008 7
011190115004009 7
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011190115005002 7
011190115004038 7
011190115004037 7
011190115002044 7
011190115002052 7
011190115002045 7
011190115005000 7
011190115002043 7
011190115002042 7
011190115004023 7
011190115004039 7
011190115002022 7
011190115002009 7
011190115002051 7
011190115004024 7
011190115003014 7
011190115004043 7
011190115003024 7
011190115004003 7
011190115003016 7
011190115003017 7
011190115003028 7
011190115005018 7
011190115005029 7
011190115005017 7
011190115004005 7
011190115005030 7
011190115005028 7
011190115005015 7
011190115005025 7
011190115005027 7
011190115004012 7
011190115005026 7
011190115005019 7
011190115004004 7
011190115004013 7
011190115004011 7
011190115004006 7
011190116002001 7
011190115003045 7
011190116002000 7
011190115005012 7
011190115005014 7
011190115005024 7
011190115005013 7
011190115005021 7
011190115005023 7
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011190114002072 7
011190114002070 7
011190114002066 7
011190114002065 7
011190114002064 7
011190114002012 7
011190115003015 7
011190115004002 7
011190115004001 7
011190115003018 7
011190115003004 7
011190115003003 7
011190115003001 7
011190115004000 7
011190115003019 7
011190115002007 7
011190115003020 7
011190115002005 7
011190115002006 7
011190115002018 7
011190113013033 7
011190115002004 7
011190115002003 7
011190115003000 7
011190113013026 7
011190113013029 7
011190113013028 7
011190113013030 7
011190113013027 7
011190113013015 7
011190115002016 7
011190115002039 7
011190115002038 7
011190115002000 7
011190115002036 7
011190115002019 7
011190113013047 7
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010239569004011 7
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010239570001022 7
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010239570002020 7
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011290439001014 7
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011290439003011 7
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011290439003004 7
011290439003020 7
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011290439003049 7
011290439001007 7
011290439003001 7
011290439003000 7
010239570002068 7
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010239570002064 7
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010239570001063 7
011290440004004 7
011290439001030 7
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011290440004003 7
011290439001028 7
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011290440004001 7
011290439002018 7
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011290439003023 7
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011290439003015 7
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011290439001019 7
011290439001018 7
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010239570002056 7
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010239570002051 7
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010239570002010 7
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010239570002038 7
010239570001044 7
010239570001029 7
010239570001043 7
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010259577002016 7
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010239569004068 7
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010259577002036 7
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010239569004070 7
010259577002033 7
010239570001052 7
010239570001051 7
010259577002018 7
010239570001050 7
010259577001031 7
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010239570001020 7
010239570002002 7
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010239570001026 7
010239570001010 7
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010239570001003 7
010239569004073 7
011290439003038 7
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011290439003009 7
010239570002062 7
011290439003032 7
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010239570002063 7
011290439003008 7
010239570002058 7
011290439002015 7
011290439002025 7
011290439002011 7
011290439003037 7
011290439002012 7
011290439002013 7
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011290439003021 7
011290439003010 7
011290439003036 7
011290439003006 7
011290439003007 7
010239570002057 7
010239569004015 7
010239569004024 7
010239569002061 7
010239569002074 7
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010239569004009 7
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010239569001019 7
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011190116002025 7
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010239569002053 7
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011190116001059 7
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011190116002067 7
010239568002013 7
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010239567003031 7
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010239567002023 7
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011190116001054 7
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011190115001121 7
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011190115001095 7
011190115001084 7
011190116001002 7
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011190116001063 7
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011190116001066 7
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010239568005042 7
010239568005019 7
010239568003005 7
010239568002041 7
010239568003004 7
010239568003011 7
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010239568003003 7
010239568002050 7
010239568002027 7
010239568003020 7
010239568003019 7
010239568005043 7
011190115005020 7
011190115005011 7
011190115004034 7
011190115004033 7
011190115004014 7
011190115005009 7
011190115005010 7
011190115004031 7
011190115004041 7
011190115004032 7
011190115004029 7
011190115004030 7
011190115004028 7
011190115004042 7
011190115004027 7
011190115004020 7
011190115005008 7
011190115005007 7
011190115005005 7
011190115005016 7
011190115005006 7
011190115005003 7
011190115005004 7
011190115005022 7
011190115004040 7
011190115004026 7
011190115004044 7
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011190115004035 7
011190115004025 7
011190115004021 7
011190115004022 7
011190115004036 7
011070504012047 7
011070504012039 7
011070504012040 7
011070504012048 7
011070504012043 7
011070504012041 7
011070504012044 7
011070504012036 7
011070504012054 7
011070504012069 7
011070504012046 7
011070504012066 7
011070504012049 7
011070504012050 7
011070504012052 7
011070504011007 7
011070504012056 7
011070504013054 7
011070504012053 7
011070504011052 7
011070504011009 7
011070504011053 7
011070504011049 7
011070504011051 7
011070504011050 7
011070504011004 7
011070504011010 7
011070504011005 7
011070504012037 7
011070504012034 7
011070504011008 7
011070504012032 7
010630600002059 7
010630600002045 7
010630600002042 7
010630600002040 7
010630600002041 7
011190114002034 7
011190114002026 7
011190114002000 7
010630600002066 7
010630600002028 7
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010630600002026 7
010630600002030 7
010630600002027 7
010630600002031 7
011190114002025 7
011190114002024 7
011190114002001 7
011070504012075 7
011190114002002 7
011070504012065 7
011070504012074 7
011070504012064 7
010630600002012 7
010630600002011 7
010630600002013 7
010630600002033 7
010630600002010 7
010630600002003 7
010630600002008 7
010630600002006 7
011070504013058 7
010630600002024 7
011190114002021 7
011190114002027 7
011190114002033 7
011190114002031 7
011190114002022 7
011190114002023 7
011070504012072 7
011190114002004 7
011070504012070 7
011070504012073 7
011070504012068 7
011190114002003 7
011070504012067 7
011190114001027 7
011190114001040 7
011190114001028 7
011190114001017 7
011190114002073 7
011190114001039 7
011190114002074 7
011190114001016 7
011190114001047 7
011190114001048 7
011190114001059 7
011190114001029 7
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011190114001001 7
011190114001015 7
011190114001031 7
011190114001030 7
011190114001034 7
011190114001032 7
011190114001018 7
011190114002040 7
011190114002030 7
011190114002032 7
011190114002029 7
011190114002015 7
011190114002014 7
011190114002013 7
011190114002011 7
011190114002007 7
011190114002016 7
011190114002018 7
011190114002010 7
011190114002008 7
011190114002009 7
011190114002006 7
011070504012071 7
011190114002005 7
011070504012060 7
011190114002019 7
011190114002020 7
011070503004043 7
011070503004029 7
011070503004031 7
011070503004032 7
011070503004021 7
011070503004020 7
011070503004045 7
011070503004046 7
011070503004048 7
011070503004047 7
011070503004019 7
011070503004017 7
011070503004016 7
011070503004012 7
011070504012051 7
011070504012055 7
011070504013057 7
011070504013053 7
011070504013047 7
011070504013059 7
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011070504013056 7
011070504013045 7
011070504011058 7
011070504013048 7
011070504011057 7
011070504011044 7
011070504011054 7
011070504011011 7
011070504011023 7
011070504011022 7
011070504011014 7
011070504013029 7
011190113013000 7
011190113013006 7
011190114001071 7
011190114001025 7
011190113013013 7
011190113012017 7
011190113012016 7
011190113012024 7
011190113012005 7
011190113012004 7
011190114001073 7
011190114001065 7
011190113012018 7
011190113012006 7
011190113012007 7
011190113012003 7
011190114001064 7
011190114001043 7
011190113022110 7
011190113022049 7
011190113022109 7
011190113022046 7
011190113022050 7
011190113022057 7
011190113013042 7
011190113022045 7
011190113022047 7
011190113021021 7
011190113012023 7
011190113012036 7
011190113012028 7
011190113012015 7
011190113021028 7
011190113021027 7
011190113012040 7
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011190113021016 7
011190113012038 7
011190113012025 7
011190113012039 7
011190113012026 7
011190113012027 7
011190113021026 7
011190113012021 7
011190113012022 7
011190113012020 7
011190113021018 7
011190113012008 7
011190113012002 7
011190114001044 7
011190114001045 7
011190113012009 7
011190113012001 7
011190114001080 7
011190114001046 7
011190113021015 7
011190113021025 7
011190113021017 7
011190113021024 7
011190113021004 7
011190114002046 7
011190114002041 7
011190114002059 7
011190114002054 7
011190114002039 7
011190114002055 7
011190114002043 7
011190114002038 7
011190114002052 7
011190114002053 7
011190114002049 7
011190114002051 7
011190114002047 7
011190114002061 7
011190114002056 7
011190114002057 7
011190114002048 7
011190114002058 7
011190114002045 7
011190114002044 7
011190114001024 7
011190114001042 7
011190114001020 7
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011190114001019 7
011190114001041 7
011190114002017 7
011190114001026 7
011190113013032 7
011190113013031 7
011190113013014 7
011190113013034 7
011190113013022 7
011190113013021 7
011190113013035 7
011190113011004 7
011190113011000 7
011190113011001 7
011190113013017 7
011190113013018 7
011190113013008 7
011190113013016 7
011190113013012 7
011190113013011 7
011190113013010 7
011190113013009 7
011190113013005 7
011190113013007 7
011190114001069 7
011190113013003 7
011190113013004 7
011190113013001 7
011190114001079 7
011190114001078 7
011190114001076 7
011190114001077 7
011190114001072 7
011190114001068 7
011190114001070 7
011190113022048 7
011190113022038 7
011190113022037 7
011190113022044 7
011190113022039 7
011190113022041 7
011190113022043 7
011190113022031 7
011190113022030 7
011190113013036 7
011190113013046 7
011190113013045 7
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011190113011017 7
011190113011021 7
011190113022036 7
011190113011022 7
011190113011020 7
011190113011018 7
011190113011041 7
011190113011042 7
011190113011040 7
011190113011031 7
011190113011039 7
011190113011038 7
011190113011032 7
011190113011030 7
011190113011026 7
011190113011033 7
011190113011027 7
011190113011023 7
011190113011024 7
011190113022033 7
011190113011043 7
011190113011037 7
011190113011034 7
011190113011036 7
011190113022034 7
011190113011028 7
011190113011029 7
011190113011035 7
011190113021037 7
011190113011012 7
011190113011016 7
011190113011013 7
011190113011014 7
011190113011011 7
011190113011019 7
011190113021055 7
011190113011015 7
011190113021035 7
011190113021038 7
011190113021039 7
011190113021036 7
011190113021042 7
011190113021041 7
011190113011005 7
011190113011006 7
011190113011002 7
011190113011003 7
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011190113012030 7
011190113012029 7
011190113011007 7
011190113011008 7
011190113011025 7
011070504012029 7
011070504012033 7
011070504012021 7
011070504012025 7
011070504012022 7
011070504012030 7
011070504012012 7
011070504012031 7
011070504012020 7
011070504012016 7
011070504012062 7
011070504012063 7
011070504012019 7
011070504012010 7
011070504012017 7
011070504012014 7
011070504012013 7
011070504012015 7
011070504012009 7
011070504012018 7
011070504012003 7
011070504012001 7
011070504012004 7
011070504012000 7
011070504012005 7
011070504012006 7
011070504011001 7
011070504012035 7
011070504011006 7
011070504011002 7
011070504012026 7
011070503004054 7
011070504011016 7
011070504011021 7
011070504011020 7
011070504022010 7
011070504013005 7
011070504011033 7
011070504011045 7
011070504013004 7
011070504011046 7
011070504011047 7
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011070504011035 7
011070504011027 7
011070504022022 7
011070504011034 7
011070504013003 7
011070504011048 7
011070504022044 7
011070504013002 7
011070504022043 7
011070504013001 7
011070504022042 7
011070504013000 7
011070504022041 7
011070504022025 7
011070504022028 7
011070504022023 7
011070504022024 7
011070504022040 7
011070504022039 7
011070504022038 7
011070504022026 7
011070504022027 7
011070504021103 7
011070504021089 7
011070504021104 7
011070504021086 7
011070504021090 7
011070504021082 7
011070504021092 7
011070504021091 7
011070504021077 7
011070504021076 7
011070504021074 7
011070504022037 7
011070504022033 7
011070504022031 7
011070504022032 7
011070504021080 7
011070504022030 7
011070504022029 7
011070504021130 7
011070504021079 7
011070504021078 7
011070504022034 7
011070504022036 7
011070504022035 7
011070504022006 7
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011070504022020 7
011070504021075 7
011070504022049 7
011070504022018 7
011070504013040 7
011070504021106 7
011070504022045 7
011070503004053 7
011070504012028 7
011070503004055 7
011070504012027 7
011070503004039 7
011070503004052 7
011070503004049 7
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011070503004051 7
011070503004050 7
011070504011000 7
011070503004056 7
011070503004042 7
011070504011003 7
011070503003018 7
011070503003016 7
011070503003017 7
011070503003015 7
011070503004038 7
011070504012023 7
011070504012024 7
011070503004037 7
011070503004041 7
011070503004036 7
011070504012011 7
011070504012007 7
011070504012008 7
011070503004034 7
011070503004033 7
011070503004035 7
011070503004044 7
011070503004030 7
011070504011056 7
011070504011055 7
011070504013030 7
011070504013031 7
011070504013024 7
011070504011043 7
011070504013023 7
011070504013060 7
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011070504013027 7
011070504013028 7
011070504013026 7
011070504013019 7
011070504011042 7
011070504011039 7
011070504011038 7
011070504011041 7
011070504013009 7
011070504013007 7
011070504013008 7
011070504013025 7
011070504013046 7
011070504013032 7
011070504013020 7
011070504013022 7
011070504013006 7
011070504013021 7
011070504013010 7
011070504013014 7
011070504013011 7
011070504013015 7
011070504013016 7
011070504013012 7
011070504013017 7
011070504013013 7
011070504013018 7
011070504021098 7
011070504021102 7
011070504021099 7
011070504021097 7
011070504021087 7
011070504021101 7
011070504021100 7
011070504021083 7
011070504021096 7
011070504011037 7
011070504011036 7
011070504011024 7
011070504011032 7
011070504011028 7
011070504011030 7
011070504011031 7
011070504011040 7
011070504011029 7
011070504011025 7
011070504011026 7
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011070504022014 7
011070504011019 7
011070504022047 7
011070504011060 7
011070504011017 7
011070504011059 7
011070504011013 7
011070504011015 7
011070504011018 7
011070502001083 7
011070502001062 7
011070502001060 7
011070502001079 7
011070502001063 7
011070502001064 7
011070502001065 7
011070502001061 7
011070502002058 7
011070502002031 7
011070502002055 7
011070502002030 7
011070502001082 7
011070502001067 7
011070502001066 7
011070502001057 7
011070502002059 7
011070502002032 7
011070502001068 7
011070502001078 7
011070502001070 7
011070502001044 7
011070502002029 7
011070502001077 7
011070502001076 7
011070502001069 7
011070502002028 7
011070502001075 7
011070502001074 7
011070502001071 7
011070502001072 7
011070502001073 7
010670304002007 2
010670304002009 2
010670304001083 2
010670304001084 2
010670304001056 2
010670304001055 2
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010670304002008 2
010670304001119 2
010670304001079 2
010670304001082 2
010670304001069 2
010670304001080 2
010670304001081 2
010670304001077 2
010670304001070 2
010670304001078 2
010670304001071 2
010670304001054 2
010670304001048 2
010670304001053 2
010690419012014 2
010690419012015 2
010690419012013 2
010690419012009 2
010690419012007 2
010690419012006 2
010690419012008 2
010690419011049 2
010690419011048 2
010690416001070 2
010690416001058 2
010690416001071 2
010670304001100 2
010670304001104 2
010670305002000 2
010670304001099 2
010670304001076 2
010670304001105 2
010670304001072 2
010670304001073 2
010670304001092 2
010670304001098 2
010670304001097 2
010670304001090 2
010670304001091 2
010670304001027 2
010670305004008 2
010670305004007 2
010670305004005 2
010670304001111 2
010670304001110 2
010670304001093 2
010670304001026 2
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010670304001025 2
010670304001020 2
010670304001101 2
010670304001102 2
010670304001024 2
010670304001019 2
010670305004039 2
010670305004038 2
010670305004030 2
010670305004031 2
010670305004036 2
010670304001103 2
010670304001015 2
010670304001023 2
010670304001016 2
010670304001018 2
010670304001017 2
010670304001013 2
010670304001107 2
010670304001108 2
010670306001055 2
010670306001056 2
010670306002025 2
010670306001053 2
010670306001052 2
010670306001054 2
010670306001013 2
010670306001017 2
010690418002060 2
010690418002030 2
010690418002024 2
010690418002064 2
010690418002025 2
010690418002059 2
010690418002058 2
010690418002031 2
010690418002069 2
010690418002057 2
010690418002032 2
010690418002023 2
010690418002077 2
010690418002022 2
010690418002019 2
010670306002060 2
010670306002056 2
010670306002035 2
010670306002034 2
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010670306002014 2
010670306002013 2
010670306002048 2
010670306002037 2
010670306002039 2
010670306002023 2
010670306002018 2
010670306002016 2
010670306002017 2
010670306001050 2
010670306002015 2
010670306001047 2
010670306001060 2
010670306001051 2
010670306001040 2
010670306001048 2
010670306001018 2
010670306001019 2
010670306001049 2
010670306002012 2
010670306001046 2
010670306001059 2
010670306002008 2
010670306002038 2
010670306002019 2
010670306002011 2
010670306002009 2
010670306002010 2
010670306001058 2
010670306002007 2
010670306002006 2
010670306002005 2
010670306002004 2
010670306001063 2
010670306001041 2
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010670306002049 2
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010670306002040 2
010670306002041 2
010670306002021 2
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010670306002042 2
010670306002051 2
010670306002045 2
010670306002043 2
010670306002044 2
010670306002054 2
010670306002052 2
010670306002047 2
010670306002046 2
010670306002020 2
010670306002003 2
010670306001064 2
010670306001062 2
010670306002002 2
010670306001061 2
010670306002001 2
010670306001044 2
010670306001035 2
010670306002000 2
010670306001039 2
010670306001038 2
010670306001036 2
010670306001037 2
010670306001034 2
010310104002011 2
010310102002070 2
010310102002061 2
010310102002069 2
010310102002059 2
010310102002060 2
010310102002056 2
010310102002057 2
010310102002047 2
010310102002058 2
010310102002046 2
010310102002062 2
010310102002067 2
010310102002063 2
010310102002066 2
010310102002064 2
010310102002065 2
010310102002053 2
010310102002052 2
010310102002045 2
010310102002073 2
011239621001017 3
011239620002047 3
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010379610002011 3
011239620002041 3
011239621001002 3
011239621001004 3
011239621001005 3
011239620002046 3
011239620002045 3
011239620002040 3
010379610002002 3
010379610002001 3
011239620002042 3
011239620002043 3
011239620002029 3
010379610003061 3
010379610002000 3
010379610003062 3
011239620002024 3
011239620002023 3
011239620002049 3
011239620002028 3
011239620002030 3
011239620002031 3
011239620002032 3
011239620002020 3
011239620002022 3
010379611001031 3
010379611001030 3
010379611001032 3
010379611001127 3
010379611001029 3
011239621001029 3
010379610002039 3
010379610002045 3
010379610002046 3
010379610002026 3
010379610002025 3
010379610002041 3
010379610002042 3
010379610002040 3
010379610002037 3
010379610002038 3
010379610002024 3
010379610002035 3
010379610002036 3
010379610002015 3
010379610002017 3
010379610002016 3
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010379610002020 3
010379610002021 3
010379610002023 3
010379610002018 3
010379610002007 3
010379610002005 3
010379610001074 3
010379610002044 3
010379610002043 3
010379610002030 3
010379610002029 3
010379610002014 3
010379610002033 3
010379610002032 3
010379610002031 3
010379610002058 3
010379610002059 3
010379610002054 3
011239621002000 3
011239621002001 3
011239621001021 3
011239621001018 3
011239621001016 3
011239621002009 3
011239621002011 3
011239621002010 3
011239621002003 3
011239621002007 3
011239621002004 3
011239621002005 3
011239621003008 3
011239621003007 3
011239621002002 3
011239621001024 3
011239621001022 3
011239621001023 3
011239621001015 3
011239621001012 3
011239621001011 3
011239621001013 3
011239621001033 3
011239621001025 3
011239621001034 3
011239621001028 3
011239621001027 3
011239621001026 3
011239621001010 3
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010379610002049 3
010379610002034 3
010379610002050 3
010379610002060 3
010379610002051 3
010379610002052 3
010379612002024 3
010379610002070 3
010379610002066 3
011239623022059 3
011239623022060 3
011239621002030 3
011239621002029 3
011239621002024 3
010379610002071 3
011239621002023 3
011239621002021 3
011239623022058 3
011239623022057 3
011239621002028 3
011239623022048 3
011239621002027 3
011239623022056 3
011239623022047 3
011239621002025 3
011239621002026 3
011239621002031 3
011239621002008 3
011239621002006 3
010379610002065 3
011239621002022 3
011239621002012 3
010379612003000 3
011239623023010 3
011239623023009 3
011239623023008 3
011239623023002 3
010379612002028 3
010379612002029 3
011239623022062 3
011239623023001 3
011239623022061 3
011239623023000 3
011239623022063 3
010379612002003 3
010379610001083 3
010379610001079 3
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010379610001080 3
010379612002002 3
010379610001084 3
010379612002001 3
010379610002069 3
010379610002064 3
010379610002067 3
010379610002047 3
010379610002048 3
010379610001075 3
010379610001069 3
010379610001058 3
010379610001059 3
010379610001057 3
010379610001024 3
010310102002042 2
010310102002051 2
010310102002050 2
010310102002048 2
010310102002049 2
010310101002068 2
010310102002028 2
010310102002029 2
010310102002043 2
010310102002030 2
010310102002027 2
010310102002026 2
010310101002058 2
010310101002059 2
010310101002060 2
010310101002061 2
010310101002065 2
010310102002044 2
010310102002031 2
010310102002025 2
010310102002032 2
010310102002041 2
010310102002040 2
010310102002033 2
010310102002024 2
010310102002034 2
010310102002022 2
010310102002012 2
010310102002011 2
010310101002064 2
010310102002010 2
010310102002013 2
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010310102002023 2
010310102002014 2
010310102002021 2
010310102002020 2
010310102002016 2
010310102002015 2
010310103001028 2
010310102002054 2
010310102002055 2
010310102001060 2
010310103001027 2
010310102001058 2
010310102001057 2
010310102001059 2
010310102001053 2
010310103001026 2
010310103001025 2
010310103001032 2
010310103001024 2
010310102001052 2
010310102001056 2
010310102001045 2
010310103001023 2
010310103001022 2
010310103001020 2
010310103001019 2
010310103001017 2
010310103001018 2
010310102001054 2
010310102002035 2
010310102002039 2
010310102002037 2
010310102001049 2
010310102001055 2
010310102001048 2
010310102001050 2
010310102002036 2
010310102002038 2
010310102002018 2
010310102002019 2
010310102002017 2
010310102001037 2
010310102001036 2
010310102001034 2
010310102001035 2
010310102001023 2
010310102001047 2
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010310102001040 2
010310102001051 2
010310102001046 2
010310102001041 2
010310102001042 2
010310102001033 2
010310102001032 2
010310102001024 2
010310102001025 2
010310102001044 2
010310102001031 2
010310102001030 2
010310102001027 2
010310101002015 2
010310101002007 2
010310101002006 2
010310101002062 2
010379612003003 3
010379612003021 3
010379612003007 3
010379612003008 3
011239623023019 3
011239623023031 3
010379612003002 3
011239623023026 3
011239623023030 3
011239623023022 3
011239623023028 3
011239623023024 3
011239623023011 3
010379612002026 3
010379612002025 3
010379612003001 3
010379612002027 3
010379612002020 3
010379612002022 3
010379612002000 3
010379612002023 3
010310101002005 2
010310101002004 2
011091892002047 2
011091892002048 2
011091892002049 2
011091892002045 2
011091892002012 2
011091892002056 2
011091892002050 2
